Case 2:18-cv-11776-AJT-EAS ECF No. 179-1, PageID.4976 Filed 12/03/21 Page 1 of 59




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 JOHN DOE,                                          :
                                                    : Case No. 18-cv-11776
                              Plaintiff,            :
                                                    : Hon. Arthur J. Tarnow
       v.                                           : Mag. Elizabeth A. Stafford
                                                    :
  UNIVERSITY OF MICHIGAN, et al.,                   :
                                                    :
                              Defendants.           :
                                                    :
                                                    :
                                                    :
                                                    :


             DECLARATION OF JOSHUA W. B. RICHARDS, ESQ.

       I, JOSHUA W. B. RICHARDS, declare as follows:

       1.     I am admitted to practice before this Court.

       2.     I am a partner at the law firm Saul Ewing Arnstein & Lehr LLP,

 counsel for defendants in this proceeding.

       3.     I submit this declaration in support of Defendants’ Objections [ECF

 No. 179] to Report and Recommendation on Post-Judgment Motions [ECF

 No. 178].

       4.     In support of Defendants’ Objections, I attach true and correct copies

 of the following exhibits:
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             a.      Exhibit A: June 12, 2018 e-mail correspondence with Deborah

 Gordon.

             b.      Exhibit B: Unpublished cases cited in Defendants’ Objections,

 which include:

                    i.     Beard v. Hawkins, No. 14-13465, 2017 WL 2590344

       (E.D. Mich. May 22, 2017);

                   ii.     Communities for Equity v. Michigan High Sch. Athletic

       Ass’n, No. 1:98-CV-479, 2008 WL 906031 (W.D. Mich. Mar. 31, 2008);

                  iii.     Ford Motor Co. v. United States, No. 08-12960, 2009

       WL 2922875 (E.D. Mich. Sept. 9, 2009);

                  iv.      Huguley v. Gen. Motors Corp., No. CIV. A. 83-2864,

       1991 WL 88413 (E.D. Mich. May 26, 1991);

                   v.      In re Ctr. for Mil. Readiness, No. MC 18-51013, 2019

       WL 4733602 (E.D. Mich. Sept. 28, 2019);

                  vi.      Kotyk v. Ford Motor Co., No. 09-14604, 2011 WL

       6780643 (E.D. Mich. Dec. 27, 2011); and

                  vii.     Michigan Bldg. v. Snyder, No. 11-13520, 2012 WL

       1893516 (E.D. Mich. May 23, 2012).



       I declare that the foregoing is true and correct.


                                          -2-
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                                     Respectfully submitted,

 December 3, 2021                    /s/Joshua W. B. Richards
                                     SAUL EWING ARNSTEIN & LEHR LLP
                                     Joshua W. B. Richards
                                     Attorneys for Defendants
                                     1500 Market Street, 38th Floor
                                     Philadelphia, Pennsylvania 19102
                                     (215) 972-7737
                                     joshua.richards@saul.com




                                       -3-
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                         Exhibit A
       Case 2:18-cv-11776-AJT-EAS ECF No. 179-1, PageID.4980 Filed 12/03/21 Page 5 of 59




From:                 Deborah Gordon <dgordon@deborahgordonlaw.com>
Sent:                 Tuesday, June 12, 2018 2:16 PM
To:                   Richards, Joshua W. B.
Cc:                   Piccola, Amy L.; ppetrows@umich.edu
Subject:              RE: Doe v. University of Michigan (18-11776)


Yes, it is now available.
Thanks for your assistance.

From: Richards, Joshua W. B. <Joshua.Richards@saul.com>
Sent: Tuesday, June 12, 2018 2:05 PM
To: Deborah Gordon <dgordon@deborahgordonlaw.com>
Cc: Piccola, Amy L. <Amy.Piccola@saul.com>; ppetrows@umich.edu
Subject: RE: Doe v. University of Michigan (18‐11776)

Deb,

I believe this issue should now be resolved on Wolverine Access. Please advise if it is not.

       Joshua W. B. Richards
        Saul Ewing Arnstein & Lehr LLP
       Centre Square West
       1500 Market Street, 38th Floor | Philadelphia, PA 19102‐2186
       Tel: 215.972.7737 | Fax: 215.972.1831
       joshua.richards@saul.com | bio | www.saul.com




From: Deborah Gordon [mailto:dgordon@deborahgordonlaw.com]
Sent: Tuesday, June 12, 2018 1:43 PM
To: Richards, Joshua W. B.
Cc: Piccola, Amy L.; Brittani Schwartz; ppetrows@umich.edu
Subject: RE: Doe v. University of Michigan (18‐11776)

Josh,
My client is trying to access his transcript on line in the usual manner on Wolverine Access but it continues to show a
hold. I would appreciate it if someone could electronically remove that as soon as possible.
Thank you.

From: Richards, Joshua W. B. <Joshua.Richards@saul.com>
Sent: Tuesday, June 12, 2018 12:56 PM
To: Deborah Gordon <dgordon@deborahgordonlaw.com>
Cc: ppetrows@umich.edu; 'Brian M. Schwartz' <schwartzb@millercanfield.com>; Piccola, Amy L.
<Amy.Piccola@saul.com>
Subject: RE: Doe v. University of Michigan (18‐11776)

I will inquire and advise, Deb.
                                                             1
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     Joshua W. B. Richards
      Saul Ewing Arnstein & Lehr LLP
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     Tel: 215.972.7737 | Fax: 215.972.1831
     joshua.richards@saul.com | bio | www.saul.com




From: Deborah Gordon [mailto:dgordon@deborahgordonlaw.com]
Sent: Tuesday, June 12, 2018 12:12 PM
To: Richards, Joshua W. B.
Cc: ppetrows@umich.edu; 'Brian M. Schwartz'; Piccola, Amy L.
Subject: RE: Doe v. University of Michigan (18‐11776)

Thank you, Josh.

My client will request the transcript today. Is there someone I should direct him to?

Deb Gordon

Deborah Gordon
DEBORAH GORDON LAW
33 Bloomfield Hills Parkway
Bloomfield Hills, Michigan 48304
Suite 220
248.258.2500
248.258.7881 (fax)
dgordon@deborahgordonlaw.com
www.deborahgordonlaw.com




From: Richards, Joshua W. B. <Joshua.Richards@saul.com>
Sent: Tuesday, June 12, 2018 12:08 PM
To: Deborah Gordon <dgordon@deborahgordonlaw.com>
Cc: ppetrows@umich.edu; 'Brian M. Schwartz' <schwartzb@millercanfield.com>; Piccola, Amy L.
<Amy.Piccola@saul.com>
Subject: Doe v. University of Michigan (18‐11776)


Dear Deb,
I am writing to advise that consistent with our conference yesterday with the Court, the University will upon request
provide a transcript without notation to the graduate program to which            has applied.

Please let me know if you have any further questions,




                                                            2
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     Joshua W. B. Richards
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     Centre Square West
     1500 Market Street, 38th Floor | Philadelphia, PA 19102‐2186
     Tel: 215.972.7737 | Fax: 215.972.1831
     joshua.richards@saul.com | bio | www.saul.com




"Saul Ewing Arnstein & Lehr LLP (saul.com)" has made the following annotations:
+~~~~~~~~~~~~~~~~~~~~~~~+
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intended recipient (even if the e‐mail address is yours), you may not use, copy, or retransmit it. If you have received this
by mistake please notify us by return e‐mail, then delete.
+~~~~~~~~~~~~~~~~~~~~~~~~+




                                                             3
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                          Exhibit B
 Case 2:18-cv-11776-AJT-EAS ECF No. 179-1, PageID.4984 Filed 12/03/21 Page 9 of 59
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2017 WL 2590344

                                                                   inherent authority. [ECF No. 155]. These violations entitle
                                                                   defendants to an award of reasonable attorney's fees, using
                  2017 WL 2590344
                                                                   the “lodestar method.” See Naji v. Lincoln, No. 13-10738,
    Only the Westlaw citation is currently available.
                                                                   2014 WL 6669278, at *1–2 (E.D. Mich. Nov. 24, 2014)
           United States District Court, E.D.
                                                                   (using lodestar method for Rule 37 sanctions); Farmer v.
             Michigan, Southern Division.
                                                                   Banco Popular of N. Am., 791 F.3d 1246, 1259 (10th
         Tony DeWayne BEARD, Jr., a legally                        Cir. 2015) (using lodestar method for sanctions under the
         incapacitated person, by and through                      court's inherent authority). Under the lodestar method, courts
       Johnette Ford, his legal guardian, Plaintiff,               calculate reasonable attorney's fee awards by “multiplying
                                                                   the proven number of hours worked by a court-ascertained
                            v.
                                                                   reasonable hourly rate.” Ellison v. Balinski, 625 F.3d 953, 960
          Eric HAWKINS, et al., Defendants.
                                                                   (6th Cir. 2010).
                  Civil Action No. 14-13465
                               |                                   Courts have held that, once the lodestar figure is derived,
                     Signed 05/22/2017                             an upward or downward adjustment is permitted based upon
                                                                   twelve factors first listed in Johnson v. Georgia Highway
Attorneys and Law Firms                                            Express, Inc., 488 F.2d 714, 717–19 (5th Cir. 1974). 1 Geier v.
                                                                   Sundquist, 372 F.3d 784, 792 (6th Cir. 2004) (citing Hensley
Johnny L. Hawkins, Law Office of J.L. Hawkins PLLC,
                                                                   v. Eckerhart, 461 U.S. 424 (1983)). But many of the Johnson
Southfield, MI, for Plaintiff.
                                                                   “factors usually are subsumed within the initial calculation
Kali M. L. Henderson, Lindsey A. Peck, T. Joseph Seward,           of hours reasonably expended at a reasonable hourly rate.”
Seward Peck & Henderson PLLC, Royal Oak, MI, for                   Hensley, 461 U.S. at 434, n. 9. And more recently, the
Defendants.                                                        Supreme Court discouraged use of the Johnson factors except
                                                                   in rare or exceptional circumstances, deeming the lodestar
                                                                   method more objective and reiterating that “the lodestar figure
                                                                   includes most, if not all, of the relevant factors constituting a
         REPORT AND RECOMMENDATION
                                                                   reasonable attorney's fee.” Perdue v. Kenny A. ex rel. Winn,
         TO ORDER ATTORNEY HAWKINS
                                                                   559 U.S. 542, 553 (2010) (citation and internal quotation
          TO PAY $18,455.48 IN SANCTIONS
                                                                   marks omitted). There is a “strong presumption” that the
ELIZABETH A. STAFFORD, United States Magistrate                    lodestar figure is reasonable, and there are few circumstances
Judge                                                              in which it should be deemed inadequate. Id. at 554.

   I. INTRODUCTION                                                 1       Those factors are: “(1) the time and labor required;
 *1 In a November 2016 opinion and order, the Honorable
                                                                           (2) the novelty and difficulty of the question; (3)
Nancy G. Edmunds granted in part defendants' motion
                                                                           the skill requisite to perform the legal service
for sanctions, [ECF No. 99], and ordered attorney Johnny
                                                                           properly; (4) the preclusion of other employment
Hawkins to reimburse defendants for half the reasonable
                                                                           by the attorney due to acceptance of the case;
expenses they incurred in litigating their motion for sanctions.
                                                                           (5) the customary fee; (6) whether the fee is
[ECF No. 155]. Defendants thereafter filed a bill of costs and
                                                                           fixed or contingent; (7) time limitations imposed
requested that Hawkins be ordered to pay them $40,582.79.
                                                                           by the client or the circumstances; (8) the
[ECF No. 159]. Hawkins filed a response, defendants filed a
                                                                           amount involved and the results obtained; (9) the
reply, and the Court held a hearing on May 11, 2017. [ECF
                                                                           experience, reputation, and ability of the attorney;
Nos. 166, 169]. For the reasons stated below, Hawkins should
                                                                           (10) the ‘undesirability’ of the case; (11) the nature
be ordered to reimburse defendants $18,455.48.
                                                                           and length of the professional relationship with the
                                                                           client; and (12) awards in similar cases.” Johnson,
  II. AUTHORITY                                                            488 F.2d at 717–19.
Judge Edmunds found Hawkins' conduct to be sanctionable             *2 “[T]he fee applicant bears the burden of establishing
under Federal Rules of Civil Procedure 26, 37 and the Court's      entitlement to an award and documenting the appropriate



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hours expended and hourly rates.” Hensley, 461 U.S. at               than market rates would cause an unfair disadvantage to the
437. For the reasons that follow, the Court finds that               attorneys. 2 Over those objections, she testified under oath
defendants' bill of costs includes excessive rates and hours,
                                                                     that the attorneys bill Southfield $150 per hour, 3 and charge
and recommends a reduced award of costs.
                                                                     new clients up to $275 per hour. Defense counsel noted that
                                                                     Southfield pays all attorneys with which it contracts $150
  III. ANALYSIS                                                      per hour. So defendants are asserting that their reasonable
                                                                     hourly rates are more than twice as much as they actually bill
                                                                     Southfield. This cannot be justified under the law.
                               A.
                                                                     2
“A district court has broad discretion to determine what                    Attorney Kali Henderson also suggested that the
constitutes a reasonable hourly rate for an attorney.” Wayne v.             Court was improperly developing Hawkins' claims
Vill. of Sebring, 36 F.3d 517, 533 (6th Cir. 1994). A primary               for him, citing Magnum Towing & Recovery v.
concern is that attorney's fees be reasonable, and not result in a          City of Toledo, 287 Fed.Appx. 442, 449 (6th Cir.
windfall. Gonter v. Hunt Valve Co., 510 F.3d 610, 616–19 (6th               2008). In that opinion, the court noted that it
Cir. 2007). “It is essential that the judge provide a reasonably            is not its job to search through the record to
specific explanation for all aspects of a fee determination,                develop a party's claims. But the Court's inquiry
including any award of an enhancement.” Perdue, 559 U.S.                    into the actual amounts that the attorneys charge
at 558.                                                                     did not pertain to an evidentiary burden carried by
                                                                            Hawkins. Rather it pertained to Southfield's burden
Defendants attach invoices for the work they assert they                    of showing that the amounts of hourly rates it
should be reimbursed for, but the amounts of fees billed to                 claims are legally reasonable and would not amount
them are redacted. [ECF No. 159-3]. They argue that they                    to a windfall. Hensley, 461 U.S. at 437; Gonter
should be awarded attorney's fees based upon the local market               510 F.3d at 616–19 (6th Cir. 2007). In exercising
rate, with enhancements. [ECF No. 159, PageID 6226-32].                     its broad discretion, the Court is not a rubberstamp
Relying on the 2014 Economics of Law Practice Attorney                      for defendants' fee request, but instead is required
Income and Billing Rate Summary Report prepared by the                      to “provide reasonably specific explanation for all
State Bar of Michigan, defendants state that because of their               aspects of a fee determination, including any award
attorneys' office location and firm size, and the fact that                 of an enhancement.” Perdue, 559 U.S. at 558.
this is a civil rights case, the local market rate should be         3
calculated at $276 per hour. [Id., PageID 6227; ECF No.                     Hawkins requested an evidentiary hearing to
159-7]. They contend that this amount should be upwardly                    determine the actual amount that was billed to
adjusted because of: the litigation involved skilled legal                  Southfield, but the Court finds that Henderson's
analysis; the obstructive tactics underlying the motion for                 statement under oath that Southfield was billed
sanctions; the favorable result; the fact that the attorneys were           $150 per hour and the invoices that detail the
diverted from other areas because of the prolonged litigation               time billed are sufficient, and that devoting more
of the motion; the attorneys' exceptional accomplishments;                  time and resources to this matter is not warranted.
and the attorneys' long-term relationship with their client,                “Evidentiary hearings are not required in attorney's
the city of Southfield. [ECF No. 159, PageID 6227-32; ECF                   fees determinations. An evidentiary hearing is only
Nos. 159-4, 159-5, 159-8, 159-9]. Defendants argue that,                    one of several possible methods of determining a
with these adjustments, their attorneys should be found to                  reasonable fee.” Trustees for Michigan Laborers
have the following hourly billable rates: Kali Henderson,                   Health Care Fund v. E. Concrete Paving Co., 948
$339.86; T. Joseph Seward, $493.57; Lindsey Peck, $347.43;                  F.2d 1290 (6th Cir. 1991).
and Michael Berger, $276.00. [Id.].                                   *3 When attorney's fees are awarded to the prevailing party
                                                                     under fee-shifting statutes, such as 42 U.S.C. § 1988, the
At the hearing, the Court inquired into the actual rates that        hourly rate is often derived by calculating the “prevailing
defendants' attorneys charged Southfield and other clients.          market rates in the relevant community.” Blum v. Stenson, 465
Defense counsel objected and argued that the actual rates are        U.S. 886, 895 (1984). In those cases, a reasonable attorney's
not material. She asserted that relying upon actual rates rather     fee is considered to be “ ‘adequate to attract competent



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counsel, but ... [that does] not produce windfalls to attorneys.’    The nature of the fee award is also relevant here, as attorney's
” Id. at 897 (quoting S.Rep. No. 94–10011, p. 6 (1976))              fee awards in favor of prevailing plaintiffs in civil rights
(modifications supplied in Blum). Using the market rate              cases serve a different purpose than discovery sanctions. In
“produces an award that roughly approximates the fee that            Blanchard v. Bergeron, 489 U.S. 87, 93 (1989), the court
the prevailing attorney would have received if he or she had         found that “a contingent-fee contract does not impose an
been representing a paying client who was billed by the hour         automatic ceiling on an award of attorney's fees,” but that
in a comparable case.” Perdue, 559 U.S. at 551 (emphasis in          was because “hold[ing] otherwise would be inconsistent with
original).                                                           [Section 1988] and its policy and purpose.” Id. “The purpose
                                                                     of § 1988 is to ensure ‘effective access to the judicial process’
But when the attorneys represent prevailing parties who have         for persons with civil rights grievances.” Id. at 95 (citation
been billed by the hour, courts have looked to the actual            and internal quotation marks omitted). Congress intended that
hourly rate that they billed and/or the rates that those attorneys   all defendants in civil rights cases covered by Section 1988
charge in general. Kelley v. Metro. Cty. Bd. of Educ., 773           pay a reasonable fee to all prevailing plaintiffs without regard
F.2d 677, 683 (6th Cir. 1985) (“[T]he attorney's normal              to what the plaintiff must pay his or her counsel. Id. at 94.
hourly billing rate should be a key focal point in award
determinations.”); Scales v. J.C. Bradford & Co., 925 F.2d            *4 In contrast, the language of Rule 37(a)(5) indicates
901, 909–10 (6th Cir. 1991) (district court did not abuse its        that the award of attorney's fees should be in the form
discretion in relying upon attorney's hourly rates rather than       of a reimbursement; a court may award the prevailing
market rates in the community); Gascho v. Glob. Fitness              party “reasonable expenses incurred in making the motion,
Holdings, LLC, 822 F.3d 269, 280 (6th Cir. 2016) (lodestar           including attorney's fees.” (Emphasis added). Thus, sanctions
figure based upon attorney's billed rates); United States v. One     orders under Rule 37(a)(5) often use terminology that requires
Star Class Sloop Sailboat built in 1930 with hull no. 721,           the losing party to “reimburse” the prevailing party. See, e.g.,
named “Flash II”, 546 F.3d 26, 40–41 (1st Cir. 2008) (“[T]he         Slep-Tone Entm't Corp. v. Karaoke Kandy Store, Inc., No.
rate that private counsel actually charges for her services,         1:10 CV 00990, 2011 WL 13131116, at *1 (N.D. Ohio July
while not conclusive, is a reliable indicium of market value.”);     7, 2011) (“Plaintiff is further ordered under Fed. R. Civ.
People Who Care v. Rockford Bd. of Educ., Sch. Dist. No.             P. 37(a)(5)(A) to reimburse Defendants for the reasonable
205, 90 F.3d 1307, 1310–11 (7th Cir. 1996) (“The attorney's          costs of making the Motion to compel, including attorneys'
actual billing rate for comparable work is ‘presumptively            fees.”); FedEx Corp. v. United States, No. 08-2423 MA/
appropriate’ to use as the market rate.”); Crescent Publ'g           P, 2011 WL 2023297, at *11 (W.D. Tenn. Mar. 28, 2011)
Grp., Inc. v. Playboy Enterprises, Inc., 246 F.3d 142, 151           (“[T]he court orders Mr. Jones to reimburse the government
(2d Cir. 2001) (“[F]or prevailing parties with private counsel,      for the attorney's fees and costs associated with filing this
the actual billing arrangement is a significant, though not          motion....”); LendingTree, LLC v. Zillow, Inc., No. 3:10-
necessarily controlling, factor in determining what fee is           CV-439-FDW-DCK, 2013 WL 5476605, at *1 (W.D.N.C.
‘reasonable.’ ”).                                                    Oct. 1, 2013) (“Plaintiff LendingTree, LLC shall reimburse
                                                                     Defendant NexTag, Inc. for its fees and expenses associated
And a review of prior cases applying the lodestar method             with filing” the motions); Pracht v. Greenwood Motor
reveals that private attorneys requesting an award of                Lines, Inc., No. 3:13-CV-529-RJC-DCK, 2015 WL 1268030,
attorney's fees generally include their normal hourly rates          at *4 (W.D.N.C. Mar. 19, 2015) (“[T]he R+L Plaintiffs
and/or hourly rates for the litigation at issue within their         shall reimburse Defendant Saga Freight for its reasonable
proofs. See, e.g., Gascho, 822 F.3d at 280 (declarations             expenses, including attorney's fees, incurred in preparing” the
included billing rates for each counsel); Pogue v. Nw. Mut.          motions); Edward D. Ioli Trust v. Avigilon Corp., No. 2:10-
Life Ins. Co., No. 3:14-CV-598-CRS, 2017 WL 1520432, at              CV-605-JRG, 2012 WL 5830711, at *4 (E.D. Tex. Nov. 16,
*3 (W.D. Ky. Apr. 25, 2017) (attorney presented the range            2012) (“Vigilant is further ORDERED to reimburse Plaintiffs
of hourly rates at his firm, his usual hourly rate and the rate      for their costs and fees in bringing the matters contained in
he charged for that action.). Defendants cited no opinions in        this Motion to the Court's attention.”). And, in fact, Judge
which the billing amounts were redacted or any authority to          Edmunds' order requires Hawkins to “reimburse Defendants
support a privilege to redact those amounts.                         half the reasonable expenses they incurred in litigating the
                                                                     motion.” [ECF No. 155, PageID 6206].




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Of further note, the evidence in the record reveals that the      claims for “[e]xcessive, redundant, or otherwise unnecessary
hourly amount that is adequate to attract competent counsel to    hours, or hours spent on unsuccessful claims,” which are
represent Southfield is $150 per hour, including highly skilled   usually excluded from fee awards. Butcher v. Bryson, No.
and accomplished attorneys like those here. It further makes      3:12-00251, 2014 WL 4385876, at *3 (M.D. Tenn. Sept. 5,
no sense for defendants to receive an enhancement because         2014) (citing Hensley, 461 U.S. at 437).
they were significantly (but not completely) successful in
prosecuting their motion for sanctions; their success is what      *5 Defendants aver that Henderson expended 182.4 hours,
deems them entitled to sanctions and a further enhancement        Seward expended 33.8 hours, Peck expended 1.7 hours,
would be redundant.                                               and Berger expended 2.1 hours on litigating the motion,
                                                                  which totals 221.8 hours. They submit their redacted invoice
For these reasons, defendants' request to have their award        in support. [ECF No. 159-3]. For the reasons that follow,
of attorney's fees be based upon the local market rate with       the number of hours defendants claim should be deemed
significant enhancements, and without regard to the actual        excessive.
amount billed, should be rejected. However, defendants do
cite one factor that does merit an enhancement above the          There are two primary constraints on the number of hours
hourly rate billed to Southfield: the obstructive conduct that    for which Hawkins should be required to pay. First, as noted,
prolonged resolution of the motion for sanctions. In an earlier   Judge Edmunds ordered Hawkins to reimburse defendants
report and recommendation, the Court found:                       for half the reasonable expenses they incurred “in litigating”
                                                                  the motion for sanctions, i.e., ECF No. 99. [ECF No. 155,
  Hawkins' claim that the handwritten books were privileged,      PageID 6206]. Second, Hawkins should not be required
  followed by his misrepresentation that Ford had claimed to      to pay for defendants' unsuccessful efforts associated with
  have thrown out or destroyed them after converting them         litigating the motion for sanctions. In Hensley, the Supreme
  into electronic form, caused the Court and defense counsel      Court emphasized that courts should consider whether the
  to engage in a prolonged and needless effort to secure          prevailing party achieved only partial or limited success. “If ...
  production of the personal journals and secure the truth        a plaintiff has achieved only partial or limited success, the
  about what happened to them. His actions ‘wasted judicial       product of hours reasonably expended on the litigation as a
  resources and ha[ve] diminished the ready availability of       whole times a reasonable hourly rate may be an excessive
  those resources to deserving litigants. [He] exceed[ed] the     amount.” Hensley, 461 U.S. at 436. Regardless of whether
  bounds of advocacy open to counsel as [an] officer[ ] of the    the “claims were interrelated, nonfrivolous, [or] raised in
  court.’ Maier v. Orr, 758 F.2d 1578, 1584 (Fed. Cir. 1985).     good faith ... the most critical factor is the degree of success
                                                                  obtained.” Id. at 436. Rule 37(a)(5)(C) likewise instructs
[ECF No. 146, PageID 5884]. The time that defense counsel
                                                                  courts to apportion the reasonable expenses for a motion that
used in the needless efforts as described above could have
                                                                  is only partially granted.
been expended on other matters, including for clients who pay
at a higher rate. With that in mind, the Court finds that a $50
                                                                  Applying these constraints, the Court finds that the following
per hour enhancement is warranted, and thus recommends
                                                                  were not preparation for or components of the sanctions
a finding that $200 per hour is reasonable. Awarding more
                                                                  motion litigation:
would amount to a windfall for defendants.
                                                                    • Review of correspondence, and analysis of Beard's
                                                                      responses to discovery requests in January 2016;
                              B.
                                                                    • Preparation of status reports to clients in February, March,
A court is required to review a prevailing party's claims              June, July, August, September, October and November
regarding the hours it expended on the relevant matter, and            2016;
“state with some particularity which of the claimed hours the
                                                                    • Review of email correspondence regarding Hawkins's
court is rejecting, which it is accepting, and why. Failure to
                                                                      alleged threat of a defamation lawsuit in April 2016;
provide such an explanation requires us to remand the case
for further consideration.” Sierra Club v. Hamilton Cty. Bd.        • Review of Hawkins' motion to withdraw in November
of Cty. Comm'rs, 504 F.3d 634, 645 (6th Cir. 2007) (citation          2016.
and internal quotation marks omitted). Courts review billing


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                                                                 reimbursement based upon all of the time they spent litigating
Some of the time defendants billed for related to their motion   that motion would be excessive. Hensley, 461 U.S. at 436-37;
to compel, in which they sought the same documents that          Rule 37(a)(5)(C).
were the subject of the motion for sanctions. [ECF No.
62]. Specifically, defendants requested logs, journals and       4      With Ford's stipulation, the Court had
notebooks that Beard's guardian, Johnette Ford, claimed                 recommended that she be removed as Beard's
in a deposition to possess (“the Ford documents”). [Id.].               guardian, but Ford withdrew from that stipulation
Defendants requested sanctions under the discovery rules                and Judge Edmunds found she did not have the
in that motion. [Id., PageID 650]. The Court took the                   authority to remove Ford as guardian. [ECF No.
issue regarding the Ford documents under advisement, and                155, PageID 6205].
ordered Ford to submit to a limited deposition to address         *6 Under these circumstances, when a court exercises its
inconsistencies between her deposition testimony and Beard's     discretion to make an equitable judgment of the reasonable
answers to a request to produce and the motion to compel.        hours, “[t]here is no precise rule or formula.” Hensley, 461
[ECF No. 72]. The motion for sanctions followed the limited      U.S. at 436. “The district court may attempt to identify
deposition. [ECF No. 99]. Since the motion to compel             specific hours that should be eliminated, or it may simply
is interrelated with the motion for sanctions, defendants'
                                                                 reduce the award to account for the limited success.” Id. at
inclusion of hours spent litigating the motion to compel is
                                                                 437. Here, the Court recommends that defendants receive
warranted. However, the motion to compel also sought a
                                                                 reimbursement for all of their hours litigating the motion for
complete copy of Beard's Facebook profile, which the Court
                                                                 sanctions through the report and recommendation, and all
denied. [ECF Nos. 62, 72]. Therefore, only half of the time
                                                                 of their hours responding to Hawkins' and Ford's objections.
defense counsel spent preparing for and litigating the motion
                                                                 [ECF No. 159-3, PageID 6257-79, 6284-86]. But Hawkins
to compel should be charged to Hawkins. [See ECF No.
                                                                 should not be required to reimburse defendants for their
159-3, PageID 6250-56].
                                                                 unsuccessful objections. [Id., PageID 6281-82].

The primary aim of defendants' motion for sanctions was to
                                                                 This leaves for consideration the times that defendants spent
have this case dismissed, and as a secondary concern, they
                                                                 preparing their bill of costs. [Id., PageID 6288]. Those hours
requested reimbursement of costs and attorney's fees. [ECF
                                                                 are reimbursable. McCarthy v. Ameritech Pub., Inc., 763 F.3d
No. 99, PageID 1366, 1376-81]. This Court recommended
                                                                 488, 494 (6th Cir. 2014) (Rule 37 provisions “encompass
that their motion be granted in part with the imposition
                                                                 reasonable attorney's fees and costs associated with the
of nonmonetary sanctions and Hawkins being ordered to
                                                                 preparation and presentation of the fee application.”); Scales
reimburse defendants for half of their reasonable expenses,
                                                                 v. J.C. Bradford & Co., 925 F.2d 901, 910 (6th Cir. 1991) (cost
but that defendants' request for dismissal be denied and that
                                                                 of preparing fee application included in attorney's fee award).
Ford not incur monetary sanctions. [ECF No. 146, PageID
5864-65]. Defendants objected, arguing that dismissal was
                                                                 The chart below eliminates the time described above that
the only appropriate sanction, that they were entitled to
                                                                 was not spent “in litigating” the sanctions motion and
reimbursement in full of their expenses, and that the
                                                                 the time spent on defendants' objections to the report and
recommended sanctions against Ford were insufficient.
                                                                 recommendation. In addition, the chart halves the hours spent
[ECF No. 148]. After considering those objections and the
                                                                 on the motion to compel. These modifications render a finding
objections filed by Hawkins and Ford, Judge Edmunds
                                                                 that defendants' fee award should be based upon 177.95 hours
adopted this Court's recommendation with one minor
                                                                 which, when multiplied by $200 per hour, equals $35,590.00.
exception. 4 [ECF No. 155]. Defendants' motion for sanction
was, thus, only partially successful and awarding them
 Category                                  Total Hours           Reasonable Hours                  Reasonable Fee

 Motion to Compel ECF No.                  27.50                 13.75                             $2,750
 159-3, PageID 6247-53

 Motion for Sanctions Id.,                 101.90                101.90                            $20,380
 PageID 6257-80


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 Response to Hawkins' and      42.70                               42.70                             $8,540
 Ford's objections Id., PageID
 6280-86

 Bill of costs Id., PageID 6288 19.60                              19.60                             $3,920

 TOTAL                                                             177.95                            $35,590

Defendants incurred costs totaling $1,320.95. [See chart              IV. CONCLUSION
of costs, ECF No. 155, PageID 6232, and invoices, ECF              For the foregoing reasons, Hawkins should be ordered to
No. 155-3]. Those costs plus the total reasonable attorney's       reimburse defendants $18,455.48.
fee equal $36,910.95. Pursuant to Judge Edmunds order
that Hawkins reimburse defendants half of their reasonable
expenses, he should be ordered to pay defendants $18,455.48.       All Citations

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                                                                 an evidentiary hearing on a fee petition. Bldg. Serv.
                                                                 Local 47 Cleaning Contractors Pension Plan v. Grandview
      KeyCite Yellow Flag - Negative Treatment                   Raceway, 46 F.3d 1392, 1402 (6th Cir.1995). An evidentiary
Distinguished by Lavin v. Brunner, N.D.Ohio, February 12, 2013
                                                                 hearing is required only if the court is unable to resolve
                                                                 material factual disputes based on the affidavits and written
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                                                                 documentation submitted. Id. (citing authorities). In this case,
    Only the Westlaw citation is currently available.
                                                                 the disputes between the parties can be readily resolved
             United States District Court,
                                                                 based on the materials submitted, which include Plaintiffs'
                   W.D. Michigan,
                                                                 Petition, MHSAA's Response and Request for Limited
                 Southern Division.
                                                                 Discovery, MHSAA's Response, MHSAA's Addendum to
    COMMUNITIES FOR EQUITY, et al., Plaintiffs,                  its Response, Plaintiffs' Reply, 4 Plaintiffs' Supplemental
                    v.                                           Petition, MHSAA's Supplemental Response, Plaintiffs'
         MICHIGAN HIGH SCHOOL                                    Supplemental Reply, MHSAA's Expert Report, Plaintiffs'
      ATHLETIC ASSOCIATION, Defendant.                           Expert Report, MHSAA's Supplemental Expert Report, 5 and
                                                                 a plethora of exhibits, affidavits, and declarations comprising
                        No. 1:98-CV-479.                         approximately 1,500 pages. The extensive filings have
                                |                                provided the parties with ample opportunity to express their
                        March 31, 2008.                          views and the Court discerns no reason for oral argument. See
                                                                 W.D. Mich. LCivR 7.3(d).
Attorneys and Law Firms

Philip L. Cohan, Piper, Marbury, Rudnick & Wolfe LLP,            1      As a threshold matter, the stylistic difference
Roger E. Warin, Steptoe & Johnson, Barbara A. Burr,                     between “attorneys' fees,” “attorney's fees,”
Neena Chaudhry, Marcia D. Greenberger, Washington, DC,                  “attorneys fees,” and “attorney fees” is trivial.
Kristen Galles, Equity Legal, Alexandria, VA, Robin K.                  Nevertheless, this donnish question of style and
Bohnenstengel, Piper, Marbury, Rudnick & Wolfe LLP,                     spelling was thoroughly discussed by the Sixth
Baltimore, MD, Lindsey B. Lang, H. Rhett Pinsky, Pinsky,                Circuit Court of Appeals in Stallworth v. Greater
Smith, Fayette, Hulswit, Grand Rapids, MI, for Plaintiffs.              Cleveland Reg'l Transit Auth., 105 F.3d 252, 253 n.
                                                                        1 (6th Cir.1997). The Stallworth Court concluded
Edmund J. Sikorski, Ann Arbor, MI, William M. Azkoul,
                                                                        that the proper form is that which appears in
Law Offices of William Azkoul, P.C., Carole D. Bos, Bos &
                                                                        the governing statute, which in that case was
Glazier, Grand Rapids, MI, for Defendant.
                                                                        “attorney fees.” Id. The Sixth Circuit, however,
                                                                        has not spoken with consistency. In Ridder v.
                                                                        City of Springfield, 109 F.3d 288, 290 n. 1 (6th
                           OPINION                                      Cir.1997), the statutory form “attorneys' fees” was
                                                                        rejected, as was the reasoning in Stallworth, in
RICHARD ALAN ENSLEN, Senior District Judge.
                                                                        favor of “attorney fees” based on a “survey[ ]
                                                                        [of] the landscape.” Pursuant to Sixth Circuit
           When the game is complete, the loser                         Rule 206(c), since a conflict exists regarding
           should not complain about the rules.                         what spelling is appropriate, Stallworth controls.
                                                                        See Ruth v. Comcast Corp., No. 3:04-CV-332,
*1 This matter is before the Court on the Petition for                  2006 WL 2792179, at *1 n. 1 (S.D.Ohio Sept.26,
Attorneys' Fees 1 and Costs of Plaintiffs Communities                   2006). Unfortunately, Stallworth does not resolve
for Equity, which represents a class of more than                       the issue for this Court. Federal Rule of Civil
150,000 interscholastic female athletes in the State of                 Procedure 11 speaks of “attorney's fees,” 42 U.S.C.
Michigan. 2 The Petition, which was filed over six years                § 1988 refers to “attorneys' fees,” Michigan's
ago, is adamantly opposed by Defendant Michigan High                    Elliot-Larsen Civil Rights Act inconsistently refers
                                                                        to both “attorney's fees” and “attorney fees,” and
School Athletic Association (“MHSAA”). 3 The court has
                                                                        the Consent Decree entered into by the parties
substantial discretion in determining whether to conduct



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        refers to “attorneys' fees.” The Court will use the          the merits of an action, loses, and then cries “foul” when asked
        form “attorneys' fees” since it is utilized in both §        to pay the resulting attorneys' fees and costs.
        1988 and the Elliot-Larsen Civil Rights Act, albeit
        inconsistently. Variations from this form appearing
        in other sources are left unchanged.                         I. BACKGROUND
                                                                     Plaintiffs filed this action in 1998 and alleged that MHSAA
2       The class representatives are Diane Madsen, on               discriminates against female interscholastic athletics by: (1)
        behalf of her minor daughters, and Jay Roberts-              sanctioning too few female sports; (2) scheduling female
        Eveland, on behalf of her minor daughter.                    but not male sports in nontraditional seasons; (3) scheduling
                                                                     female sports to shorter athletic seasons than male sports;
3       Plaintiffs originally also sued members of                   (4) assigning female sports to inferior and non-regulation
        MHSAA's representative council and its executive             facilities for MHSAA tournaments; and (5) providing female
        director. MHSAA is the only remaining Defendant              sports with less publicity and promotion than male sports
        pursuant to the Court's Order of October 2, 2001.            during MHSAA tournaments. After three years of vigorous
4                                                                    litigation on the merits, the parties entered into mediation.
        MHSAA has moved to strike 16 of the 19
        exhibits submitted with Plaintiffs' Reply. (Dkt. No.
                                                                      *2 As a result of mediation, the parties entered into a
        633.) MHSAA argues these exhibits do not rebut
                                                                     Consent Decree settling all issues except the scheduling of
        MHSAA's Response. The Court denies MHSAA's
                                                                     interscholastic athletic seasons. Among other concessions,
        motion because all of the exhibits rebut statements
                                                                     MHSAA agreed to sanction two more female sports,
        made or authorities cited in MHSAA's Response.
                                                                     move the female basketball finals to the Breslin Center at
        Moreover, the majority of MHSAA's objections
                                                                     Michigan State University, renovate the state tournament
        teeter on the brink of frivolousness.
                                                                     softball facility, assign female softball tournaments only to
5                                                                    sites with regulation fastpitch fields, assign girls' volleyball
        The Court has scrutinized the three expert reports
        but accords no deference to the legal conclusions            tournaments only to sites that meet the standards of the
        contained therein. As can be expected, MHSAA's               National Federation of State High School Associations,
        expert agrees with all of MHSAA's objections and             equalize promotion and publicity (including equal coverage
        Plaintiffs' expert agrees with all of the requested          of MHSAA tournament finals on television), and promote the
        attorneys' fees and costs. To avoid unnecessary              same number of holes of golf for both genders. The Consent
        confusion, the Court seldom distinguishes between            Decree includes an attorneys' fees and costs provision which
        arguments advanced by a party's expert rather than           states:
        the party itself since all expert conclusions have
        been adopted by reference.
                                                                                  [E]ntitlement of plaintiffs to attorneys'
The United States Supreme Court has repeatedly cautioned
                                                                                  fees and costs as “prevailing parties”
that resolution of fee petitions should not become a “second
                                                                                  will be determined solely upon a final
major litigation.” See, Buckhannon Bd. & Care Home, Inc.
                                                                                  judicial resolution of which “parties
v. W. Va. Dep't of Health & Human Res., 532 U.S. 598,
                                                                                  prevailed” on the issues actually tried.
609, 121 S.Ct. 1835, 149 L.Ed.2d 855 (2001) (citation
                                                                                  If plaintiffs are “prevailing parties,”
omitted); Tex. State Teachers Ass'n v. Garland Indep. Sch.
                                                                                  they shall be entitled to petition the
Dist., 489 U.S. 782, 791, 109 S.Ct. 1486, 103 L.Ed.2d
                                                                                  Court for their attorneys' fees and costs
866 (1989); Hensley v. Eckerhart, 461 U.S. 424, 437, 103
                                                                                  for work on all issues in this case,
S.Ct. 1933, 76 L.Ed.2d 40 (1983). This optimistic hope has
                                                                                  whether tried or settled.
gone unfulfilled as defendants routinely oppose fee petitions
brought by prevailing plaintiffs on every conceivable ground.
The case sub judice is no exception. After laborious review,
the Court concludes that Plaintiffs are entitled to the bulk of      (Consent Decree 2.)
the requested attorneys' fees and costs. This is a classic case of
the obdurate defendant who digs in its heels while litigating        The parties thereafter went to trial on the scheduling of
                                                                     seasons issue. Plaintiffs alleged that MHSAA's scheduling of



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six female sports but no male sports in nontraditional seasons    (W.D.Mich.2001), aff'd, 459 F.3d 676 (6th Cir.2006), cert.
violates: (1) Title IX of the Education Amendments of 1972        denied, --- U.S. ----, 127 S.Ct. 1912, 167 L.Ed.2d 566 (2007).
(20 U.S.C. § 1681 et seq.); (2) the Equal Protection Clause
of the 14th Amendment to the United States Constitution;          Plaintiffs' Fee Petition, which was timely filed on January
and (3) Michigan's Elliott-Larsen Civil Rights Act (Mich.         30, 2002, seeks $5,155,136.05. This amount is comprised of
                                                                  $5,023,991.25 in attorneys' fees and $131,144.80 in costs.
Comp. Laws § 37.2101 et seq.). Trial began on September
                                                                  (Suppl. Reply 25.) A breakdown of the fees and costs by firm
24, 2001 and lasted two weeks. The Court found in favor of
                                                                  is as follows:
Plaintiffs on all three legal theories and held that MHSAA
discriminated in the scheduling of all six contested sports.
Communities for Equity v. MHSAA, 178 F.Supp.2d 805, 862
         Law Firm and                                          Requested                           Requested
         Headquarters                                          Fees                                Costs

         Equity Legal (comprised                               $3,405,519.00                       $89,510.86
         solely of Kristen Galles)
         Alexandria, Virginia

         National Women's                                      $998,870.00                         $22,823.34
         Law Center (“NWLC”)
         Washington, D.C.

         DLA Piper (formerly                                   $225,912.00                         ,074.67
         known as Piper Rudnick)
         Decentralized

         Steptoe & Johnson                                     $216,815.25                         $6,127.67
         Washington, D.C.

         Pinsky, Smith, Fayette &                              $176,875.00                         $1,608.26
         Kennedy Grand Rapids,
         Michigan
                                                                  must bear their own costs.” Bus. Guides, Inc. v. Chromatic
MHSAA argues Plaintiffs are entitled to $0.00 in fees and         Commc'ns Enters., Inc., 498 U.S. 533, 565, 111 S.Ct. 922,
costs, but alternatively to no more than $917,955.00, which       112 L.Ed.2d 1140 (1991); see also Alyeska Pipeline Serv.
roughly equals 17% of Plaintiffs' request. 6 (Suppl.Resp.7-8.)    Co. v. Wilderness Soc'y, 421 U.S. 240, 271, 95 S.Ct. 1612,
Because MHSAA objects to almost every facet of Plaintiffs'        44 L.Ed.2d 141 (1975). Rule 54(d) of the Federal Rules
Petition, limited judicial resources prevent discussion of each   of Civil Procedure provides that attorneys' fees and costs
objection individually. Accordingly, the Court discusses the      can be awarded to the prevailing party of a case in limited
most significant categories of objections. Any objection not      circumstances. To be eligible for fees, besides complying
explicitly discussed is hereby denied.                            with procedural requirements, a party must file a petition
6                                                                 for attorneys' fees and “specify the judgment and the statute,
        MHSAA would likely agree to a slightly higher             rule, or other grounds entitling the movant to the award.”
       amount than $917,955.00 because this figure did            Fed.R.Civ.P. 54(d) (2)(B)(ii). In this case, Plaintiffs are the
       not take into account the fees and costs incurred for      prevailing party under the plain terms of the Consent Decree
       researching and drafting Plaintiffs' Supplemental
                                                                  because they prevailed “on the issue [ ] actually tried.” 7
       Reply.
                                                                  (Consent Decree 2.) Plaintiffs are also the prevailing party
                                                                  under Title IX, see 42 U.S.C. § 1988(b), and the Elliott-Larsen
II. LEGAL STANDARDS
                                                                  Civil Rights Act. See Mich. Comp. Laws §§ 37.2801-2802.
 *3 Attorneys' fees are not awarded in federal civil actions
                                                                  “Unless a federal statute, these rules, or a court order provides
except where a federal statute or court rule departs from
                                                                  otherwise, costs-other than attorney's fees-should be allowed
“the American Rule that litigants in most circumstances



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to the prevailing party.” Fed.R.Civ.P. 54(d)(1). The party
claiming any item of cost or disbursement must, through an           The district court also should exclude from this initial fee
affidavit, verify the amount and indicate that the services for      calculation hours that were not “reasonably expended.”
which fees have been charged were actually and necessarily           S.Rep. No. 94-1011, p. 6 (1976). Cases may be overstaffed,
performed. 28 U.S.C. § 1924.                                         and the skill and experience of lawyers vary widely.
                                                                     Counsel for the prevailing party should make a good faith
7                                                                    effort to exclude from a fee request hours that are excessive,
         The most important consideration at the heart of a          redundant, or otherwise unnecessary, just as a lawyer in
         fee request is the degree of success. See Hensley,          private practice ethically is obligated to exclude such hours
         461 U.S. at 435. MHSAA argues that although                 from his fee submission. “In the private sector, ‘billing
         Plaintiffs succeeded in getting some seasons                judgment’ is an important component in fee setting. It is
         changed, Plaintiffs did not succeed in obtaining            no less important here. Hours that are not properly billed to
         the same schedule for both genders, monetary                one's client also are not properly billed to one's adversary
         relief, or any relief against members of MHSAA's
                                                                     pursuant to statutory authority.” Copeland v. Marshall, 205
         representative council or its executive director.
                                                                     U.S.App. D.C. 390, 401, 641 F.2d 880, 891 (1980) (en
         (Suppl.Resp.14.) In reported decisions alone,
                                                                     banc) (emphasis in original).
         Plaintiffs defeated MHSAA's 1998 Motions to
         Dismiss and for Summary Judgment, Communities              *4 461 U.S. at 433-34. As an alternative to line-by-
         for Equity v. MHSAA, 26 F.Supp.2d 1001                    line reduction, the propriety of simple across-the-board
         (W.D.Mich.1998); achieved class certification,            reductions by a certain percentage has been recognized by
         Communities for Equity v. MHSAA, 192 F.R.D.               the Sixth Circuit as an appropriate mechanism for penalizing
         568 (W.D.Mich.1999); defeated MHSAA's Second              duplication and other billing problems. See Coulter v.
         Motions to Dismiss and for Summary Judgment,              Tennessee, 805 F.2d 146, 152 (6th Cir.1986). Where fee
         Communities for Equity v. MHSAA, 80 F.Supp.2d             documentation is voluminous, some courts have found it
         729 (W.D.Mich.2000); succeeded in significant             impractical to engage in a precise line-by-line analysis and
         Motions in Limine, Communities for Equity v.              favor across-the-board reductions. See, e.g., Loranger v.
         MHSAA, 137 F.Supp.2d 910 (W.D.Mich.2001);                 Stierheim, 10 F.3d 776, 783 (11th Cir.1994).
         and won on the liability issues tried by the
         Court, Communities for Equity v. MHSAA,                   Reasonable hourly rates typically equate to the customary
         178 F.Supp.2d 805 (W.D.Mich.2001). Plaintiffs             rates charged by local attorneys of comparable experience and
         were also extremely successful at the appellate           expertise. Hadix v. Johnson, 65 F.3d 532, 536 (6th Cir.1995).
         level. Accordingly, MHSAA's argument is wholly            Certain cases create an exception to this general rule and allow
         without merit.                                            higher rates to be recouped by an “out-of-town specialist.” Id.
The primary concern when awarding attorneys' fees is that the      Regarding this exception, the Sixth Circuit has counseled:
fees are reasonable. See Blum v. Stenson, 465 U.S. 886, 893,
104 S.Ct. 1541, 79 L.Ed.2d 891 (1984). Fees are calculated
utilizing the “lodestar” method, which was explained by the                     When fees are sought for an out-of-
United States Supreme Court in Hensley:                                         town specialist, courts must determine
                                                                                (1) whether hiring the out-of-town
    The most useful starting point for determining the amount                   specialist was reasonable in the first
    of a reasonable fee is the number of hours reasonably                       instance, and (2) whether the rates
    expended on the litigation multiplied by a reasonable                       sought by the out-of-town specialist
    hourly rate. This calculation provides an objective basis on                are reasonable for an attorney of his
    which to make an initial estimate of the value of a lawyer's                or her degree of skill, experience,
    services. The party seeking an award of fees should submit                  and reputation. Chrapliwy v. Uniroyal,
    evidence supporting the hours worked and rates claimed.                     Inc., 670 F.2d 760, 768-69 (7th
    Where the documentation of hours is inadequate, the                         Cir.1982); Maceira v. Pagan, 698 F.2d
    district court may reduce the award accordingly.                            38, 40 (1st Cir.1983). A corollary of
                                                                                this rule is that judges may question
                                                                                the reasonableness of an out-of-town


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              attorney's billing rate if there is reason          v. Bowater Inc. Ret. Plan for Salaried Employees of Great
              to believe that competent counsel was               N. Paper, Inc., 262 F.Supp.2d 804, 811 (W.D.Mich.2003),
              readily available locally at a lower                rev'd on other grounds, No. 03-1808, 2004 WL 5389834 (6th
              charge or rate. Chrapliwy, 670 F.2d at              Cir.2004).
              769.
                                                                  8       Based on MHSAA's objections, a discussion of
                                                                          each Johnson factor is implicitly integrated into
Id. at 535.                                                               the Court's analysis. The Court determines that
                                                                          the final award need not be adjusted upward or
Adjudication of the lodestar fee does not end the analysis                downward as it adequately compensates counsel
mandated by the Supreme Court. While there is a “strong                   while not producing a windfall.
presumption” that the lodestar fee is reasonable, pertinent
circumstances may warrant an adjustment either upward             III. ANALYSIS
or downward. Bldg. Serv. Local 47 Cleaning Contractors
Pension Plan, 46 F.3d at 1401-02. Factors pertinent to setting       A. Local Counsel and Out-of-Town Specialists
and adjusting the lodestar fee was specified long ago by the      MHSAA's most financially significant objection questions
Fifth Circuit Court of Appeals in Johnson v. Ga. Highway          whether Plaintiffs' numerous out-of-town specialists were
Express, Inc., 488 F.2d 714, 717-19 (5th Cir.1974). The           reasonably necessary to the litigation and thus deserving
Johnson factors have now become part of the settled law of        of non-local attorneys' rates. To resolve this issue, two
lodestar analysis under both Supreme Court and Sixth Circuit      questions must be answered: (1) whether competent counsel
decisions. These factors include:                                 was available locally, and (2) whether the rates requested
                                                                  by Plaintiffs' counsel are reasonable based on the applicable
                                                                  market.
              (1) the time and labor required; (2) the
              novelty and difficulty of the questions;
                                                                     1. Competent Counsel
              (3) the skill requisite to perform
                                                                  Prosecuting the discrimination suffered by Plaintiffs
              the legal service properly; (4) the
                                                                  presented challenges far more complex than those found in
              preclusion of other employment by the
                                                                  typical civil rights actions. To succeed in this case, Plaintiffs
              attorney due to acceptance of the case;
                                                                  needed counsel with: (1) knowledge of the application of Title
              (5) the customary fee; (6) whether
                                                                  IX and the Equal Protection Clause to athletics programs;
              the fee is fixed or contingent; (7)
                                                                  (2) the capability to devote significant human and capital
              time limitations imposed by the client
                                                                  resources for the life of the case; (3) a willingness to take on a
              or the circumstances; (8) the amount
                                                                  powerful local entity with significant financial resources and
              involved and the results obtained;
              (9) the experience, reputation, and                 widespread public support; 9 (4) a willingness to tolerate a
              ability of the attorneys; (10) the                  high degree of risk with recovery contingent on success; (5)
              “undesirability” of the case; (11) the              litigation experience; and (6) competency to manage a large
              nature and length of the professional               class action lawsuit.
              relationship with the client; and (12)
              awards in similar cases.                            9       In 1998, MHSAA enjoyed a reputation for
                                                                          vehement litigation tactics. MHSAA's website
                                                                          formerly boasted it had “prevailed in every
 *5 Blanchard v. Bergeron, 489 U.S. 87, 91 n. 5, 109                      legal action for 20 years.” MHSAA, Local
S.Ct. 939, 103 L.Ed.2d 67 (1989) (citing Johnson); Paschal                Litigation Now National Issue (2002), http://
v. Flagstar Bank, 297 F.3d 431, 435 (6th Cir.2002). The                   www.mhsaa.com/news/equity.html.
Johnson factors are a “useful catalog” to consider when           A “good-faith effort to find local counsel is all that is
exercising statutory discretion, Paschal, 297 F.3d at 435         necessary, lest the meticulous generation of a comprehensive
(citation omitted), but are not die-hard requirements. 8 Crosby   log of inquires deter plaintiffs from bringing worthy



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discrimination suits, frustrating the rationale for statutes       12     MHSAA confusingly interprets Galles' argument to
enabling private civil rights suits.” See Mathur v. Bd. of                mean she is “the only competent lawyer available
Trs. of S. Ill. Univ., 317 F.3d 738, 744 (7th Cir.2003)                   to take this case.” (Suppl.Resp.11.) Plaintiffs,
(citation omitted). Courts must be mindful to not impose                  however, have never made this argument, rather
impossible burdens on potential plaintiffs in cases “of great             that no Michigan attorneys possessed both (1)
national concern” by requiring plaintiffs to look for the                 competency and (2) amenability to taking this case.
proverbial needle in the haystack before retaining counsel
ideally qualified to handle their case. See Northcross v. Bd. of    *6 MHSAA protests Galles' search for “local counsel” by
Educ. of Memphis City Sch., 611 F.2d 624, 634 (6th Cir.1979).      way of semantics. MHSAA argues Galles never actually
The “representation of important national concerns [must]          searched for local Michigan counsel to lead the case, but
not depend upon the charitable instincts of a few generous         rather searched only for secondary counsel in Michigan to
attorneys.” Id. at 638.                                            assist her as lead counsel. MHSAA bases this argument on
                                                                   Galles' use of the adjective “local” in billing descriptions.
After the class representatives contacted Kristen Galles,          “Local” has two connotations, the first of which designates
she began searching for a local attorney to serve as lead          close geographic proximity, see Webster's New Universal
                                                                   Unabridged Dictionary 1127 (Barnes & Noble 2003), and
counsel. 10 In early 1998, Galles spent at least 9.9 hours in
                                                                   the second which describes counsel who has a secondary
furtherance of this search. After searching Martindale-Hubble
                                                                   role to out-of-town lead counsel. See W.D. Mich. LCivR
entries, Galles contacted the only attorney in Michigan
                                                                   83.1(f) (“The Court may ... require any attorney whose
claiming expertise in Title IX-Jean King of Ann Arbor. 11          office is a great distance from the courthouse to retain local
According to Galles, King-“a woman not known for backing           counsel. Local counsel ... shall have both the authority and
down from a fight”-“refused to take the case because she           responsibility for the conduct of the case should lead counsel
believed MHSAA had too much money and power for the                be unavailable....)
case to be winnable.” (Galles' Suppl. Decl. ¶ 6; see also
King's Aff. ¶¶ 11-13; Madsen's Decl. ¶¶ 32-34.) Galles also        Read naturally in the context of Galles' billing records and
contacted, but to no avail, the American Civil Liberties           based on a review of the organizations and attorneys she
Union, National Organization of Women, Grand Rapids Bar            actually contacted, “local” indicates that she looked for
Association, Western Michigan Women's Bar Association,             Michigan attorneys to spearhead the case, not attorneys to
the American Association of University Women, and three            take on a secondary role. It was only after Plaintiffs concluded
other local attorneys. Thus, Plaintiffs argue, no competent        no competent local attorneys were willing to lead the case
local attorneys were willing to lead this case. 12 Galles          that Pinsky was hired as secondary counsel, as required by
eventually convinced Rhett Pinsky, a local attorney at a small     local rule. MHSAA's argument for a contrary interpretation
law firm, to serve as local counsel, see W.D. Mich. LCivR          is disingenuously pedantic. For example, in an affidavit
83.1(f), although he was unwilling to assume a lead role.          submitted on behalf of MHSAA, the attorney affiant uses the
(Pinsky's Suppl. Decl. ¶ 3.)                                       word “local” to mean secondary counsel. (See Mackraz's Aff.
                                                                   ¶ 9 (stating that “plaintiffs could have retained local counsel
10                                                                 to represent their interests had they so chosen”).)
       Galles' role in the beginning of the case was
       unknown to her, although she knew an attorney
       with Title IX expertise would be essential to               To counter the assertion that no competent Michigan
       success. “I knew that either NWLC or I would                attorneys were available to lead the case, MHSAA presents
       have to participate in the litigation in some way.          an affidavit from one Michigan attorney, Frederick E.
       However, at the beginning of the case, I did not            Mackraz, who claims he could have served as lead counsel.
       know whether I would be involved as lead counsel            Cf. Guckenberger v. Boston Univ., 8 F.Supp.2d 91, 104
       or merely as advisory counsel.” (Galles' Suppl.             (D.Mass.1998) (denying out-of-state counsel rates because
       Decl. ¶ 91.)                                                the plaintiffs only made a cursory search for Boston counsel
                                                                   and the defendants had submitted affidavits from several
11                                                                 well-respected civil rights attorneys who averred they were
       A class representative had previously contacted
       King herself. King turned down this request for             competent to handle the litigation). Mackraz avers: “I was not
       representation.                                             approached by Plaintiffs .... Had I been approached, I would
                                                                   have certainly investigated their claims .... I would have given


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very serious consideration to representing their interests in        where there existed “neither a lawyer nor a firm in this town
this case pursuant to my standard fee agreement.” (Mackraz's         which could have devoted to this case the timely expertise,
Aff. ¶ 8.)                                                           experience, and manpower” of the plaintiffs' counsel); Avalon
                                                                     Cinema Corp. v. Thompson, 689 F.2d 137, 140 (8th Cir.1982)
Mackraz's affidavit, however, fails to demonstrate his               (concluding it is not always possible to find local counsel
competency and ability to lead this case. He has failed to           willing or able to undertake difficult and controversial civil
demonstrate he had the requisite time or financial resources         rights litigation). Thus, Plaintiffs appropriately ventured to
to handle such a large case. To this Court's knowledge,              find competent counsel outside Michigan.
Mackraz has never handled, much less even worked on,
a class action lawsuit. There is a significant chance that
Mackraz could not have even jumped through an initial hurdle            i. Galles and Pinsky
of the case-being appointed as class counsel pursuant to             It is undisputed that Galles is a leading Title IX and Equal
Federal Rule of Civil Procedure 23(g). Mackraz also did not          Protection attorney with extensive litigation experience.
possess any Title IX experience. Moreover, in 1998, he was           Based on this background, her previous work getting
an associate at Plunkett Cooney, a local firm which states           Plaintiffs' case off the ground, and the request of Plaintiffs,
that its “attorneys practice in the state and federal trial courts   Galles assumed the role of lead counsel. 13 Because at least
every day, defending lawsuits brought under Title VII, 42            one competent out-of-town attorney was necessary, Galles
U.S.C. § 1983 and state civil rights acts such as Michigan's         was surely reasonably employed and is properly compensated
Elliot Larsen Civil Rights Act.” Plunkett Cooney, Civil              based on Washington, D.C. rates. Pinsky was also necessary
Rights, http:// www.plunkettcooney.com/practices-67.html             for all intents and purposes since a Michigan attorney
(last visited Mar. 24, 2008). Plaintiffs needed counsel with         was required as “local counsel.” See W.D. Mich. LCivR
experience prosecuting civil rights actions, not defending           83.1(f). The determination of whether the other out-of-town
them. There was thus no reason to even consider attorneys at         attorneys were reasonably employed is unfortunately not as
Plunkett Cooney. Simply put, Mackraz was not competent to            straightforward.
lead Plaintiffs' case in 1998.
                                                                     13     “I agreed to become lead counsel because there was
 *7 After reviewing MHSAA's acrimonious argument, it                        no one else to do it, because I knew that MHSAA
is quite telling that Mackraz is the only attorney MHSAA                    was violating the law, and because Plaintiffs had
can present to the Court to counter Plaintiffs' compelling                  begun to rely on me as the only person who told
argument that Michigan attorneys lacked competency in this                  them they were right.” (Galles' Suppl. Decl. ¶ 95.)
area of the law. The Court in no way means to discredit
Mackraz's practice, but he was simply not qualified in 1998.
                                                                        ii. NWLC
MHSAA's argument magnifies the frustration Plaintiffs and
                                                                     MHSAA objects to counsel from NWLC when Galles was
Galles must have felt when searching for local counsel.
                                                                     already acting as lead counsel and questions how many
Galles-acting without the benefit of hindsight that MHSAA
                                                                     experts in Title IX and sex discrimination were necessary.
has enjoyed in its search for potentially competent local
                                                                     MHSAA claims the Department of Justice, which has
counsel-surely felt that if Plaintiffs retained incompetent local
                                                                     considerable experience in Title IX and sex discrimination
counsel, it would prove fatal to their claims.
                                                                     law, essentially assisted Plaintiffs as “co-counsel” because of
                                                                     its role as amicus curiae, which negates the need for perhaps
If Plaintiffs had kept searching for lead local counsel and
                                                                     any experts in these areas or at least NWLC. (Def.'s Expert
receiving rejections after Galles contacted at least four local
                                                                     Report 3; see also Suppl. Resp. 6.) While the assistance
attorneys and five local organizations, which in the aggregate
                                                                     of amicus curiae no doubt benefits a plaintiff, it is not the
represent thousands of local attorneys, this meritorious suit
                                                                     amicus curiae's case to win. Based on the relative strength of
may have been abandoned due to overwhelming frustration.
                                                                     MHSAA and the number of hours necessary to successfully
The Court holds that expending almost ten hours in search
                                                                     prosecute this case, Galles reasonably believed Plaintiffs
of competent counsel and contacting thousands of attorneys-
                                                                     would need more attorneys than just herself and Pinsky. (See
albeit indirectly-constitutes a good-faith effort to find local
                                                                     Reply 18.) She therefore sought out NWLC for its highly-
counsel. See Gottlieb v. Barry, 43 F.3d 474, 485 n. 8 (10th
                                                                     regarded expertise in Title IX and sex discrimination. This
Cir.1994) (finding out-of-town counsel reasonably necessary
                                                                     was a reasonable decision given NWLC's experience and the


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number of attorneys it could provide to assist in this case.              known for, inter alia, its extensive attorneys' fees
NWLC is thus also entitled to Washington, D.C. rates.                     practice-to assist in fee petition litigation. “Where
                                                                          necessary, fee petitioners may hire outside counsel to
 *8 Moreover, the number of attorneys employed by a party                 represent them in fee litigation. The outside counsel
is not dispositive of whether an attorneys' fees award is                 may also recover reasonable attorneys fees.” Knop
reasonable. The important consideration is the number of                  v. Johnson, 712 F.Supp. 571, 592 (W.D.Mich.1989)
billable hours requested. More than one attorney working on               (citations omitted). The vigor with which the defendant
a case simply signals to the Court that it must be mindful                has litigated the fee issue may render the decision to
of hours that are duplicative or excessive. An analysis of the            retain outside fee counsel as reasonable. Id. MHSAA
hours that are allegedly duplicative and excessive is discussed           vigorously litigated the fee issue and retained an expert
infra.                                                                    to file two substantial reports nitpicking the Fee Petition.
                                                                          As such, it was entirely reasonable for Plaintiffs to hire
                                                                          outside fee counsel.
   iii. DLA Piper                                                   Plaintiffs have not convinced the Court, however, that
MHSAA objects to compensating DLA Piper counsel                     competent fee counsel was unavailable locally. Plaintiffs cite
because neither Cohan nor Bohnenstengel had any Title               to a recent decision in the Eastern District of Michigan where
IX, civil rights or sex discrimination experience when they         lead counsel, Jenner & Block of Washington, D.C., was
were brought onto Plaintiffs' trial team. (Def.'s Expert Report     awarded Washington, D.C. attorneys' rates. Entm't Software
3.) These attorneys, however, were not added for Title              Ass'n v. Granholm, No. 05-73634, slip op. at 2 (E.D.Mich.
IX or civil rights experience, but for trial experience. 14         July 6, 2006). In pertinent part, the court stated:
(Reply 10.) Admittedly, the Court ordered the parties to pare
down their cases considerably so that trial would not last            The Court finds that it was reasonable for plaintiffs to
                                                                      hire Jenner & Block because of their expertise in the
longer than two weeks. 15 As is the case with many parties
                                                                      issues involved with this litigation, given their involvement
facing this situation, Plaintiffs retained counsel with extensive
                                                                      in representing the video game industry in five other
trial experience and the proven ability to expeditiously and
                                                                      cases involving similar laws. See Northcross v. Bd. of
effectively condense Plaintiffs' case within the allotted time
                                                                      Educ. Of the Memphis City Schools, 611 F.2d 624, 637
frame. Nevertheless, even though it was reasonable to hire
                                                                      (6th Cir.1979) (awarding fees for out-of-town civil rights
experienced trial counsel, this does not mean that local
                                                                      attorneys because “the attorneys' intimate familiarity with
attorneys did not possess the same competency. Plaintiffs
                                                                      the issues involved in [this] litigation undoubtedly meant
have failed to convince the Court otherwise because no
                                                                      that their time was far more productive in this area than
affidavits demonstrate a lack of local competent trial counsel.
                                                                      would be that of a local attorney with less expertise”).
The Court concludes that these out-of-town attorneys are only
                                                                      While Detroit has its share of qualified First Amendment
entitled to local rates and not rates based on the Washington,
                                                                      attorneys, Jenner & Block was uniquely qualified to head
D.C. market.
                                                                      the litigation effort on behalf of plaintiffs due to their
                                                                      recent and on-going involvement in other jurisdictions, the
14      Plaintiffs' female attorneys also ironically admit            compressed time-frame involved, and their sole access to
        they “felt compelled to bring in a white male                 deposition transcripts of expert witnesses in the Illinois
        to succeed” due to defense counsel's alleged                  case.
        intimidation tactics against female counsel. (See
        Reply 10.)                                                   *9 Id. Plaintiffs argue Steptoe & Johnson's recent and
                                                                    ongoing involvement in litigating similar issues in other
15      Interestingly, while MHSAA objects to Plaintiffs'           jurisdictions made them uniquely qualified to represent
        hiring of experienced trial counsel, MHSAA also             Plaintiffs against MHSAA. (Suppl. Reply 21.) Plaintiffs do
        added new trial counsel in 2001.                            not provide enough information in this regard to compare
                                                                    this case to Entertainment Software. Accordingly, Plaintiffs
  iv. Steptoe & Johnson                                             will be compensated for the services of Steptoe & Johnson
                                                                    attorneys based on local rates and not Washington, D.C.
     Finally, MHSAA argues it is unreasonable to
                                                                    rates. 16
     compensate counsel from Steptoe & Johnson-a firm



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                                                                                  policy behind awards of attorneys' fees
16     In awarding fees, the fee award is technically made                        to prevailing parties.
       to the party and not to counsel per se. See Evans
       v. Jeff D., 475 U.S. 717, 756, 106 S.Ct. 1531, 89
       L.Ed.2d 747 (1986). The client's liability to the
                                                                      Maceira, 698 F.2d at 40 (citations omitted). The issue is
       attorney is a separate contract matter. See Gisbrecht
                                                                      not, as MHSAA argues, whether Plaintiffs hired the “best”
       v. Barnhart, 535 U.S. 789, 806, 122 S.Ct. 1817, 152
                                                                      attorneys. Even the “best” attorneys may charge reasonable
       L.Ed.2d 996 (2002) (noting that “nothing prevents
                                                                      rates. Once a party has demonstrated lack of local competent
       the attorney for the prevailing party from gaining
                                                                      counsel, the party need not begin searching for “cheap”
       additional fees, pursuant to contract, from his own
                                                                      out-ofstate counsel. Such a requirement would indubitably
       client”) (citation omitted).
                                                                      discourage plaintiffs with worthy claims from pursuing them
                                                                      because instead of searching for the proverbial needle in
  2. Reasonable Rates                                                 a (local) haystack, plaintiffs would be saddled with the
Although some out-of-town counsel were reasonably                     more onerous burden of searching for the needle in a
employed, this does not necessarily mean the rates charged            (national) hayfield. Each attorney representing Plaintiffs must
by said counsel are reasonable. Likewise, just because                be scrutinized. All attorneys request compensation based on
certain out-of-town counsel were not necessary, this does             current market rates to compensate for the almost ten-year
not necessarily mean the rates charged by said counsel are            delay in payment. Such a request is entirely equitable and in
unreasonable.                                                         accord with firmly-established precedent. See Barnes v. City
                                                                      of Cincinnati, 401 F.3d 729, 745 (6th Cir.2005); Ams. United
                                                                      For Separation of Church & State v. Sch. Dist. of the City
            [I]f the client needs to go to a different                of Grand Rapids, 717 F.Supp. 488, 499 (W.D.Mich.1989).
            city to find [a] specialist, he will                      Plaintiffs' counsel additionally seek their customary rates,
            expect to pay the rate prevailing in that                 which likely represents the market value of the services
            city. In such a case, there is no basis                   provided. See Adcock-Ladd v. Sec'y of Treasury, 227 F.3d 343,
            for concluding that the specialist's                      351 (6th Cir.2000) (holding that “special need” for out-of-
            ordinary rate is unreasonably high.                       state specialists dictates compensation at counsel's customary
            If one wishes to be literal, the                          rates); Louisville Black Police Officers Org., Inc. v. City of
            “prevailing” rate “in the community”                      Louisville, 700 F.2d 268, 277-78 (6th Cir.1983); cf. Berry v.
            for work performed by an outside                          Sch. Dist. of the City of Benton Harbor, 703 F.Supp. 1277,
            specialist ... is most likely to be that                  1282-83 (W.D.Mich.1986) (“Especially in cases involving
            outside specialist's ordinary rate. If the                particularly complex issues ... [a] national market or a
            courts (without cause) award fees at                      market for a particular legal specialization may provide the
            less than that rate, they will tend to                    appropriate market.”) (citations omitted). The following rates
            prevent those in smaller communities                      represent the customary rate requested for each attorney based
            from obtaining the experienced legal                      on the 2008 market:
            counsel they may need, contrary to the
        Attorney                                               Firm                              Experience           Hourly
                                                                                                                      Rate

        Rhett Pinsky                                     Pinsky, Smith,                          42                   $250
                                                           Fayette &                             years
                                                            Kennedy

        Kristen Galles                                   Equity Legal                            18                   $390
                                                                                                 years

        Marcia                                              NWLC                                 38                   $440
        Greenberger                                                                              years




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         Neena Chaudhry                                    NWLC                             12                   $390
                                                                                            years

         Barbara Burr                                      NWLC                             19                   $390
                                                                                            years

         Jocelyn Samuels                                   NWLC                             26                   $440
                                                                                            years

         Leslie                                            NWLC                             16                   $390
         Annexstein                                                                         years

         Laura Duos                                        NWLC                             Law                  $125
                                                                                            Clerk

         Beth Burkstrand-                                  NWLC                             Law                  $125
         Reid                                                                               Clerk

         Dina Lassow                                       NWLC                             36                   $440
                                                                                            years

         Andrea Kahn                                       NWLC                             Law                  $125
                                                                                            Clerk

         Roger Warin                                     Steptoe &                          37                   $440
                                                         Johnson                            years

         Lindsey Lang                                    Steptoe &                          26                   $375
                                                         Johnson                            years

         Philip Cohan                                    DLA Piper                          42                   $440
                                                                                            years

         Robin                                           DLA Piper                          13                   $390
         Bohnenstengel                                                                      years


   i. Pinsky, Smith, Fayette & Kennedy (Local Rates for           MHSAA submitted an affidavit of Barbara A. Ruga-a
   Local Counsel)                                                 long-standing Grand Rapids attorney-which sets forth her
 *10 The Court first analyzes whether the rate requested by       opinion regarding reasonable rates in the Western District
Pinsky is a reasonable local rate. When deciding whether          of Michigan for attorneys and paralegals. (See Ruga's Aff.
a Michigan attorney's rate is reasonable, the Court relies        ¶ 1) Based on Ruga's market assessment, MHSAA argues
on a combination of its own expertise and judgment, see           Pinsky, Plaintiffs' sole Michigan attorney, should not be
Garber v. Shiner Enters., Inc., No. 1:06-CV-646, 2007 WL          compensated more than $185 an hour. (Def.'s Expert Report
4557857, at *1 (W.D.Mich. Dec.21, 2007), the State Bar of         3, 11.) This suggested rate is too low based on the Court's
Michigan's “Economics of Law Practice Survey,” see Citizens       knowledge of the current market. The Court accords little
Ins. Co. of Am. v. KIC Chems., Inc., No. 1:04-CV-385, 2007        deference to Ruga's assessment of the legal market. The 2007
WL 2902213, at *5 (W.D.Mich. Oct.1, 2007), other market           “Economics of Law Practice Survey” provides a much more
surveys if necessary, see id. at *6, and the “attorney's normal   authoritative summary of hourly billing rates. The following
billing rate [which] will often show the market value of the      table compares the hourly rates of litigators at all Michigan
services provided.” Ams. United For Separation of Church &        firms to attorneys at Grand Rapids firms of any size:
State, 717 F.Supp. at 495.
                                               All Michigan                                Grand Rapids
                                               Firms                                       Firms


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         Mean                                   $200                                         $298

         Median                                 $195                                         $263

         10th                                   $150                                         $230
         Percentile

         25th                                   $155                                         $250
         Percentile

         50th                                   $195                                         $263
         Percentile

         75th                                   $225                                         $294
         Percentile

         90th                                   $275                                         $400
         Percentile
                                                                    *11 The Court next turns to compensation requested
Economics of Law Practice Survey, State Bar of Michigan            by Galles and NWLC. As aforesaid, rates based on the
(2007) (numbers are rounded to nearest dollar). As can be          Washington, D.C. market are appropriate for both. The
seen, Pinsky's customary rate is charged by the twenty-fifth       Sixth Circuit has seemingly endorsed the use of the Laffey
percentile of Grand Rapids attorneys. Based on his 42 years        Matrix 17 to determine the reasonableness of rates for
of experience and the quality of his advocacy, this rate is        Washington, D.C. attorneys. See Adcock-Ladd, 227 F.3d
extremely reasonable. Were Ruga's market analysis to be            at 347 n. 3 (noting that the Laffey Matrix is an “official
accepted, Pinsky would be compensated at a rate significantly      statement of market-supported reasonable attorney fee rates”
lower than that charged by the bottom ten percent of Grand         for Washington, D.C.). The Laffey Matrix for June 1, 2007
Rapids attorneys. While the Court is happy to consider the         through May 31, 2008 is as follows:
opinions of local attorneys such as Ruga, sometimes the
rates suggested by such “long-standing” attorneys fail to          17
                                                                          The Laffey Matrix was created in Laffey v. Nw.
consider the changes in the legal market and inflation that
                                                                          Airlines, Inc., 746 F.2d 4 (D.C.Cir.1984).
have occurred over the last decade.
                                                                                  Experience                      Hourly
Besides being reasonable based on the State Bar of Michigan's                     Level                           Rate
survey, Pinsky's rate is also reasonable based on local                           20+ years                       $440
precedent. In Spurlock v. Rajt, an Eastern District of Michigan                   11-19 years                     $390
court awarded an attorney with 16 years of experience $300                        8-10 years                      $315
an hour based on the 2003 “Economics of Law Practice                              4-7 years                       $255
Survey.” No. 06-15251, 2008 WL 474082, at *2-3 (E.D.Mich.                         1-3 years                       $215
Feb.15, 2008). Noting that in 2003 such a rate represented                        Paralegals &                    $125
the ninety-fifth percentile of all Michigan attorneys, the court                  Law Clerks
nevertheless found such an award proper. Id. at *2. In this
case, Pinsky has much more experience than the attorney            United States Attorneys's Office for the District of Columbia,
in Spurlock and is requesting $50 less an hour. Moreover,          Laffey Matrix 2003-2008, http://www.usdoj.gov/usao/dc /
the rates at issue in Spurlock are over four years behind          Divisions/Civil_ Division/Laffey_Matrix_7.html (last visited
the current market. Accordingly, Pinsky's billed hours are         Mar. 24, 2008). For almost two decades, courts have relied on
computed based on his $250 an hour rate.                           the Laffey Matrix-or a variation of it-as evidence of reasonable
                                                                   rates for attorneys in Washington, D.C. See, e.g., Covington
                                                                   v. District of Columbia, 57 F.3d 1101, 1109 (D.C.Cir.1995);
  ii. Equity Legal and NWLC (Washington, D.C. Rates for            Save Our Cumberland Mountains, Inc. v. Hodel, 857 F.2d
  Out-of-Town Counsel)


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1516, 1525 (D.C.Cir.1988) (en banc); Smith v. District of             percentile. See Economics of Law Practice Survey, State Bar
Columbia, 466 F.Supp.2d 151, 156 (D.D.C.2006).                        of Michigan (2007). Based on the impressive resumes of these
MHSAA objects to any presumptive market rate associated               four attorneys, extensive experience, and high quality briefing
with Galles because she is a solo-practitioner and employs no         and documentation, the Court is satisfied that they are all well-
support staff. (Resp.13.) Solo practitioners with no support          above the ninetieth percentile of Grand Rapids litigators and
staff, MHSAA argues, traditionally charge less than attorneys         deserve compensation at the top of the local market.
working with other attorneys at a law firm with support staff.
For example, if a market rate of $175 an hour is appropriate
for attorneys comparable to Galles, MHSAA argues she                               [They] are nationally recognized
only is worth $150 an hour. (Id.; see also Ruga's Aff. ¶¶                          experts in a complex field of federal
5-6.) The Court finds this argument baseless due to lack                           practice. They are by no means the
of authority or compelling evidence. Accordingly, the Court                        “median” member of the bar, and their
awards Plaintiffs' fees for the services of Galles and NWLC                        hourly rates should be adjusted upward
attorneys at their requested rates since they are in accord with                   to reflect both their specialization and
the Laffey Matrix.                                                                 the extremely high quality of the
                                                                                   representation they provided to the
                                                                                   plaintiff class. Such an adjustment is
    iii. DLA Piper and Steptoe & Johnson (Local Rates for
                                                                                   not simply reasonable, it is mandated
    Out-of-Town Counsel)
                                                                                   by equity and fairness.
Determining appropriate rates for DLA Piper and Steptoe &
Johnson attorneys presents more of a challenge than Plaintiffs'
other attorneys since they are out-of-town attorneys but only
                                                                      Knop, 712 F.Supp. 583. Other compensation surveys compel
entitled to local rates. Although counsel are only entitled to
                                                                      the same conclusion. For example, the National Law Journal's
local rates, it is notable that they are requesting rates based
                                                                      2007 survey concludes that top rates for partners in the
on the Laffey Matrix as opposed to their customary rates,
                                                                      reporting Michigan firms ranged between $530 to $625 an
which are higher. Plaintiffs' counsel hoped “this litigation
                                                                      hour, with most partners averaging $400 an hour. See A
decision [would] reduce the potential of even more rancorous
                                                                      Nationwide Sampling of Law Firm Billing Rates, Nat'l L. J.,
litigation over fees and result in a quicker realization of the fee
                                                                      Dec. 10, 2007, at B2, B4. Accordingly, the Court finds that
award.” (Suppl.Pet.8.) By all accounts, MHSAA was no less
                                                                      counsel's requested rates are reasonable based on the local
rancorous in fighting almost every dollar Plaintiffs requested
                                                                      market. See Citizens Ins. Co. of Am., 2007 WL 2902213, at *6
in attorneys' fees.
                                                                      (citing Yamanouchi Pharm. Co. v. Danbury Pharmacal, Inc.,
MHSAA objects to any compensation flowing to DLA Piper                51 F.Supp.2d 302, 305 (S.D.N.Y.1999) (finding that counsel's
counsel because the attorneys originally stated they were             rates need only be “ball-park reasonable”). 18
appearing pro bono. (See Resp. 8-9.) This argument can
be summarily dismissed. Courts are instructed to avoid                18      Although MHSAA does not voice much objection
“decreasing reasonable fees because the attorneys conducted                   to the requested rates of paralegals and law clerks
the litigation more as an act of pro bono publico than as an                  relative to the rates requested by attorneys, the
effort at securing a large monetary return.” Blum, 465 U.S. at                Court finds that all such rates are reasonable based
895 (quoting Stanford Daily v. Zurcher, 64 F.R.D. 680, 681                    on the applicable market.
(N.D.Cal.1974)). Thus, the Court will not prohibit reasonable
fees just because attorneys were willing to volunteer their time         B. Improper Staffing
without charging a fee.                                               MHSAA argues Plaintiffs' counsel were improperly staffed
                                                                      on assignments and performed clerical work that should have
 *12 Based on the 2007 “Economics of Law Practice                     been performed by paralegals. (Resp. 13 n. 4, 15-17; Def.'s
Survey,” Warin and Cohan's requested rates of $440 an                 Suppl. Expert Report 24-25.) Statutes conferring attorneys'
hour are above the ninetieth percentile of Grand Rapids               fees on prevailing parties are “not designed as a form of
litigators, Bohnenstengel's requested rate of $390 an hour            economic relief to improve the financial lot of attorneys, nor
is just below the ninetieth percentile, and Lang's requested          were they intended to replicate exactly the fee an attorney
rate of $375 an hour is a little further below the ninetieth


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could earn through a private fee arrangement with his client.”        “[D]ecisions concerning which tasks an attorney performs
Coulter, 805 F.2d at 149 n. 4 (quoting Pennsylvania v. Del.           and involving the allocation of personnel toward the efficient
Valley Citizens' Council for Clean Air, 478 U.S. 546, 565, 106        and effective completion of tasks will be left to the discretion
S.Ct. 3088, 92 L.Ed.2d 439 (1986).                                    of the professional unless the allocation is egregious.” In re
                                                                      Seneca Oil Co., 65 B.R. 902, 911 (Bankr.W.D.Okla.1986)
                                                                      (citation omitted). “Competent plaintiffs' counsel are in the
             Nor do [courts] approve the wasteful                     best position to determine how their time and the time of
             use of highly skilled and highly priced                  their associates can best be allocated.” Muehler v. Land
             talent for matters easily delegable to                   O'Lakes, Inc., 617 F.Supp. 1370, 1379 (D.Minn.1985). In
             non-professionals or less experienced                    Roberts v. Nat'l Bank of Detroit, 556 F.Supp. 724, 728 n.
             associates. Routine tasks, if performed                  1 (E.D.Mich.1983), the court concluded that experienced
             by senior partners in large firms,                       attorneys who complete routine work themselves should not
             should not be billed at their usual rates.               be penalized if they are not involved in large law practices
             A Michelangelo should not charge                         because they have no lower-level associates for delegation
             Sistine Chapel rates for painting a                      purposes. The case at bar is sufficiently analogous to Roberts.
             farmer's barn.                                           Thus, the Court will not decrease an attorney's rate even
                                                                      though the attorney performed tasks that could have been
                                                                      completed by a lower-level associate or paralegal, provided
Ursic v. Bethlehem Mines, 719 F.2d 670, 677 (3d Cir.1983).            the attorney is not involved in a law firm where such
The Supreme Court of Oklahoma has identified a useful                 delegation is possible.
list of common tasks performed by paralegals, including
interviewing clients and witnesses, drafting pleadings and            In this case, the work characterized by MHSAA as “clerical”-
other documents, researching legal issues, researching                most of which was performed by Galles who is a solo-
public records, preparing discovery requests and responses,           practitioner and thus has no lower-level associates to delegate
scheduling depositions, preparing notices and subpoenas,              work to-was all reasonably necessary to the success of
summarizing depositions and other discovery responses,                the litigation and was not unreasonable in duration. After
coordinating and managing document production, organizing             reviewing the time entries and affidavits, the Court finds
pleadings and trial exhibits, preparing witness and exhibit           no merit in MHSAA's contention that the legal research,
lists, preparing trial notebooks, preparing for the attendance        factual research, digestion of depositions, and reviewing of
of witnesses at trial, and assisting attorneys at trial. See Taylor   discovery responses and requests should have been performed
v. Chubb Group of Ins. Cos., 874 P.2d 806, 809 (Okla.1994).           by paralegals. Regarding the other tasks contested, although
                                                                      this work may have been more appropriate for lower-level
 *13 MHSAA concludes that approximately 2,600 hours                   associates or paralegals, a reduction in fees is inappropriate.
billed by Plaintiffs' counsel should have instead been                Most of this work was performed by Galles, however, some
performed by paralegals. These tasks include legal research           was completed by other attorneys although it totals less than
(700 hours), factual research (175 hours), scheduling                 90 hours. Due to the significant number of hours rendered
depositions (55 hours), compiling witness and exhibit lists           overall in this case, the Court accords discretion to the
(150 hours), digesting depositions (100 hours), preparing trial       judgment of Plaintiffs' other attorneys in determining that
notebooks (75 hours), organizing documents (350 hours),               it was reasonable to perform these tasks themselves. By
reviewing discovery responses and requests (450 hours),               performing this work themselves, Plaintiffs' counsel were
                                                                      likely able to enhance their trial preparation because of
and managing document production (475 hours). 19 (Def.'s
                                                                      their increased familiarity with the matters. See Johnston v.
Expert Report 41.) MHSAA recommends compensating 75%
                                                                      Harris County Flood Control Dist., 869 F.2d 1565, 1583
of these hours at prevailing paralegal rates in Michigan, which
                                                                      (5th Cir.1989) (“Though some of the work done by plaintiff's
it argues is $62.50 an hour. (Id.) MHSAA also encourages
                                                                      attorneys arguably could have been done by paralegals, the
the Court to use the rate for hiring temporary paralegals for
                                                                      fact that this work was done by the attorneys will not diminish
calculation purposes, which it suggests is $25.00 an hour. (Id.)
                                                                      the fee award as their efforts enhanced trial preparation.”).
                                                                      Therefore, the Court concludes that the challenged staffing
19      All hours are approximate.                                    was proper.



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                                                                 MHSAA argues Plaintiffs' counsel billed an excessive amount
                                                                 of hours and that most hours, if not all, should not be
   C. Vague Billing Records                                      compensated. (Def.'s Suppl. Expert Report 25-30.) “The
 *14 MHSAA argues the time records of Plaintiffs' counsel        aggregate time for their cause exceeds 9000 hours, despite the
are impermissibly vague. (Def.'s Suppl. Expert Report            fact that they boast of being the Nation's most acclaimed and
13-21.) The absence of detailed contemporaneous time             experienced litigators in civil rights suits of this nature, and in
records, except in extraordinary circumstances, will call        handling the legal issues involved.” (Resp.14.) This argument
for a substantial reduction in hours or, in egregious cases,     seems to suggest that great attorneys do not have to work hard.
disallowance. Grendel's Den, Inc. v. Larkin, 749 F.2d 945,       In the Court's experience, the exact opposite is true. Most
952 (1st Cir.1984). Any ambiguities arising out of poor time     great attorneys realize that to achieve a goal, much hard work
records should be resolved against the fee applicant. New York   and toil is necessary, especially when entering unchartered
State Ass'n for Retarded Children, Inc. v. Carey, 711 F.2d       legal territory.
1136, 1142 (2d Cir.1983).
                                                                 MHSAA chastises numerous days where Plaintiffs' attorneys
MHSAA protests any compensation for approximately 17%
                                                                 worked extremely long hours, most notably Galles. 21 (See
of allegedly vague time entries. (See Def.'s Expert Report
                                                                 id. at 6-7; Def.'s Expert Report 16.) Although discussing each
4, 19-26; Def.'s Suppl. Expert Report 13-21.) A common
                                                                 day individually would prove tedious, the most seemingly
objection is time billed for a telephone call or the drafting
                                                                 egregious day is worth mentioning. On June 30, 1999, Galles
of a letter in which an attorney failed to state the subject
                                                                 billed 25.10 hours. This was the only day Galles billed in
matter discussed. (See Def.'s Expert Report 20-26.) Viewing
                                                                 excess of 24 hours and she readily admits that during certain
MHSAA's argument broadly, it essentially argues counsel
                                                                 periods of time, she worked every waking minute and slept
should not be compensated if a detailed memorandum was
                                                                 little. Further, she “worked all night several days in a row,
not drafted for every billable six-minute increment of time.
                                                                 so that [she] did not carefully pay attention to when one
Had counsel provided this level of detail, however, MHSAA
                                                                 day ended and another began.” (Galles' Suppl. Decl. ¶ 199.)
would likely instead complain that counsel devoted far too
                                                                 The Court could punish Galles' inaccuracy, assuming it is
many hours to billing and recommend substantial reductions.
                                                                 inaccurate, but doing so is inequitable.
This typical argument espoused by losing defendants tries to
place prevailing plaintiffs in a “Catch-22.”
                                                                 21      MHSAA notes Galles billed “almost 700% more
The Court finds merit in some of MHSAA's vagueness                       long days than any other attorney working on the
arguments due to overly ambiguous time records. Although                 Litigation.” (Def.'s Expert Report 16.) As lead
a large majority of the time records are more detailed than              counsel, this should be expected.
necessary, which makes fee petition review much easier, the      *15 Contrary to the “normal” hours MHSAA implies all
same cannot be said for all records. Accordingly, the Court
                                                                 attorneys keep, 22 most attorneys have had to pull “all-
imposes an across-the-board reduction of 10% on the total
                                                                 nighters,” as have many judges and their law clerks. 23 “It
attorneys' fees award. 20 Cf. Bronco's Entm't, Ltd. v. Charter
                                                                 is certainly not unusual for attorneys to work long hours
Twp. of Van Buren, Civil Action No. 99-70197, 2007 WL
                                                                 when they are litigating a complex matter.” Knop, 712
2221406, at *1, 6 (E.D.Mich. July 31, 2007). In so holding,
                                                                 F.Supp. at 579. Indeed, attorneys who have not experienced
the Court seeks to penalize Plaintiffs' counsel not only for
                                                                 an unexpected event requiring such hours on the eve of a
vagueness, but also for general over-billing problems such
                                                                 trial, proceeding, or transaction represent anomalies of the
as excessiveness and duplicity. These over-billing problems
                                                                 profession. (See gen. Kator's Decl. ¶¶ 5-7 (stating that as
are discussed separately infra, although further reductions in
                                                                 an attorney, long hours are common in complex cases).)
excess of 10% are not appropriate.
                                                                 Alternatively, even if Galles should have billed the hours she
                                                                 worked between 3:00 a.m. and 5:00 a.m. under July 1 instead
20     This reduction is imposed after reducing fees for         of June 30, for example, this does not change the total hours
       individual reductions. See infra.                         billed. Either way, MHSAA's argument is void of merit.

  D. Excessive Hours




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22                                                                  of MHSAA's handbooks, bulletins, representative council
        MHSAA also suggests that “[n]ot every event in
                                                                    packets, and agendas. It was not until the middle of this case
        an attorney's day is a billable one.... It has been
                                                                    that the Supreme Court resolved the “state actor” issue, which
        estimated that a lawyer must generally spend three
                                                                    essentially adopted the position advocated for by Plaintiffs.
        hours in the office to legitimately bill for two
        hours. Furthermore, an attorney working a lengthy           See Brentwood Acad. v. Tenn. Secondary Sch. Athletic Ass'n,
        day will inevitably be less efficient as the day            531 U.S. 288, 121 S.Ct. 924, 148 L.Ed.2d 807 (2001). Had
        progresses.” (Def.'s Expert Report 16.)                     less-experienced counsel handled this case, it would have
                                                                    greatly increased the number of hours that would have been
23                                                                  billed.
        In this Court's chambers, for example, “working
        hours ... exceed 50 hours a week as a general rule,
        and often total between 60 and 80 hours per week             *16 Generally speaking, the number of overall hours
        during trial terms.” Knop, 712 F.Supp. at 579 n. 5.         expended was reasonably necessary due in large part to
                                                                    defense counsel's tactics. “Defendants' counsel harassed
MHSAA next takes issue with 640 hours Galles billed in
                                                                    plaintiffs and their counsel, intimidated the named plaintiffs
initial research, 24 346 hours of which were related to the         and their minor children, were rude, uncooperative, and
“basic” legal issues and claims in the litigation. (Def.'s Expert   dilatory, and introduced a level of hostility into the litigation
Report 3.) MHSAA fails to specify whether it objects to all         that vastly increased both the workload and the stress of
the research hours or only those related to “basic” legal issues,   prosecuting this case.” (Reply 2.)
although it would not be surprising if MHSAA believes an
“expert” like Galles cannot justify a single hour of research.
If “a district court decides to eliminate hours of service
                                                                                 Defendants challenged plaintiffs at
adequately documented by the attorneys, it must identify
                                                                                 every turn, filing motion after
those hours and articulate its reasons for their elimination.”
                                                                                 motion. Issues of capacity and
Northcross, 611 F.2d at 637. MHSAA summarily identifies
                                                                                 standing, standards governing motions
the dates this alleged unnecessary research was performed.
                                                                                 to compel and for protective orders,
(See Def.'s Supp. Expert Report 25-28.) MHSAA fails,
                                                                                 standards governing Rule 15 motions
however, to adequately articulate why these hours should be
                                                                                 to amend, standards for interlocutory
eliminated and why the research was in fact unnecessary.
                                                                                 appeals, mandamus, rehearing en
Conclusory statements do not suffice. Thus, the Court is
                                                                                 banc, and certiorari, the standards
unable to find merit in the objection.
                                                                                 governing judicial disqualification,
                                                                                 and several evidentiary issues were
24      This research took place during the merit-phase of                       briefed in response to Defendants'
        the case. In later briefing, MHSAA chides many of                        obstructionist strategy.
        the additional hours performed relating to the Fee
        Petition.
Alternatively, based on review of billed research hours, the        (Id. at 9-10.) MHSAA cannot choose to “litigate tenaciously
amount of research undertaken by Plaintiffs' counsel was            and then be heard to complain about the time necessarily
reasonable based on the circumstances of this case. Title           spent by plaintiff in response.” City of Riverside v. Rivera,
IX is a complex area of the law and contains relatively             477 U.S. 561, 580 n. 11, 106 S.Ct. 2686, 91 L.Ed.2d 466
few reported decisions to guide practitioners. See Cohen v.         (1986); Knop, 712 F.Supp. at 578. The time required to
Brown Univ., 101 F.3d 155, 169 (1st Cir.1996) (recognizing          litigate increases when the defendant bitterly contests the
“factual intricacies and legal complexities that characterize       case, forcing the plaintiffs to win their victory from “rock to
Title IX litigation”). Plaintiffs' counsel treaded new ground       rock and from tree to tree.” Lipsett v. Blanco, 975 F.2d 934,
with their claims, including the applicability of Title IX          939 (1st Cir.1992). Accordingly, MHSAA must reap what it
to state high school athletic associations. To tackle this          has sown. The excessiveness objection is denied.
issue required learning how MHSAA operates in order to
establish that it controls and operates interscholastic athletics
in Michigan and is thus a “state actor” subject to Plaintiffs'        E. Duplicative Hours
constitutional claims. This involved review of over 30 years


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MHSAA argues that Plaintiffs' counsel exhibited duplicative                 Although such a practice would not be reasonable
efforts. (See Def.'s Expert Report 28-38; Def.'s Suppl. Expert              for every appearance in court, it was appropriate
Report 25-30.) “[I]f the same task is performed by more                     in this circumstance because all attorneys who are
than one lawyer, multiple compensation should be denied.                    going to appear at trial should be at the final pretrial
The more lawyers representing a side of the litigation, the                 conference. This is a courtesy to the Court where, as
greater the likelihood will be for duplication of services.”                here, new attorneys are appearing for the first time.
Ramos v. Lamm, 713 F.2d 546, 554 (10th Cir.1983). MHSAA
takes issue with approximately 1,100 hours that resulted               This case was lengthy, complex and vigorously contested.
from attorneys speaking to one another or meeting with                 Undoubtedly, the defense tactics of rude, offensive
the Department of Justice, such as telephone conferences,              behavior, foot dragging, dissembling and totally refusing
meetings, and emails. (Def.'s Export Report 27-28.) MHSAA              to cooperate to move the case to a conclusion resulted in
also argues unnecessary staffing added over 200 billable               the expenditure of many more hours of lawyer time on the
hours to time billed for depositions as well as additional             part of plaintiffs' counsel than would have been necessary
travel costs. (Id. at 6.) MHSAA posits it was unnecessary              if defense counsel had been more professional in their
for more than one attorney to be present at almost every               responsibilities to their client, to opposing counsel and to
event, including depositions, status conferences, pretrial             the Court.
conferences, and mediation. (See id.)                                  (Pls.' Expert Report 15.) Accordingly, the Court finds that
                                                                       there was no duplication of attorney effort or unreasonable
In complex matters, it is standard practice for at least two           use of attorney time. Cf. Knop, 712 F.Supp. at 577-78
attorneys to appear at most proceedings, along with paralegals         (finding billable time for eight attorneys, “one paralegal
or law clerks to assist with document handling. If two                 and a number of law clerks and law student interns”
attorneys are present at a deposition, for example, one can            constituted reasonable staffing).
interrogate the witness while the other can consider what
topics are not being adequately covered because of rude               F. Billing Fraud
defense tactics, an evasive witness, or witnesses who claim          MHSAA argues Galles fraudulently “padded” her billing
not to remember. Similarly, it is reasonable for all trial counsel   records. 26 MHSAA tries to prove this allegation in two ways.
to be present for mediation. This case is an example of the          First, MHSAA cites the approximately 3,400 aggregate hours
success of such a staffing practice because mediation resulted       Galles billed in 1999 in this case, Paton v. New Mexico
in trial being reduced to a single issue. This successful result     Highlands Univ., No. 97-01360-JC (D.N.M.), and Alston
indubitably saved time and attorneys' fees because a favorable       v. Va. High School League, Inc., No. CIV. A. 97-0095-C
result in mediation is almost always reached in a shorter            (W.D.Va.). 27 When coupled with her community, special
period of time than it would take for the same result to be          interest, and professional activities, MHSAA questions,
reached at trial.                                                    “[w]hen did counsel have time to sleep, eat, conduct personal
                                                                     business and attend to administrative matters?” (Addendum
 *17 After reviewing the numerous time entries associated            to Resp. 4; see also Resp. 4.) Given that Galles only took off
with the hours at issue, the Court is satisfied that Plaintiffs'     28 days in 1999, 3,400 hours roughly equates to billing 10
counsel did not overly duplicate or otherwise improperly staff       hours a workday. These three cases-especially the case sub
proceedings and assignments. Counsel reasonably consulted            judice-were extremely time intensive and involved numerous
each other concerning pretrial orders, especially given the          deadlines. Billing 3,400 hours is not facially unreasonable,
hostile and uncooperative nature of defense counsel, which           especially given the amount of travel required. The Court does
eventually led the Court to order all parties to convene             not assume fraud based solely on the number of hours Galles
in the Court's jury room to produce a pretrial order. This           billed.
also applies to the drafting of the final order of proof and
court appearances where multiple attorneys were present. 25          26     Along these same lines, MHSAA argues Plaintiffs'
Plaintiffs' expert provides a pointed summary of this issue:
                                                                            counsel failed to use billing judgment and that
                                                                            substantial reductions are necessary to the hours
25      The most seemingly egregious of these                               claimed. (See Resp. 14; Def.'s Expert Report
        appearances occurred at the final pretrial                          41-43.) Plaintiffs' counsel claims to have exercised
        conference when all five trial counsel were present.                billing judgment to exclude over 1,000 billable


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       hours. (See Reply 3 n. 4.) Upon review of the time           *18 MHSAA's final argument alleging fraud concerns
       entries and affidavits, there is nothing to indicate        time billed for alleged telephone calls between Galles and
       that MHSAA's allegation has merit so it is therefore        Pinsky which she billed for but he did not. (Def.'s Expert
       rejected.                                                   Report 14-15.) MHSAA suggests such calls never actually
                                                                   took place and that Galles fabricated these records. Galles
27
       In Alston, Galles was one of ten attorneys and              contends that such discrepancies indicate only that the two
       claimed personal attorney's fees of $157,900.               attorneys exercised their billing judgment independently.
       MHSAA implies fraud by questioning why Galles               (Reply 13.) To the Court, these billing “discrepancies” do not
       is claiming much higher fees in this case and               raise suspicion because it is well-known not every attorney
       argues the two cases have virtually identical legal         exercises his or her billing discretion the same way. The Court
       and factual issues. (Resp.19.) MHSAA also argues            is satisfied that these billing records were contemporaneously
       “Galles has never sought or been awarded out-               compiled and accurately reflect telephone calls that took
       of-state billing rates in any of her other Title            place.
       IX case [sic].” (Suppl. Resp. 4; see also Resp.
       9.) MHSAA's position is untenable and irrelevant
       because the rates used to compensate Galles for                G. Unreasonable Billing Increments and Block Billing
       her representation in Alston, local Virginia rates,         In its initial briefing, MHSAA contended some of Plaintiffs'
       has no bearing on the central question of whether           attorneys billed in unreasonably large billing increments, such
       competent counsel exists in Michigan. Moreover,             as quarter-hour, half-hour, and full-hour increments. (Resp.
       Galles worked many more hours in this case than             17; Def.'s Expert Report 17; Def.'s Suppl. Expert Report
       she did in Alston.                                          9-14.) This problem was allegedly compounded due to block
                                                                   billing. Plaintiffs' attorneys countered that they billed in tenths
MHSAA's expert also argues Galles consistently billed more
                                                                   of an hour and that “[t]he fact that a task took sixty minutes
time for attendance at trial, depositions, pretrial conferences,
                                                                   does not imply ... a sixty-minute billing increment, rounding
and other proceedings than the time records reflect the
                                                                   up to a full hour for tasks that took less time.” (Reply 14.)
proceedings actually lasted. (Def.'s Expert Report 4, 12-14.)
                                                                   MHSAA appears to concede in later briefing-albeit evasively-
As any trial attorney knows, it is not acceptable to show
                                                                   that Plaintiffs' counsel did not bill in such large increments.
up to court a second before the judge bangs the gavel
                                                                   (See Suppl. Resp. 7.) If this concession was not meant to be
to commence the proceeding. Well-prepared attorneys are
                                                                   made, the Court nevertheless finds that counsel did not bill
“working” before the start of any proceeding because they
                                                                   in unreasonable increments and rejects any argument to the
may need to assemble necessary materials, confer with clients
                                                                   contrary.
or co-counsel, negotiate with opposing counsel, or engage
in a plethora of other legitimate activities. These incidentals
performed in furtherance of the proceeding need not be                H. Travel Hours
billed under separate task descriptions from the underlying        MHSAA argues attorneys' fees are inappropriate for travel
proceeding. “[C]ounsel ... is not required to record in great      time, or alternatively only worthy of half of the attorney's
detail how each minute of his time was expended.” Knop,            billing rate. The thrust of MHSAA's argument is that traveling
712 F.Supp. at 576 (quoting Hensley, 461 U.S. at 437 n.            costs would not have been incurred had Plaintiffs not hired
12); cf. Lenihan v. City of New York, 640 F.Supp. 822, 826         out-of-town counsel. (See Def.'s Expert Report 47-48; Def.'s
(S.D.N.Y.1986) (finding that a seven hour entry for “general       Suppl. Expert Report 32, 36.) Plaintiffs' attorneys seek
preparation” or “preparation” followed by entries for a trial      compensation for over 600 travel hours, most of which
or preliminary hearing are “not so vague that the Court is         represents long-distance travel. MHSAA faults all counsel
unable to assess their reasonableness”). On average, Galles        who traveled-besides Cohan-for not working while traveling
worked approximately 45 minutes in addition to the time it         and underscores they may have instead been sleeping or
actually took to complete each proceeding. This time likely        relaxing. (Def.'s Expert Report 7, 39.) Since it was reasonable
reflects dealing with administrative matters such as those         to employ out-of-town counsel, it was necessary for counsel
aforementioned. Upon review of the time records, the Court         to travel to necessary proceedings and other matters. Travel
does not find any abnormalities and thus rejects MHSAA's           time billed at an attorney's usual rate has routinely been
argument.                                                          awarded as a matter of course. See, e.g., Wayne v. Village of
                                                                   Sebring, 36 F.3d 517, 532 (6th Cir.1994); Citizens Ins. Co. of


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Am., 2007 WL 2902213, at *6. The Court makes no exception                     of their reimbursement request and thus MHSAA's
in this case and rejects MHSAA's argument to the contrary.                    objection is denied.
                                                                       The heart of MHSAA's “fees for fees” objection concerns
                                                                       the approximately 1,100 additional hours incurred after the
    I. “Fees for Fees” Hours
                                                                       original Petition was filed. “Supplemental attorneys' fees
MHSAA argues Plaintiffs' counsel are requesting
                                                                       can be awarded in the same manner as attorneys' fees.”
unreasonable “fees for fees” compensation. (Def.'s Suppl.
                                                                       McCombs v. Meijer, Inc., 395 F.3d 346, 361 (6th Cir.2005)
Expert Report 33-34.) “It would be inconsistent with the
                                                                       (citation omitted). As Plaintiffs concede, since there was no
purpose of the Fees Act to dilute a fees award by refusing
to compensate the attorney for the time reasonably spent in            trial on this issue, the total number of hours actually billed
                                                                       for fee litigation is roughly three times the 3% guideline
establishing and negotiating his rightful claim to the fee.”
                                                                       recommended by the Coulter Court. (See Suppl. Reply
Lund v. Affleck, 587 F.2d 75, 77 (1st Cir.1978). Nevertheless,
                                                                       13.) Plaintiffs blame this departure from the guideline on
prevailing parties do not have unlimited access to attorneys'
                                                                       MHSAA:
fees. The Sixth Circuit, in Coulter, 805 F.2d at 151, provides
guidance on “fees for fees” compensation. In the absence of
unusual circumstances, the hours allowed for preparing and
litigating a fee petition should not exceed 3% of the total hours                  MHSAA opposed the bill of costs; it
in the underlying case if the issue is submitted on the briefing                   filed unsuccessful motions for costs
without a trial. Id. If there is a trial on the fee issue, the hours               on behalf of the MHSAA individual
allowed should not exceed 5%. Id. The suggested 3% to 5%                           defendants; it retained a hired gun 29
range represents a guideline and not an unbending rule. See id.                    to search plaintiffs' records for entries
                                                                                   that might provide fodder for its
 *19 Plaintiffs' original Fee Petition and Bill of Costs 28                        buckshot attack on CFE counsel
contained 96 hours spent on the Fee Petition, which represents                     personally and their legal services on
approximately 2.2% of the hours billed in the underlying case.                     behalf of the plaintiff class; it opposed
(Suppl. Reply 14-15.) MHSAA objects to these hours because                         a routine motion to exceed page limits;
Galles did not present contemporaneous time records to verify                      it moved to strike the majority of the
the hours claimed. Based on Galles' affidavit and the Fee                          exhibits to plaintiffs' Reply-exhibits
Petition itself, numerous hours were undoubtably spent. Due                        necessary to meet its burden of proof
to the lack of contemporaneous time records, however, the                          in face of the allegations in MHSAA's
Court reduces these hours by 25% to 72 hours. Cf. Hensley,                         Opposition.
461 U.S. at 428; Kelley v. Metro. County Bd. of Educ., 773
F.2d 677, 683-84 (6th Cir.1985).
                                                                       29
                                                                              This “hired gun,” MHSAA's expert, tremendously
28      On August 13, 2002, the Court awarded $22,359.14                      increased the workload of Plaintiffs' counsel
        to Plaintiffs after reviewing their Bill of Costs.                    and the Court while advancing few meritorious
        (See Dkt. No. 595.) MHSAA argues a “plethora of                       arguments.
        expenses previously awarded Plaintiffs with their
                                                                       (Id. at 15.) As Plaintiffs correctly note, “[t]his kind of
        Bill of Costs are again claimed in their present Fee
                                                                       procedural posturing wastes everyone's time and drives up
        Petition.” (Resp.23.) This equates to approximately
                                                                       the cost of the litigation. Yet Plaintiffs had no choice but to
        $20,000 in costs. (See Def.'s Expert Report 9,
                                                                       respond thoroughly.” (Suppl.Pet.5.)
        44-45.) Plaintiffs counter that the costs claimed in
        the Fee Petition are computed in two ways: (1) total
                                                                       The congressional purpose behind the Fees Act would be
        costs if no costs were awarded pursuant to the Bill
                                                                       thwarted if losing defendants were able to dilute a fee award
        of Costs, and (2) a reduced cost amount taking into
                                                                       by forcing prevailing plaintiffs to devote uncompensated time
        account any costs awarded on the Bill of Costs.
                                                                       to defend their legitimate fees. See Weisenberger v. Huecker,
        (Reply 23-24.) Plaintiffs clearly are not entitled
                                                                       593 F.2d 49, 53-54 (6th Cir.1979). If the defendant vigorously
        to a double recovery for incurred costs; however,
                                                                       objects to a fee petition with lengthy and specific objections,
        Plaintiffs have correctly categorized the operation



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it is necessary for fee counsel to respond in kind. Knop, 712         280 (5th Cir.2000). As the court explained “[the defendant]
F.Supp. at 592. MHSAA's vigorous objections, employment               remained neutral on the intervention issue. In addition,
of an expert, and obstructionist tactics compel finding that          the potential intervenors made clear ... that the purpose
the efforts of Plaintiffs' counsel was reasonably expended            of their intervention was to raise arguments and defenses
and absolutely necessary to secure their fee award. Cf. Ams.          that [the defendant] itself had no interest in raising.” Id.
United For Separation of Church & State, 717 F.Supp. at               The Fifth Circuit, however, declined to decide whether a
494-95 (awarding attorneys' fees for hours that constituted           prevailing party always should be barred from shifting to
15% of the total hours in the underlying case based on                the defendant the costs associated with defending against
atypical circumstances). Accordingly, the Court finds that this       an intervention. Id.
departure from the 3% “fees for fees” guideline is proper.
                                                                    353 F.Supp.2d 929, 940 (E.D.Mich.2005). In Gratz, the
                                                                    district court disallowed fees related to defeating intervention
   J. Motion to Intervene Hours                                     efforts by intervenors who asserted a ground the defendant
 *20 On July 13, 2007, the Court denied the Motion to               “never asserted during the litigation.” Id.
Intervene of the Michigan High School Tennis Coaches'
Association and individual movants. See Communities for             This case is distinguishable from Gratz, Hopwood, and Rum
Equity v. MHSAA, No. 1:98-CV-479, 2007 WL 2078753, at               Creek Coal Sales. In this case, the unsuccessful intervenors
*5 (W.D.Mich. July 13, 2007). On the same day, the Court            asserted a ground which was previously abandoned by
also denied the Motion to Intervene of certain coaches of           MHSAA after all appeals were exhausted. Thus, Plaintiffs
female and male high school soccer teams in the Upper               are the “prevailing party” on grounds advocated for by
Peninsula of Michigan and individual movants. (See Dkt.             MHSAA. These arguments were rejected when they were
No. 719.) MHSAA argues it should not have to pay for the            made by both MHSAA and the intervenors. Moreover, the
approximately 180 hours devoted by Plaintiffs' counsel to           intervenors in Gratz tried to intervene during litigation on
defeating these intervention efforts. (Suppl. Resp. 4-5, 16; see    the merits by alleging that the defendant might not defend
also Def.'s Suppl. Expert Report 30-31.)                            the case with the same vigor or on the same grounds as
                                                                    the intervenors would. See id. In this case, the interveners
The Supreme Court has held that a prevailing party in a             moved to intervene after the trial on the merits, at a point
civil rights suit cannot recover attorneys' fees and costs          in time where there could be no argument that MHSAA had
from an intervenor who has not violated the law, unless             not vigorously represented the interveners' interests because
the intervention is frivolous or unreasonable. Indep. Fed'n         MHSAA opposed any rescheduling of seasons.
of Flight Attendants v. Zipes, 491 U.S. 754, 761, 109 S.Ct.
2732, 105 L.Ed.2d 639 (1989). The Supreme Court has not              *21 If Plaintiffs' counsel had not argued against
decided whether the prevailing party can recover fees and           intervention, Plaintiffs would have potentially exposed
costs from the defendant whose illegal conduct precipitated         themselves to a reversal of the victory already achieved.
the intervention. This issue was discussed in detail by the         This would have resulted in Plaintiffs thereafter “starting
district court in Gratz v. Bollinger:                               over” in hopes of winning another victory, which would
                                                                    have no doubt involved ample billable hours and numerous
  At least two circuit courts have interpreted Zipes as             more years of litigation. There can be no question that
  implying that the prevailing plaintiffs should bear the risk      the time spent for anti-intervention efforts was reasonably
  of incurring intervention-related costs as a result of filing     necessary to the successful completion of the litigation. Cf.
  a lawsuit and therefore have extended Zipes to a prevailing       Del. Valley Citizens' Council for Clean Air, 478 U.S. at 559-60
  parties' [sic] request for intervention-related attorneys' fees   (recognizing that post-judgment services to enforce the relief
  from the losing defendant. See, e.g., Rum Creek Coal Sales,       obtained can be as important as securing the relief in the first
  Inc. v. Caperton, 32 F.3d 169, 176-78 (4th Cir.1994); Bigby       instance). Thus, the Court denies MHSAA's objection.
  v. City of Chicago, 927 F.2d 1426, 1428-29 (7th Cir.1991).
  In a case similar to the one now before this Court, the
  Fifth Circuit upheld the district court's refusal to award          K. Public Relations Efforts
  intervention-related fees and costs from the defendant's          MHSAA objects to public relations efforts undertaken
  pocket because the plaintiffs “did not ‘prevail’ on this issue    by Galles, such as hours billed when Galles spoke at
  vis-a-vís [the defendant].” Hopwood v. Texas, 236 F.3d 256,       a 2004 luncheon of federal bar practitioners in Grand


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Rapids; for conducting press conferences; and generally for        Washington, 626 F.Supp. at 1514. Since this issue is not
media communications. (Suppl. Resp. 4, 17; Def.'s Suppl.           present in the case at bar, these cases are not useful.
Expert Report 31-32.) Galles billed 241 hours for these
activities. Media-related services are compensable under           MHSAA's conduct is quite telling because even MHSAA
certain circumstances. See, e.g., Davis v. City & County           solicited several groups as amici to argue in support of its
of San Francisco, 976 F.2d 1536, 1545 (9th Cir.1992),              position, apparently because it thought enlisting this help
vacated in part on other grounds, 984 F.2d 345 (9th Cir.1993)      was a reasonable cost in defending this action. Based on the
(concluding that narrowly focused public relations efforts are     significance of this case, it is inequitable to deny Plaintiffs'
compensable); United States ex rel. Scott v. Metro. Health         attorneys compensation for time spent responding to amici
Corp., No. 1:02-CV-485, 2005 WL 3434830, at *8 n. 15               filings and soliciting amici in support of its own position.
(W.D.Mich. Dec.13, 2005) (noting that the heavy use of the         These actions were reasonably necessary to the successful
media by one party may render media services by the other          prosecution of this case and compensation shall be awarded
party essential). Moreover, “review of media statements by an      in full.
opponent is proper investigation in connection with a suit.”
Metro. Health Corp., 2005 WL 3434830, at *8 n. 15 (citation
omitted). The “fact that private lawyers may perform tasks            M. Specific Cost Objections
other than legal services for their clients, with their consent    The Sixth Circuit has counseled that there exists “two separate
and approval, does not justify foisting off such expenses on an    sources of authority to award out-of-pocket expenses.
adversary under the guise of reimbursable fees.” Gratz, 353        Some expenses are included in the concept of attorney's
F.Supp.2d at 941 (citation omitted).                               fees, as ‘incidental and necessary expenses incurred in
                                                                   furnishing effective and competent representation,’ and thus
In this case, Plaintiffs' counsel responded to media inquiries     are authorized by [42 U.S.C.] section 1988.” Northcross,
prompted by MHSAA's press releases and other attempts to           611 F.2d at 639 (citations omitted). Costs under § 1920,
publicly discredit Plaintiffs. At times, it appeared Plaintiffs'   however, “are on a different footing.” Id. Under § 1988,
cause was vilified by MHSAA, teachers, coaches, parents,           Sixth Circuit courts have consistently awarded “reasonable
the media, and the general public. Attempting to sway public       photocopying ... and travel and telephone costs.” Id. The court
opinion in favor of Plaintiffs, however, is not compensable.       will not “second-guess” an attorney's decision on how many
“The legitimate goals of litigation are almost always attained     copies are necessary. Id. at 642.
in a courtroom, not in the media.” Rum Creek Coal Sales,
31 F.3d at 176. The Court will therefore deny compensation
                                                                      1. Photocopying and Printing
for the 241 hours expended relating to public relations. See
                                                                   MHSAA argues against a reimbursement request of over
Halderman by Halderman v. Pennhurst State Sch. & Hosp.,
                                                                   $31,000 in photocopying and printing costs, most of which
49 F.3d 939, 942 (3d Cir.1995); Hart v. Bourque, 798 F.2d
                                                                   is attributable to Galles. (Def.'s Suppl. Expert Report 35-36.)
519, 523 (1st Cir.1986); Gratz, 353 F.Supp.2d at 941-42.
                                                                   Galles seeks reimbursement of in-house photocopying costs
                                                                   at 20 cents per page early in the case, 25 cents per page
   L. Amicus Curiae Fees                                           later in the case, and at actual cost when copies were made
 *22 MHSAA argues Plaintiffs' counsel should not recover           through Kinko's. Galles seeks reimbursement at 10 cents a
attorneys' fees for services performed in connection with          page for documents printed from her computer. MHSAA
obtaining and later working with amicus curiae. (Suppl.            recommends reducing photocopying and printing costs 75%
Resp. 16-17; Def.'s Suppl. Expert Report 30-31.) MHSAA             for Galles and by a lesser amount for other attorneys. (See
argues these services were not necessary to the litigation         Def.'s Expert Report 46.) MHSAA claims a very small
but admits no Sixth Circuit precedent exists supporting this       percentage of these documents were admitted as exhibits
view. (Suppl.Resp.17.) MHSAA does cite, however, non-              at trial and that only costs incurred for those documents
persuasive authority such as Shakman v. Democratic Org. of         presented at trial are recoverable. MHSAA further argues
Cook County, 634 F.Supp. 895 (N.D.Ill.1986), and United            that most of the copies made of MHSAA's documents were
States v. Washington, 626 F.Supp. 1405 (W.D.Wash.1985).            not necessary as “Defendant offered Plaintiff [sic] access
Shakman and State of Washington both concerned fees for            to inspect these documents.” (Resp. 22 (emphasis added);
an amicus brief prepared by the prevailing plaintiffs' counsel     see also Def.'s Expert Report 9, 45-46.) Federal Rule of
but filed in a different case. Shakman, 634 F.Supp. at 900;        Civil Procedure 34 provides any party the right “to inspect


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and copy” any documents within the broad scope of Rule              entitles counsel to interest on the attorneys' fees and costs
26(b). Thus, Plaintiffs had the right to copy these documents.      award calculated from the filing date of the complaint. See
MHSAA's argument is untenable because these copying costs           Mich. Comp. Laws § 600.6013; Grow v. W.A. Thomas Co.,
are obviously reasonable litigation costs. The Court concludes      236 Mich.App. 696, 601 N.W.2d 426, 438 (Mich.App.1999);
that all of the requested photocopying and printing costs are       Schellenberg v. Rochester Mich. Lodge No. 2225, 228
reasonable and should be reimbursed in full.                        Mich.App. 20, 577 N.W.2d 163, 177 (Mich.App.1998). In
                                                                    this case, prejudgment interest accrues from the filing date
                                                                    of the Complaint in June 1998 until the issuance of the
   2. Postage                                                       Court's Opinion and Judgment. The Court leaves it to the
 *23 MHSAA argues Plaintiffs' counsel cannot be                     parties to determine the applicable interest rate and amount of
reimbursed for postage costs because some courts have held
                                                                    interest. 30 See Mich. Comp. Laws § 600.6013.
that postage is ordinarily part of a firm's overhead. See, e.g.,
Altergott v. Modern Collection Techniques, Inc., 864 F.Supp.
                                                                    30
778, 783 (N.D.Ill.1994). “Other courts have routinely allowed               The prejudgment interest rate shall be “equal to
recovery for non-overhead expenses such as postage,” such as                1% plus the average interest rate paid at auctions
this Court. Knop, 712 F.Supp. at 590. Accordingly, MHSAA's                  of 5-year United States treasury notes during
objection is denied.                                                        the 6 months immediately preceding July 1 and
                                                                            January 1, as certified by the state treasurer, and
                                                                            compounded annually ....” Mich. Comp. Laws §
    3. Telephone                                                            600.6013(8). It is noted that post-judgment interest,
MHSAA objects to certain telephone calls billed by NWLC                     which is calculated from the date of the entry of the
counsel and suggests reducing these costs by 75%, which                     judgment, is controlled by 28 U.S.C. § 1961 since
equals approximately $2,700. MHSAA questions whether                        this case involved both federal and state law claims.
these costs were related to the litigation. (Def.'s Expert Report           See Reed v. Country Miss, Inc., Nos. 93-6370 &
48.) The Court is satisfied that these costs were related to the            94-5005, 1995 WL 348041, at *2 (6th Cir. June 8,
litigation, although greater detail in the cost records would               1995).
have been preferred.
                                                                    IV. CONCLUSION
                                                                    For the reasons stated above, the Court reduces the requested
   4. Westlaw and Lexis Research
                                                                    attorneys' fee award of $5,023,991.25 through an across-
MHSAA objects to legal research costs incurred by counsel
such as Westlaw and Lexis charges. (Def.'s Suppl. Expert            the-board reduction for “fees for fees” hours claimed 31
Report 35.) The Third, Seventh, Tenth, and District of              and public relations hours claimed. 32 After deducting these
Columbia Circuit Courts of Appeal have all found these costs        amounts, the fee award is $4,921,241.25. This amount,
reasonable. See, e.g., Case v. Unified Sch. Dist. No. 233,          however, is further reduced by a 10% across-the-board
Johnson County, Kan., 157 F.3d 1243, 1258 (10th Cir.1998);          reduction for vagueness, excessiveness, and duplicity in the
Matter of Cont'l Ill. Sec. Litig., 962 F.2d 566, 570 (7th           hours billed. 33
Cir.1992). “The logic of these cases is irrefutable.” Citizens
Ins. Co. of Am., 2007 WL 2902213, at *7 (citing Crosby,             31      This reduction equates to 24 hours at $390 an hour
262 F.Supp.2d at 817)). These costs are routinely billed to
                                                                            (Galles' rate), which is $9,360.00.
clients and are necessary in the studied practice of law. Cf.
Northcross, 611 F.2d at 638-39 (holding that costs which are        32      This reduction equates to 241 hours at $390 an hour
routinely charged to clients and aid in the effective practice              (Galles' rate), which is $93,390.00.
of law should be reimbursed.) Therefore, these costs will be
awarded to Plaintiffs.                                              33      To avoid a duplicative reduction, the Court reduces
                                                                            the award by 10% after making the “fees for fees”
                                                                            and public relations adjustments, as opposed to
  N. Prejudgment Interest                                                   before.
Michigan's Elliott-Larsen Civil Rights Act, which specifically
defines “damages” to include attorneys' fees and costs,              *24 Accordingly, the Court awards Plaintiffs Communities
                                                                    for Equity $4,429,117.13 in attorneys' fees and $131,144.80


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in costs, for a total award of $4,560,261.93. Prejudgment
interest is payable on the total award and shall be calculated       All Citations
from the filing date of Plaintiffs' Complaint, with post-
judgment interest payable from the date of this Opinion and          Not Reported in F.Supp.2d, 2008 WL 906031
Judgment. A Judgment consistent with this Opinion shall
issue.

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Ford Motor Co. v. U.S., Not Reported in F.Supp.2d (2009)
2009 WL 2922875, 104 A.F.T.R.2d 2009-6352



                   2009 WL 2922875
               United States District Court,                                  ... before Ford is required to respond
                     E.D. Michigan,                                           to the Government's motion for
                   Southern Division.                                         judgment on the pleadings, the
                                                                              Government's objections to Magistrate
        FORD MOTOR COMPANY, Plaintiff,                                        Judge Mazjoub's July 21, 2009 opinion
                      v.                                                      and order should be addressed and
       UNITED STATES of America, Defendant.                                   the Government should provide the
                                                                              disputed discovery, to the extent still
                       No. 08–12960.                                          required.
                              |
                       Sept. 9, 2009.
                                                                 (Doc. 35 at 2.) Thus the Court will address the Government's
Attorneys and Law Firms
                                                                 objections at this time.
Richard E. Zuckerman, Douglas C. Salzenstein, Jennifer Z.
Belveal, Honigman, Miller, Detroit, MI, for Plaintiff.           A party may object to a magistrate judge's non-dispositive
                                                                 orders. Fed.R.Civ.P. 72(a);       28 U.S.C. § 636(b)(1)(A).
Christine Hooks, U.S. Department of Justice, Washington,
                                                                 The magistrate judge's decision must be affirmed unless the
DC, for Defendant.
                                                                 objecting party demonstrates that the decision is “clearly
                                                                 erroneous” or “contrary to law.” Id. A district court may not
                                                                 reverse a magistrate judge's ruling on a non-dispositive matter
ORDER DENYING DEFENDANT'S OBJECTIONS TO                          simply because the court would have decided the matter
 MAGISTRATE JUDGE MAJZOUB'S JULY 21, 2009
 ORDER AND DENYING AS MOOT DEFENDANT'S                           differently. See, e.g.,     Anderson v. Bessemer City, N.C.,
 REQUEST FOR A STAY OF ORDER AND REVIEW                          470 U.S. 564, 573–74, 105 S.Ct. 1504, 1511, 84 L.Ed.2d
    PENDING OUTCOME OF DEFENDANT'S                               518 (1985). Instead, the court may reverse only “ ‘... when
 MOTION FOR JUDGMENT ON THE PLEADINGS                            although there is evidence to support it, the reviewing court on
                                                                 the entire evidence is left with the definite and firm conviction
PATRICK J. DUGGAN, District Judge.
                                                                 that a mistake has been committed.’ “      Id. at 573, 105 S.Ct.
 *1 Plaintiff Ford Motor Co. (“Ford”) filed this lawsuit,        at 1511 (quoting United States v. U.S. Gypsum Co., 33 U.S.
seeking interest it claims is due on overpayments of corporate   364, 395, 68 S.Ct. 525, 542 (1948)). “An order is contrary
income tax. On May 14, 2009, Ford filed a Motion to              to law ‘when it fails to apply or misapplies relevant statutes,
Compel Discovery, which this Court referred to Magistrate        case law, or rules of procedure.’ “ SEC v. McKnight, No. 08–
Judge Majzoub in an order filed on May 15, 2009. On July         11887, 2009 WL 1107675, at *1 (E.D.Mich. Apr.22, 2009)
21, 2009, Magistrate Judge Majzoub issued an opinion and
                                                                 (quoting, Catskill Dev., L.L. C. v. Park Place Entm't Corp.,
order granting in part Ford's motion. Presently before the
                                                                 206 F.R.D. 78, 86 (S.D.N.Y.2002)).
Court are the government's Objections to Magistrate Judge
Mazjoub's decision, filed August 4, 2009. In its objections,
                                                                 In light of the authority relied upon by Magistrate Judge
the government also asks the Court to stay the discovery order
                                                                 Majzoub and Ford, this Court cannot conclude that the
and the Court's review of the order pending the outcome of
                                                                 magistrate judge's order is “contrary to law.” First, Federal
the government's motion for judgment on the pleadings.
                                                                 Rule of Civil Procedure 26 allows for broad discovery,
                                                                 including “any nonprivileged matter that is relevant to any
As an initial matter, this Court's August 27, 2009 opinion
                                                                 party's claim or defense.” Fed.R.Civ.P. 26(b)(1). The matter
and order renders the government's request for a stay
                                                                 sought need not be admissible at trial; instead, it need only
of Magistrate Judge Mazjoub's order and this Court's
                                                                 appear “reasonably calculated to lead to the discovery of
consideration of that order moot. As the Court concluded in
                                                                 admissible evidence.” Id.
that decision:



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 *2 Second, the case law cited by the magistrate judge                   by affidavit or other reliable evidence.’ “ Id. (quoting Burton
and Ford indicate that, at least in tax cases, the documents             Mech. Contractors, Inc. v. Foreman, 148 F.R.D. 230, 233
Ford seeks are relevant and discoverable even though                     (N.D.Ind.1992)). As the Third Circuit Court of Appeals has
they are otherwise publicly available and only may shed                  explained:
light on a legal issue-specifically the IRS' interpretation
                                                                           [T]he mere statement by a party that the interrogatory
of the statutory and regulatory scheme for overpayment
                                                                           was “overly broad, burdensome, oppressive and irrelevant”
interest. See, e.g., Ford Motor Co. v. United States, 84 Fed.
                                                                           is not adequate to voice a successful objection to an
Cl. 168 (2008) (rejecting the government's request for a
                                                                           interrogatory. On the contrary, the party resisting discovery
protective order with respect to discovery of all documents
                                                                           “must show specifically how ... each interrogatory is not
relating to particular revenue rulings, finding that “documents
                                                                           relevant or how each question is overly broad, burdensome
illuminating the IRS' own assessment of these rulings are
                                                                           or oppressive.”
relevant for discovery purposes”);        Jade Trading LLC v.
United States, 65 Fed. Cl. 487, 492 (2005) (granting the                    Josephs v. Harris Corp., 677 F.2d 985, 992 (1982)
plaintiffs' motion to compel discovery of documents relating             (quoting Roesberg v. Johns–Manville Corp., 85 F.R.D. 292,
to the promulgation of a Treasury Regulation and the IRS'                296–97 (E.D.Pa.1980)).
internal interpretation of a term, reasoning that documents
“relating to IRS' construction of [the statutory term at issue]          For the above reasons, this Court concludes that Magistrate
would potentially be relevant to the extent they embody the              Judge Mazjoub's July 21, 2009 opinion and order granting in
IRS' interpretation of this term at any point in time pertinent to       part Ford's motion to compel discovery is not contrary to law.
this action”);   Marriott Int'l Resorts, L.P. v. United States,
61 Fed. Cl. 411 (2004) (same). As the Federal Claims Court               *3 Accordingly,
reasoned in Jade Trading:
                                                                         IT IS ORDERED, that the government's request for a
  The Marriott Court found that documents relating to IRS'               stay of Magistrate Judge Majzoub's July 21, 2009 discovery
  ongoing consideration and interpretation of a revenue                  order and this Court's review of the order are DENIED AS
  ruling were relevant to the issue of whether the IRS had               MOOT and the government's objections to Magistrate Judge
  abandoned a longstanding interpretation of [the relevant               Majzoub's July 21, 2009 opinion and order are DENIED;
  statute], recognizing that ‘conflicting interpretations of
  the law might constitute an important framework for the                IT IS FURTHER ORDERED, that the government must
  matters at issue.’ “                                                   supplement its discovery responses as set forth in Magistrate
                                                                         Judge Majzoub's July 21, 2009 order on or before twenty-one
    65 Fed. Cl. at 493 (quoting      Marriott Int'l, 61 Fed. Cl.         (21) days from the date of this Opinion and Order;
at 416).
                                                                         IT IS FURTHER ORDERED, that Ford's response to the
Magistrate Judge Majzoub's rejection of the government's                 government's pending motion for judgment on the pleadings
general assertion that producing the requested documents                 must be filed within twenty-one (21) days of its receipt of the
would be unduly burdensome, also is not contrary to law. A               government's supplemented discovery responses.
party opposing discovery requests must assert the ground for
its opposition with specificity. See Powerhouse Marks, LLC
                                                                         All Citations
v. Chi Hsin Impex, Inc., No. 04–73923, 2005 WL83477, at
*2 (E.D.Mich. Jan. 12, 2006). “ ‘An objecting party must                 Not Reported in F.Supp.2d, 2009 WL 2922875, 104
specifically establish the nature of any alleged burden, usually         A.F.T.R.2d 2009-6352

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Huguley v. General Motors Corp., Not Reported in F.Supp. (1991)
1991 WL 88413, 55 Fair Empl.Prac.Cas. (BNA) 777

                                                                   Plaintiffs' present counsel entered their appearance on May
                                                                   24, 1985.
                    1991 WL 88413
            United States District Court, E.D.
                                                                   During the course of his representation Williams collected
             Michigan, Southern Division.
                                                                   $29,750 1 from his clients. 2 At the time of withdrawal
   Dennis Hazen HUGULEY, Larry Kitchen, James                      Williams refused to return his clients' files claiming that
    E. Kennedy and Larry Dodson, for themselves                    his clients had failed to reimburse him completely for costs
    and for all others similarly involved, Plaintiffs,             advanced. After a series of hearings in April of 1985,
                            v.                                     I ordered Williams to release plaintiffs' files and granted
  GENERAL MOTORS CORPORATION, Defendant.                           Williams a lien against any future recovery by plaintiffs to
                                                                   secure payments of costs and attorney fees, if merited, 3
                     Civ. A. No. 83–2864.                          under the applicable civil rights statutes. See Order, May
                               |                                   21, 1985. As part of the settlement process, General Motors
                         May 26, 1991.                             filed a motion to extinguish the lien. The hearing on this
                                                                   motion was adjourned to provide Williams an opportunity
                                                                   to document properly the time he expended on this case.
         MEMORANDUM OPINION AND ORDER                              On February 28, 1989 Williams, along with two associates,
                                                                   Hammonds and Renwick, filed a document entitled “Costs
FEIKENS, District Judge.                                           and Billings Combined as to Attorneys Williams, Hammonds
                                                                   and Renwick” (fee schedule). At a hearing on March 30,
 *1 Before me is the petition for attorney fees of Clifford
                                                                   1989 Williams, Hammonds and Renwick agreed to stand on
R. Williams, Charles Hammonds and Niven Renwick
                                                                   their written submissions which consist principally of the fee
(petitioners), former counsel to the plaintiff class. I find the
                                                                   schedule.
documentation provided to be totally inadequate. Therefore,
former counsel's application for attorney fees and costs is
denied entirely.
                                                                                                 II.

                                                                   Fee Schedule
                               I.                                  Petitioners' fee schedule is disorganized, confusing and, at
                                                                   points, incomprehensible. Moreover the fee schedule does not
Background
                                                                   appear to be based on contemporaneous records but rather on
This suit was originally filed by Laras Eason on July 15,
                                                                   reconstructed records which are inaccurate. Petitioners have a
1983 as a class action pursuant to Title VII of the Civil
                                                                   duty to maintain accurate records and to submit “reasonable,
Rights Act of 1964, as amended, 42 U.S.C. § 2000 et
                                                                   carefully calculated, and conscientiously measured claims
seq., and the Civil Rights Act of 1866, 42 U.S.C. § 1981
                                                                   when seeking statutory counsel fees.” Brown v. Stackler, 612
et seq. The complaint alleges that General Motors' job
                                                                   F.2d 1057 (CA 7 1980). As set forth in greater detail below,
performance appraisal system discriminates against its black
                                                                   petitioners have breached this duty and for that reason I deny
salaried employees. I certified a class consisting of all black
                                                                   their fee request in its entirety. See Vocca v. Playboy Hotel of
employees of General Motors in Indiana, Michigan and Ohio
                                                                   Chicago, Inc., 686 F.2d 605 (CA 7 1982).
who were subject between October 8, 1982 and September
25, 1986 to General Motors' appraisal system for salaried
                                                                    *2 I have identified six categories of defects in the fee
employees. I have preliminarily approved a proposed consent
                                                                   schedule: (1) no basis is provided for the hourly rate charged
decree resolving the claims against General Motors. See
                                                                   by petitioners; (2) time is double, triple and even quadruple
Order, February 3, 1989.
                                                                   billed; (3) services performed are not sufficiently itemized;
                                                                   (4) time is billed for services performed for parties other
Plaintiffs were originally represented by Clifford Williams.
                                                                   than plaintiffs; (5) compensation is sought for unnecessary or
He served as counsel from July 15, 1983 until December
                                                                   non-compensable services; and (6) excessive time is spent on
1984. At that time Williams sought to withdraw from the
                                                                   compensable activity.
case citing a breakdown in the attorney-client relationship.



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                                                                   than a willful attempt to mislead; nonetheless they undermine
                                                                   the credibility of petitioners' entire fee request.
                              III.

A. No Basis For Hourly Rate
                                                                   C. Services Performed Not Sufficiently Itemized
The starting point for determining a reasonable attorney fee is
                                                                    *3 Petitioners' submission is filled with instances of what
multiplying the number of hours documented by petitioners
                                                                   defendant has aptly termed “lumping” activities together.
by a reasonable hourly rate. Hensley v. Eckerhart, 461 U.S.
                                                                   In item 1(a) petitioners bill forty hours for interviews with
424 (1983). A reasonable hourly rate is determined by the
                                                                   potential plaintiffs conducted over a six-month period and for
prevailing market rate; that is, “the customary fee for similar
                                                                   the filing of the original lawsuit in this case. No breakdown
work in the community.” Blum v. Stenson, 465 U.S. 886, 894
                                                                   is given as to interviewees, how long each interview took,
n. 9, 896 n. 11 (1983). The burden, however, is on petitioners
                                                                   and how much time was spent on the interviews as opposed
to justify the reasonableness of the requested rates. Id. at 896
                                                                   to preparing the complaint. Item 16 lists ten hours for thirty
n. 11. Petitioners have defaulted completely in this respect.
                                                                   telephone calls to a Mr. Freeman at the Equal Employment
                                                                   Opportunity Commission. Nothing is said about the purpose
The fee schedule does not expressly indicate the hourly rate
                                                                   of these calls. No telephone bills for these calls are attached.
charged. One can only discern the hourly rate by dividing
                                                                   Items 6, 9, 11, 40 and 99 also suffer from a lack of specificity.
the total fee request by the number of hours billed. The rate
structured is $175 per hour. Petitioners have not submitted
any evidence, not even by their own affidavits, justifying this    D. Services Performed For Other Clients
rate for themselves, much less for their secretary whose time      Items 22, 51, 86, 91, 92 and 104 bill time spent on Eason's
also appears to be billed at this rate. 4 Petitioners' claim for   state court lawsuit. Eason was the original plaintiff in this
attorney fees fails at its inception. Vocca, 686 F.2d at 607.      lawsuit. Eason was dismissed as a named plaintiff on January
                                                                   4, 1984 and, it appears, that at approximately the same time,
                                                                   Eason lost his job at General Motors. Petitioners now bill
B. Double, Triple and Quadruple Billing                            for time spent representing Eason before both the Michigan
Petitioners bill two, three, perhaps even four times, for hours    Employment Security Commission and in the Michigan
spent by Renwick on the deposition of plaintiff Dennis             courts. Petitioners may bill only for work on this case and not
Huguley. Item 74 of the fee schedule bills eight hours             for efforts expended to solve the non-related legal difficulties
for Renwick's attendance at Huguley's January 16, 1984             of members of the class.
deposition. Item 100 bills a second time for these same eight
hours. Item 9 bills forty hours for preparation and attendance     Items 14, 15, 33, 41, 42, 48, 54, 72, 73, 95 and 105
at the depositions of four persons: (i) Barbara Simmons; (ii)      seek payment for time spent attending meetings of the Pro
Laras Eason; (iii) Larry Kitchen; and (iv) Dennis Huguley.         Minority Action Committee (PMAC), a political support and
It purports to represent the time of Williams, Renwick and         fundraising organization for minorities fighting employment
Hammonds combined. Petitioners have triple billed this time        discrimination. Time spent on PMAC affairs is non-
because some fraction of item 9 purports to bill time for          compensable. Although there may be a degree of overlap
Renwick's attendance at the Huguley deposition. Item 40,           between the PMAC membership and the class membership,
entitled “List of Depositions,” bills another sixty hours for      and thus PMAC meetings may have presented a convenient
the depositions of seven persons, including the Huguley            way to communicate with class members during the course
deposition conducted on January 16, 1984. Item 40 does not         of this litigation, I distinguish between reasonably necessary
identify the petitioner whose time is being billed. This may       time spent advancing this litigation and time spent organizing
be a quadruple billing.                                            PMAC and generating community support for its causes.
                                                                   See Riddell v. National Democratic Party, 712 F.2d 165
Petitioners also bill three times for preparation and attendance   (CA 5 1983). Items 33, 41, 42, 48, 54 and 73 appear
at the deposition of Laras Eason. See Fee Schedule: Items          related to the organization and maintenance of PMAC. It is
9, 18 and 40. Petitioners double bill for preparation and          impossible to determine from the fee schedule whether other
attendance at the deposition of Larry Kitchen. See Fee             PMAC activities relate to this litigation. Therefore, I disallow
Schedule: Items 9, 40(i). It may well be that these billing        attorney fees for all PMAC-related items.
mistakes were caused by inattention and carelessness rather



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                                                                     3
Finally, there are a number of items which are                               Petitioners' entitlement to attorney fees is
                         5
either noncompensable, such as item 57 which seeks                           questionable. Presumably petitioners move under
reimbursement of $2.47 for motor oil, or for which petitioners               42 U.S.C.A. § 2000e–5(k) (West 1988) and
have sought excessive compensation, such as item 44 which                    42 U.S.C.A. § 1988 (West 1988) for attorney
bills six hours of attorney time for printing computer records               fees available to “prevailing parties.” Perhaps
of their attorney fees. I disallow these as well.                            they also move for attorney fees pursuant to
                                                                             the contingency fee arrangement. The rule with
                                                                             respect to contingency fee arrangements is that the
                                                                             withdrawing attorney is entitled to a recovery in
                             IV.                                             quantum meruit only where withdrawal is for good
                                                                             cause. Ambrose v. Detroit Edison, 65 Mich.App.
For the foregoing reasons, petitioners' request for attorney
                                                                             484, 237 N.W.2d 520, 88 A.L.R.3d 239 (1976).
fees is DENIED, and petitioners' lien on attorney fees to be
                                                                             Rather than determine whether petitioners had
paid by General Motors pursuant to any consent judgment in
                                                                             good cause to withdraw, I will assume for purposes
this case is EXTINGUISHED.
                                                                             of this opinion that petitioners are entitled to
                                                                             attorney fees provided that the extent of their
IT IS SO ORDERED.
                                                                             entitlement is properly documented.
1                                                                    4
       This amount was reduced by $3,062.50 for                              I conclude that petitioners have billed secretarial
       deposition costs which I ordered Williams to                          time at the attorney rate because the fee schedule
       pay directly. See Order, May 21, 1985. At the                         does not indicate a separate rate for secretarial time
       February 28, 1989 hearing on petitioners' fee                         and because secretarial time is included in the 745.1
       request, Williams claimed that he was entitled to                     “attorney hours” requested in the schedule. See Fee
       reimbursement for this amount. My May 21, 1985                        Schedule, Item 99 (twenty-two hours of secretarial
       Order indicates that Williams is not so entitled.                     time undifferentiated from attorney time).
2                                                                    5
       It appears that the dispute between petitioners and                   See Opposition of General Motors Corporation
       their clients centered on petitioners' demands for                    to the Request for Approval [sic] Attorneys' Fees
       payment. Plaintiffs, either correctly or incorrectly,                 Filed By Clifford R. Williams, Charles Hammonds
       were under the impression that they would owe no                      and Niven Renwick (Opposition), March 13,
       money to petitioners until the lawsuit had come to                    1989, at 16. See also “Appendix of Other
       a successful conclusion. I note that contrary to the                  Examples” (attached to Opposition).
       Local Rules of this Court, see Rule A–4(b), and the
       Michigan Rules of Professional Conduct, see Rule              All Citations
       1.5(c), the contingency fee arrangement in this case
       was not set forth in writing. Perhaps if petitioners          Not Reported in F.Supp., 1991 WL 88413, 55 Fair
       had seen the wisdom of Rule 1.5(c) and complied               Empl.Prac.Cas. (BNA) 777
       with their professional duty, the necessity of their
       withdrawal from this case could have been avoided.


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                                                               Center for Military Readiness, which Plaintiffs contend are
                                                               relevant to their underlying claims. Specifically, Plaintiffs
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                                                               seek documents and communications between CMR and
    Only the Westlaw citation is currently available.
                                                               government officials related to the Ban. CMR refuses
           United States District Court, E.D.
                                                               to voluntarily produce responsive documents to Plaintiffs,
             Michigan, Southern Division.
                                                               which resulted in this discovery dispute.
             IN RE Subpoena of CENTER
            FOR MILITARY READINESS                             1      The policy is sometimes referred to by the parties
   Underlying case: Ryan Karnoski, et al., Plaintiffs,                as the “Ban.”
                           v.                                  Pending before the Court is the Magistrate Judge's Report
      Donald J. Trump, in his official capacity as             and Recommendation granting in part and denying in part
   President of the United States, et al., Defendants.         Plaintiffs' motion to compel and granting in part and denying
                                                               in part CMR's motion for a protective order. (ECF No. 34.)
                  Misc. Case No. 18-51013                      The Magistrate Judge recommends the Court order CMR to
                             |                                 comply with Plaintiffs' subpoena, but that the Court narrow
                   Signed 09/28/2019                           the time scope of the subpoena to documents dated June
                                                               16, 2015 through March 23, 2018 and narrow the scope of
United States District Court Western District of Washington
                                                               individuals covered by the subpoena.
Civil Action No.: 2:17-cv-01297-MJP

Attorneys and Law Firms                                        CMR and the Government raise several objections to the
                                                               R&R. Plaintiffs oppose their objections. After reviewing
Jordan M. Heinz, Vanessa A. Barsanti, Kirkland & Ellis LLP,    the parties' initial briefing, the Court took the R&R and
Chicago, IL, Kyle A. Palazzolo, Salvatore Prescott & Porter,   the objections under advisement pending the Ninth Circuit's
PLLC, Evanston, IL, for Plaintiffs.                            resolution of potentially related discovery matters in the
                                                               underlying lawsuit. On June 14, 2019, the Ninth Circuit
Ashley Cheung, Matthew Skurnik, U.S. Department of
                                                               issued its opinion in Karnoski v. Trump, 926 F.3d 1180 (9th
Justice, Washington, DC, for Defendants.
                                                               Cir. 2019). Thereafter, the parties submitted supplemental
                                                               briefing addressing the Ninth Circuit's opinion as it relates
                                                               to this nonparty discovery dispute. Having now reviewed
    ORDER ACCEPTING AND ADOPTING THE                           the complete record in this matter, including the parties'
       MAGISTRATE JUDGE'S REPORT AND                           supplemental submissions, and for the reasons set forth
    RECOMMENDATION GRANTING IN PART                            below, the Court OVERRULES CMR's objections and the
       AND DENYING IN PART PLAINTIFFS'                         Government's objections, ACCEPTS and ADOPTS the
    MOTION TO COMPEL [1] AND GRANTING                          Magistrate Judge's R&R, GRANTS IN PART and DENIES
   IN PART AND DENYING IN PART NONPARTY                        IN PART Plaintiffs' motion to compel, and GRANTS IN
      CENTER FOR MILITARY READINESS'S                          PART and DENIES IN PART CMR's motion for a protective
     MOTION FOR PROTECTIVE ORDER [10]                          order.
Nancy G. Edmunds, United States District Judge
                                                                 I. Standard of Review
 *1 This is a nonparty discovery dispute arising out
                                                               The parties dispute the applicable standard of review. Under
of Karnoski, et al., v. Trump et al., Case No 2:17-
                                                               Federal Rule of Civil Procedure 72, a district court reviewing
cv-01297, which is currently pending in the United States
                                                               objections to an order issued on a non-dispositive matter that
District Court for the Western District of Washington.
                                                               was referred to a magistrate judge may “modify or set aside
In the underlying case, Plaintiffs are challenging the
                                                               any part of the order that is clearly erroneous or contrary to
Trump administration's allegedly unconstitutional policies
                                                               law.” See Fed. R. Civ. P. 72(a); 28 U.S.C. § 636(b)(1)(A). In
of prohibiting or disqualifying transgender individuals from
                                                               contrast, when considering objections to an order issued by
serving in the United States military. 1 In this Court,        a magistrate judge on a dispositive motion, the district court
Plaintiffs are seeking documents from a nonparty, the          must conduct a de novo review of the objected to portions of


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the magistrate judge's report and recommendation. See Fed.        The Court finds some merit to CMR's and the Government's
R. Civ. P. 72(b); 28 U.S.C. § 636(b).                             interpretation of Rule 72 as it relates to nonparty discovery
                                                                  motions. But their position also raises some concerns. First,
 *2 Discovery disputes between parties are typically              the Court referred the motion to the Magistrate Judge under
considered non-dispositive and a magistrate judge's order on      28 U.S.C. § 636(b)(1)(A), which applies to non-dispositive
a motion to compel is typically reviewed by the district court    motions. Yet, neither CMR nor the Government objected to
under the clearly erroneous standard. See Brown v. Wesley's       the referral order. Second, a motion to compel is a non-
Quaker Maid, Inc., 771 F.2d 952, 954 (6th Cir. 1985) (stating     dispositive motion under the Local Rules for the Eastern
that discovery motions are non-dispositive pretrial motions       District of Michigan, though there is an argument that
reviewed under the clearly erroneous standard). CMR and           the Local Rules may not contemplate nonparty discovery
the Government contend, however, that Plaintiffs' motion to       proceedings under Rule 45 in defining “dispositive”
compel should be considered a dispositive motion because the      and “non-dispositive” motions. Finally, there are several
dispute over this nonparty subpoena constitutes the “entire       examples within the Sixth Circuit and elsewhere of courts
proceeding before this Court.” 2 In other words, resolution       treating motions to compel a nonparty's compliance with a
of the motion to compel is dispositive of CMR's role in           Rule 45 subpoena as non-dispositive motions. 4 See State
the case, and this Court's role in this case, and therefore       Farm Mut. Auto. Ins. Co. v. Pointe Physical Therapy, LLC,
the motion should be treated as a dispositive motion. CMR         No. 14-CV-11700, 2017 WL 5664183, at *1 (E.D. Mich.
and the Government point to one unpublished opinion from          Nov. 27, 2017) (applying clearly erroneous standard to a
the Eastern District of Michigan 3 and a few unpublished          magistrate judge's order compelling a nonparty's compliance
opinions from other district courts around the Sixth Circuit to   with discovery subpoena); Anwalt Energy Holdings, LLC
support their position. In addition, the Government notes that    v. Falor Companies, Inc., No. 2:06-CV-0955, 2008 WL
the Magistrate Judge issued a “report and recommendation,”        2268316, at *1 (S.D. Ohio June 2, 2008) (applying clearly
not an “order and opinion.”                                       erroneous standard to magistrate judge's ruling on a motion
                                                                  to compel compliance with a nonparty subpoena); NetJets
2                                                                 Aviation, Inc. v. NetJets Assocition of Shared Aircraft Pilots,
       CMR and the Government raise this argument for
                                                                  No. 2:17-MC-038, 2017 WL 6497104, at *1 (S.D. Ohio Dec.
       the first time in their reply briefs in support of their
                                                                  19, 2017) (same); 3B Med., Inc. v. Resmed Corp., No. 16-
       objections to the R&R.
                                                                  CV-2050-AJB-JMA, 2016 WL 6818953, at *2 (S.D. Cal. Oct.
3                                                                 11, 2016) (finding that motion to compel compliance with
       In Luppino v. Mercedes-Benz Fin. Servs. USA,
       LLC, No. 13-50212, 2013 WL 1844075, at                     a subpoena is a non-dispositive motion). See also Jordan v.
       *3 (E.D. Mich. Apr. 11, 2013), report and                  Comm'r, Mississippi Dep't of Corr., 908 F.3d 1259, 1264 (11th
       recommendation adopted, No. 13-50212, 2013                 Cir. 2018) (finding that a nonparty's motion to quash a Rule 45
       WL 1844073 (E.D. Mich. Apr. 30, 2013), then-               subpoena was a non-dispositive pretrial motion, concluding
       Magistrate Judge Michaelson recommended that a             that the clearly erroneous standard applied to the district
       motion to enforce a subpoena against a nonparty be         court's review, and rejecting arguments similar to those made
       treated as a dispositive motion, and Judge Lawson          by CMR and the Government here).
       accepted this recommendation without objection
       from either party. In reaching this conclusion,            4
                                                                         This includes cases extensively cited by CMR. See,
       Judge Michaelson relied on an unpublished opinion                 e.g., Tesla Motors, Inc. v. Johnson, et al., Case No.
       from the Northern District of Illinois, which relied              16-cv-01158, ECF No. 200 (W.D. Michigan, June
       on cases discussing administrative law subpoenas,                 06, 2018).
       not subpoenas issued under Federal Rule of Civil
                                                                   *3 The Sixth Circuit has not expressly addressed this issue.
       Procedure 45. See Hartford Fire Ins. Co. v.
                                                                  In an abundance of caution, the Court will apply the higher
       Transgroup Exp., Inc., No. 09 C 3473, 2009 WL
       2916832, at *1 (N.D. Ill. Sept. 1, 2009). The              standard of review applicable to dispositive motions. 5 This
       Court is not aware of any published opinion from           means the Court performs a de novo review of those portions
       a district court in this Circuit taking this same          of the Magistrate Judge's R&R to which the CMR and the
       approach in connection with a Rule 45 subpoena.            Government have objected. See Fed. R. Civ. P. 72(b); 28
                                                                  U.S.C. § 636(b). The Court need not and does not perform a



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de novo review of the R&R's unobjected-to findings. Thomas         communicated with Government decisionmakers about the
v. Arn, 474 U.S. 140, 150 (1985). Moreover, an objection           transgender policy, that those communications may have
that “does nothing more than state a disagreement with a           conveyed animus to those decisionmakers, and that such
magistrate's suggested resolution, or simply summarizes what       communications may make it more probable that the Ban was
has been presented before, is not an ‘objection’ as that term is   influenced by discriminatory intent or animus.
used in this context.” Aldrich v. Bock, 327 F. Supp. 2d. 743,
747 (E.D. Mich. 2004).                                             Plaintiffs were not required to affirmatively prove that
                                                                   CMR harbored animus towards transgender individuals or
5                                                                  that CMR's alleged animus was in fact communicated to
        Because the Court ultimately finds no error in
                                                                   Government decision makers. The purpose of the discovery
        the Magistrate Judge's R&R under the de novo
                                                                   process is, at least in part, to determine whether there is merit
        standard of review, any prejudice to Plaintiffs
                                                                   to Plaintiffs' allegations. Under CMR's view of relevancy, all
        in applying this higher standard is harmless.
                                                                   litigants would be required to prove the essential elements of
        However, the Court notes that it would also
                                                                   their claims before pursuing discovery to obtain the evidence
        overrule CMR's and the Government's objections
                                                                   they need to prove their claims. Such a circular standard is
        under the clearly erroneous and contrary to law
                                                                   not supported by the Federal Rules of Civil Procedure and
        standard.
                                                                   conflicts with the very purpose of discovery. Indeed, CMR's
                                                                   documents and communications will be equally relevant to
    II. Analysis
                                                                   this dispute if it turns out that CMR does not harbor animus
    A. CMR's Objection No. 1: Whether the Magistrate               towards transgender individuals or did not communicate such
    Judge misapplied the scope of permissible discovery.           alleged animus to government decision makers. CMR's first
                                                                   objection is overruled.
   1. Relevance objections
CMR objects to the Magistrate Judge's finding that the
documents and communications sought by Plaintiffs are               *4 Relevance Objection Part 1(a)(2): Whether
relevant to the underlying dispute. CMR's relevance objection      CMR's communications are relevant when CMR is not
includes several subparts, each of which is addressed below.       mentioned in Plaintiffs' complaint.
                                                                   CMR next argues that the Magistrate Judge erred in finding
                                                                   the requested discovery is relevant because CMR is not
Relevance Objection Part 1(a)(1): Whether the                      mentioned in Plaintiffs' complaint. In other words, according
Magistrate Judge misapplied the relevance standard.                to CMR, a nonparty must be mentioned in the complaint to
According to CMR, Plaintiffs were required to prove as a           obtain discovery from that nonparty. The Court is not aware
prerequisite to obtaining their requested discovery that CMR's     of any rule or authority that requires a party to name every
policy positions and communications about the transgender          potential witness or potential source of relevant information
policy with the Trump administration were grounded in              in its complaint. And the cases cited by CMR do not support
animus. CMR argues that “the absence of any finding in the         its position. This objection is overruled.
R&R that CMR's policy positions are grounded in animus
eliminates any logical connection between CMR's state of
mind and the allegedly biased state of mind of President           Relevance Objection Part 1(a)(3): Whether the R&R
Trump when he changed the policy.” (ECF No. 39 at 8.) The          misreads Trump v. Hawaii as it applies to the relevance of
Court disagrees.                                                   CMR's communications.
                                                                   The Magistrate Judge rejected CMR's argument that the
Relevant evidence is evidence having any tendency to make          holding of Trump v. Hawaii,138 S. Ct. 2392 (2018) deems
the existence of any fact that is of consequence to the            extrinsic evidence of animus irrelevant to Plaintiffs' claims.
determination of the action more probable or less probable         CMR argues the Magistrate Judge erred because the Supreme
than it would be without the evidence. Fed. R. Evid. 401.          Court in Hawaii only found extrinsic evidence could be
As the Magistrate Judge found, Plaintiffs satisfied their          considered because the Government conceded extrinsic
relatively low burden to establish that the discovery they         evidence may be relevant to that specific case. According
seek from CMR is relevant to their claims. Plaintiffs met          to CMR, because the Government has not made the same
Rule 26's standard for discovery by demonstrating that CMR         concession here, the Magistrate Judge had no basis to find


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that documents and communications in CMR's possession are
relevant to Plaintiffs' claims.
                                                                     2. Proportionality Objections
The Court finds no support for CMR's interpretation of              *5 CMR objects to the Magistrate Judge's proportionality
Hawaii or its application to this case. Addressing whether         analysis and her finding that producing the documents and
extrinsic evidence could be considered under the higher            communications sought by Plaintiffs would not pose an undue
deferential standard, the Court stated:                            burden on CMR. CMR's proportionality objection includes
                                                                   several subparts, each of which is addressed below.


             For our purposes today, we assume                     Proportionality Objection Part 1(b)(1): Whether the
             that we may look behind the face                      Magistrate Judge erred in finding the importance of the
             of the Proclamation to the extent of                  issues at stake in the litigation favored discovery.
             applying rational basis review. That                  The Magistrate Judge found that the “issues at stake” factor
             standard of review considers whether                  weighed in favor of allowing the discovery. CMR argues
             the entry policy is plausibly related                 that this was error for two reasons. First, CMR claims
             to the Government's stated objective                  the Magistrate Judge incorrectly relied on unsubstantiated
             to protect the country and improve                    statistics in concluding that the outcome of this litigation
             vetting processes. See Railroad                       could impact thousands of individuals. Second, CMR
             Retirement Bd. v. Fritz, 449 U.S. 166,                contends the Magistrate Judge overlooks the fact that the
             179, 101 S.Ct. 453, 66 L.Ed.2d 368                    underlying action is not a class action—the implication being
             (1980). As a result, we may consider                  that because Plaintiffs do not assert class action claims, the
             plaintiffs' extrinsic evidence, but will              litigation is only important to the named Plaintiffs.
             uphold the policy so long as it can
             reasonably be understood to result                    CMR's objections are without merit. As the Magistrate Judge
             from a justification independent of                   points out, the issues in this lawsuit are important even if
             unconstitutional grounds.                             they vindicate the constitutional rights of only one person.
                                                                   Moreover, the underlying litigation does not need to be a class
                                                                   action to affect others beyond the named Plaintiffs. Plaintiffs
Trump v. Hawaii, 138 S. Ct. 2392, 2420 (2018). The Court's         are challenging the constitutionality of the Ban on its face.
discussion of the role of extrinsic evidence is consistent with    The outcome of this litigation could affect tens, or hundreds,
the Sixth Circuit's reliance on extrinsic evidence in evaluating   or thousands, or whatever the number may be, of individuals
claims under a rational-basis review. See, e.g., Davis v. Prison   whose constitutional rights have allegedly been violated. The
Health Servs., 679 F.3d 433, 438 (6th Cir. 2012) (“Under this      Court agrees with the Magistrate Judge that this factor weighs
test, a “ ‘plaintiff may demonstrate that the government action    in favor of production.
lacks a rational basis ... either by negating every conceivable
basis which might support the government action, or by
demonstrating that the challenged government action was            Proportionality Objection Part 1(b)(2): Whether the
motivated by animus or ill-will.”).                                Magistrate Judge erred in finding the importance of the
                                                                   relative access to the information favored production.
Here, as the Magistrate Judge found, Plaintiffs are entitled       CMR argues the Magistrate Judge erred in finding this
to discovery into whether the Ban was motived by                   factor weighed in favor of production because Plaintiffs can
discriminatory intent, animus, or ill-will under either a strict   obtain this same information from an additional source—the
scrutiny, rational basis, or deferential review. And while the     Government. The Court disagrees. As the Magistrate Judge
Court agrees with CMR that a party may not be entitled to          found, both CMR and the Government are attempting to
“wide-ranging” discovery into potential extrinsic evidence         avoid their discovery obligations by pointing to each other
of discriminatory animus under a rational basis review, the        as the party responsible for producing responsive documents.
Court finds Plaintiffs' subpoena and discovery requests are        Moreover, as discussed further infra, requiring CMR to
sufficiently narrow as modified by the Magistrate Judge.           produce its own communications and documents is consistent
CMR's objection is overruled.                                      with the objective of limiting the burden of discovery on



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the Executive Branch. CMR is in possession of responsive         Magistrate Judge as CMR wholly refuses to produce any
and relevant documents. Plaintiffs are not. The Magistrate       documents or information. Finally, any confidential or private
Judge correctly found that this factor weighed in favor of       information is protected from improper use or disclosure by
production.                                                      the protective order entered in the underlying litigation. The
                                                                 Magistrate Judge correctly concluded that this factor weighed
                                                                 in favor of production or was at least neutral.
Proportionality Objection Part 1(b)(3): Whether the
Magistrate Judge erred in finding the burden and
expense of discovery favored production.                         Proportionality Objection Part 1(b)(5): Whether the
The Magistrate Judge concluded that this factor weighed          Magistrate Judge erred in failing to expressly consider:
in favor of production because Plaintiffs agreed to bear         the parties resources, the importance of the discovery in
all of CMR's expenses with no cap. CMR argues that               resolving issues in the case, and CMR's nonparty status.
this is an insufficient basis for evaluating the burden and      CMR argues that the Magistrate Judge erred by failing
expense factor because the R&R did not specifically order        to consider some of the additional factors courts typically
Plaintiffs to pay CMR's expenses or set out a definitive         consider in analyzing the proportionality and scope of
payment plan, and because there are other burdens to CMR         requested discovery. Specifically, CMR claims the Magistrate
beyond the financial expenses associated with responding         Judge failed to consider (1) the parties' resources, (2) the
to the discovery requests. This objection is overruled. As       importance of the discovery in resolving the issues in the
Plaintiffs correctly point out, CMR cannot insist that it has    case, and (3) CMR's nonparty status. This objection is without
no responsive and relevant documents in its possession and       merit. While the Magistrate Judge may not have expressly
then complain that the burden of responding to the requested     analyzed each of these factors in the “proportionality” section
discovery is too large. Based on the record before the Court,    under separate subheadings, she addressed these factors in
there are two possible outcomes here: (1) CMR finds few          other ways throughout the R&R. For example, the Magistrate
or no responsive documents in its possession and therefore       Judge found that Plaintiffs agreed to pay the expense of
suffers minimal expense in responding to the subpoena, or (2)    responding to the subpoena. There was no need for the
CMR is in possession of responsive documents and Plaintiffs      Magistrate Judge to further elaborate on the parties' resources
will bear the costs of CMR's production of those documents.      factor because Plaintiffs' agreement to pay CMR's costs
Either way, the discovery burden on CMR will be minimal.         rendered this factor neutral. The Magistrate Judge's analysis
That CMR's sole employee must expend time responding             of the relative access to the information also considered
to the subpoena to the detriment of her primary work             CMR's nonparty status. And the Magistrate Judge found that
functions does not render the subpoena overly burdensome or      CMR should have to respond to the subpoena notwithstanding
disproportional. All discovery subpoenas require nonparties      its nonparty status.
to respond to discovery requests using time that would
otherwise be spent performing other tasks. The Magistrate        The same is true of the importance of the discovery factor.
Judge correctly concluded that this factor weighed in favor of   The Magistrate Judge spent considerable time addressing the
production.                                                      importance of the discovery in connection with both CMR's
                                                                 and the Government's relevance objections. Any failure of
                                                                 the Magistrate Judge to expressly discuss the importance of
 *6 Proportionality Objection Part 1(b)(4): Whether the          the requested communications in the proportionality section
Magistrate Judge erred in finding the impact on other            of the R&R was harmless. Furthermore, CMR fails to
nonparties favored production.                                   demonstrate that additional analysis of these factors would tip
CMR argues the Magistrate Judge failed to adequately             the proportionality scales in its favor. The Court finds no error
consider the privacy rights and expectations of CMR's            in the Magistrate Judge's proportionality analysis and CMR's
correspondents. The Court finds no merit in this objection.      objections are overruled.
As Plaintiffs note, communications passing along stories of
the personal experiences of CMR's correspondents would
not be responsive to the subpoena. Moreover, as Plaintiffs         B. CMR's Objection No. 2: Whether the Magistrate
acknowledge, personal or sensitive information can be              Judge erred in finding that Plaintiffs' requested
protected through redactions. But the issue of redacting or        discovery does not violate CMR's First Amendment
protecting personal or private information was not before the      rights.


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 *7 CMR claims the Magistrate Judge erred by not applying                 Randolph Inst. v. Larose, 761 F. App'x 506, 515
a two-step framework for analyzing whether Plaintiffs'                    (6th Cir. 2019).
discovery requests infringe CMR's First Amendment rights.
                                                                  As a final point, the Court will address CMR's arguments
According to CMR, the Magistrate Judge was required
                                                                  regarding the Magistrate Judge's alleged failure to consider
to consider whether CMR demonstrated an objectively
                                                                  Tesla Motors, Inc. v. Johnson, et al., 2017 WL 2875203
reasonable probability that disclosure of the requested
                                                                  (W.D. Mich. May 22, 2017). In its objection, CMR represents
communications would chill its First Amendment rights,
                                                                  to this Court that the court in Tesla Motors squashed
i.e. that disclosure of the materials would deter CMR's
                                                                  a nonparty subpoena and “denied discovery of a non-
membership or participation in the political process
                                                                  party lobbyist's communications with legislators concerning
due to fears of threats, harassment or reprisal from
                                                                  pending litigation because ‘disclosure would have an
either government officials or private parties which may
                                                                  impermissible chilling effect’ on the non-party's ability to
affect members' physical well-being, political activities, or
                                                                  participate in the political process.” (See ECF No. 39 at
economic interests. See In re Motor Fuel Temperature Sales
                                                                  26-27; ECF No. 48 at 5.) CMR contends the Magistrate
Practices Litig., 707 F. Supp. 2d 1145, 1158 (D. Kan. 2010).
                                                                  Judge erred by failing to consider this authority and claims
Then, assuming CMR could make this prima facie showing of
                                                                  that Tesla Motors “protects non-parties like CMR in this
a chilling effect on its First Amendment rights, the Magistrate
                                                                  situation.” (ECF No. 48 at 5.) CMR did not include this
Judge should have considered whether Plaintiffs could prove
                                                                  authority in its briefing before the Magistrate Judge, but
that the information sought is relevant to their case; that
                                                                  asserts that it raised the authority at the hearing, and therefore
the information sought is needed to prove their claims; that
                                                                  the Magistrate Judge should have discussed it in her R&R.
the information is not available from an alternative source;
                                                                  It is not clear from the record whether CMR provided the
and that the request is the least restrictive way to obtain
                                                                  Magistrate Judge with a physical copy of this authority.
the information. See Pulte Home Corp. v. Montgomery Cty.
Maryland, No. GJH-14-3955, 2017 WL 1104670, at *4 (D.             In connection with its objection, CMR did not provide
Md. Mar. 24, 2017).                                               this Court with a copy of this unpublished authority or
                                                                  even the case number or ECF citation. Notwithstanding,
CMR's objection is without merit. The Magistrate                  the Court on its own initiative obtained a copy of Tesla
Judge correctly found that CMR's communications with
                                                                  Motors, Inc. v. Johnson, et al., 2017 WL 2875203 (W.D.
government officials about matters of a public concern were
                                                                  Mich. May 22, 2017). The Court discovered that this is a
not afforded First Amendment protection from disclosure
                                                                  citation to the nonparty's motion to quash—not an order and
under the facts and circumstances presented here. Therefore,
                                                                  opinion granting a motion to quash as represented by CMR.
there was no need for the Magistrate Judge to continue
                                                                  Upon further independent research, the Court obtained the
with the two-step analytical framework. 6 Moreover, based         magistrate judge's order addressing the nonparty's motion
on the record before the Court, CMR failed to prove that          to quash. See Tesla Motors, Inc. v. Johnson, et al., Case
compliance with Plaintiffs' subpoena would in fact chill its      No. 16-cv-01158, ECF No. 200 (W.D. Michigan June 06,
First Amendment rights. As Plaintiffs point out, “CMR has         2018). In contrast to CMR's representations to this Court,
neither offered evidence to suggest that producing CMR's          in Tesla Motors, the magistrate judge denied the motion to
communications advocating a ban on military service by            quash, found that the First Amendment considerations did
transgender individuals would expose CMR to any more risk         not prevent disclosure, and required the nonparty lobbyist to
of harassment than already exists from the public disclosure      produce responsive documents. See id. While the magistrate
of its positions, nor demonstrated an objectively reasonable      judge in Tesla Motors did find that First Amendment
fear of harassment.” (ECF No. 45 at 24.) Thus even if the         protections could apply to external communications between
two-part framework applies, CMR would still be required to        the lobbyist and certain legislators, the Court declines to adopt
produce the requested documents because it has not met its
                                                                  her reasoning here. 7
prima facie burden.
                                                                  7
6                                                                         In stating that the First Amendment privilege could
       The Court notes that the Sixth Circuit has not
                                                                          apply to communications between the nonparty
       expressly adopted this two-step framework for
                                                                          lobbyist and certain state legislators, the magistrate
       balancing First Amendment protections with a
                                                                          judge appears to have copied the nonparty's
       party's need for discovery. See Ohio A. Philip


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       authorities on the issue directly from the nonparty's     In doing so, the government fails to identify any specific
       motion to quash without further investigation or          error in the Magistrate Judge's R&R. But in the Sixth Circuit,
       analysis, perhaps because she went on to compel           “[o]nly those objections that are specific are entitled to a
       compliance with the subpoena. This Court does not         de novo review under the statute.” Sumpter v. Atkins, No.
       agree that the cases cited by the magistrate judge in     12-13958, 2014 WL 1389088, at *1 (E.D. Mich. Apr. 9,
       Tesla Motors support CMR's position here.                 2014), aff'd (Apr. 2, 2015) (citing Mira v. Marshall, 806
                                                                 F.2d 636, 637 (6th Cir. 1986)). “The parties have the duty
   C. CMR's Objection No. 3: Whether the Magistrate              to pinpoint those portions of the magistrate's report that the
   Judge failed to properly apply Fed. R. Civ. P. 45(d)          district court must specially consider.” Mira, 806 F.2d at 637.
   (1) and (d)(3)(iv) to protect CMR from burdensome             A general objection, or one that merely restates the arguments
   discovery.                                                    previously presented, does not sufficiently identify alleged
 *8 CMR claims the Magistrate Judge failed to properly           errors on the part of the magistrate judge. Sumpter, 2014 WL
apply Federal Rule of Civil Procedure 45(d)(1) and (d)           1389088, at *1. Moreover, an “objection” that does nothing
(3)(iv). In this objection, CMR re-urges the relevance and       more than disagree with a magistrate judge's determination,
proportionality objections previously rejected by the Court.     “without explaining the source of the error,” is not considered
In addition, CMR contends the Magistrate Judge did not           a valid objection. Howard v. Sec'y of Health and Human
go far enough in narrowing the scope of discovery. The           Servs., 932 F.2d 505, 509 (6th Cir. 1991).
Court disagrees. The Magistrate Judge carefully considered
the relevance, burden, and proportionality of the discovery      Here, the Government's objections fail because the
sought by Plaintiffs and the Court agrees with the Magistrate    Government does not identify the specific portions of the
Judge's assessment. This is objection is overruled.              R&R to which it objects. See Sumpter, 2014 WL 1389088,
                                                                 at *1; Smith v. Stellar Recovery, Inc., No. 2:15-CV-11717,
                                                                 2017 WL 955128, at *3 (E.D. Mich. Mar. 13, 2017),
   D. The Government's Objections.                               reconsideration denied, No. 2:15-CV-11717, 2017 WL
The Government raises two objections to the R&R. In its          1362794 (E.D. Mich. Mar. 29, 2017) (overruling objections
first objection, the Government argues the Magistrate Judge      where party failed to identify the specific legal or factual
erred by not holding Plaintiffs' motion in abeyance pending      error in the report and recommendation that would mandate a
the Ninth Circuit's ruling on purportedly related discovery      different outcome on review). The Government's discussion
issues in the underlying case. This portion of the objection     of the arguments it initially raised in opposition to Plaintiffs'
is overruled as moot. The Court took Plaintiffs' motion to       motion to compel and its reference to the fact that the
compel under advisement pending the Ninth Circuit's ruling.      Magistrate Judge disagreed with or failed to adopt the
Notwithstanding, the Court will consider the issues raised       Government's position does not satisfy the requirements of
by the Ninth Circuit's opinion in Karnoski v. Trump, 926         Rule 72.
F.3d 1180 (9th Cir. 2019) as they relate to the Government's
remaining objections.                                             *9 Notwithstanding, and although there is no obligation to
                                                                 do so, the Court will address the merits of the some of the
In its second objection, the Government generally complains      Government's nonduplicative objections below. Specifically,
that the Magistrate Judge should not have granted                the Court will consider the impact of the Ninth Circuit's
Plaintiffs' motion to compel and provides several reasons        opinion in Karnoski v. Trump, 926 F.3d 1180 (9th Cir.
for its position. Many of the Government's arguments             2019) on the Government's deliberative process privilege and
are duplicative of CMR's objections. For example, the            executive privilege objections.
Government raises the same or similar relevance objections
as CMR, which have already been discussed and addressed          The first issue is whether the Ninth Circuit's discussion
by the Court. The Government's relevance objections are          of the deliberative process privilege in Karnoski disturbs
likewise overruled.                                              the Magistrate Judge's finding that the privilege does not
                                                                 apply to prevent CMR's production of documents here. In
In addition, in its second objection, the Government generally   requesting that the Court hold Plaintiffs' motion in abeyance
objects to the R&R and attempts to rehash the same arguments     pending the Ninth Circuit's ruling, the Government claimed
it raised in its initial briefing before the Magistrate Judge.   the Ninth Circuit's interpretation of the deliberative process



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privilege issues in the underlying case would likely weigh           that the Magistrate Judge failed to apply the heighted showing
on this Court's application of the privilege. However, in            of need for the requested discovery as discussed in Cheney.
its supplemental briefing before this Court, the Government          And the Government claims the Magistrate Judge incorrectly
does not argue that the Ninth Circuit's discussion of the            found that “Cheney was a narrow, fact bound decision,” even
deliberative process privilege impacts the Magistrate Judge's        though no such finding was included in the R&R.
finding that the privilege does not apply under the facts and
circumstances of this nonparty discovery dispute. The Court           *10 The Government's objections are without merit for
nevertheless reviewed the Ninth Circuit's opinion and agrees         several reasons. First, as the Magistrate Judge found, the
with Plaintiffs that the Magistrate Judge correctly concluded        discovery requests are narrowly tailored and seek information
the deliberative process privilege does not apply here. The          which Plaintiffs contend to be critical to their claims. Second,
Court notes that the Magistrate Judge found that CMR                 Plaintiffs demonstrated that the information is not available
conceded at the hearing that none of the documents in its            from other sources, in part because the Government refuses
possession were privileged, and no party has objected to that        to produce the same categories of documents, and therefore
finding. 8 Furthermore, the Court agrees with Plaintiffs that        established that there is no other source for this information.
even if the deliberative process privilege applies, Plaintiffs are   Third, neither the Government nor CMR made any effort to
entitled to the discovery they seek from CMR.                        show that the executive branch has an interest in secrecy or
                                                                     nondisclosure of the requested information that outweighs the
8                                                                    needs of this case. Thus even if executive privilege applies
        In fact, in the opening line of its objection,
                                                                     to Plaintiffs' discovery requests to CMR, the Magistrate
        CMR states that it “is a private 501(c)(3)
                                                                     Judge sufficiently considered the relevancy of the requested
        organization with no official or unofficial role in
                                                                     information and the need for the discovery in light of the
        developing or implementing the policy Plaintiffs
                                                                     prerogatives of the Executive. And the Magistrate Judge
        challenge.” (ECF No. 39 at 1.)
                                                                     sufficiently narrowed the scope of permissible discovery.
The next issue is whether the Ninth Circuit's opinion
in Karnoski affects the Magistrate Judge's finding that              Finally, as the Magistrate Judge found, Plaintiffs' discovery
separation of powers principles and the Supreme Court's              requests to CMR place no burden on the Government and
decision in Cheney v. U.S. Dist. Court for D.C., 542 U.S. 367        therefore Cheney does not apply. Cheney instructs district
(2004) do not restrict CMR's production of documents here.           courts to limit the burden of the Executive in having to
In the R&R, the Magistrate Judge rejected the Government's           respond to onerous discovery directed to it and to protect the
separation of powers concerns and reliance on Cheney to              Executive from unnecessarily invoking executive privilege
bar the discovery sought from CMR. The Magistrate Judge              on a line by line basis. See Cheney, 542 U.S. at 388 (“In
agreed with Plaintiffs that the Government was attempting to         these circumstances, Nixon does not require the Executive
use the idea of executive privilege to conduct a “multi-district     Branch to bear the onus of critiquing the unacceptable
shell game” by arguing that Plaintiffs must obtain documents         discovery requests line by line.”). And the Ninth Circuit
from other avenues in the main case, but then objecting to           echoed Cheney's holding in instructing the district court in
Plaintiffs' efforts to do just that here. The Magistrate judge       the underlying case here to consider whether there were
also found no merit in the Government's reliance on Cheney           alternative avenues of discovery available before requiring
because the purpose of the Supreme Court's application of            the Trump administration to invoke executive privilege
executive privilege there was to protect the Executive (i.e.,        for each and every category of documents requested. See
the Vice-President) from the onerous burden of responding            Karnoski, 926 F.3d at 1205. Consistent with the Ninth
to discovery, and here, CMR is the party with burden of              Circuit's opinion, the Magistrate Judge found that Plaintiffs
responding to the subpoena.                                          are satisfying the requirements of Cheney by pursuing “other
                                                                     avenues” of discovery “short of forcing the Executive to
Pointing to the Ninth Circuit's discussion of Cheney in              invoke privilege.” See id. (quoting Cheney, 542 U.S. at 390).
Karnoski, the Government contends the Magistrate Judge               The Government's objections are overruled.
erred by not giving “full consideration to the Executive
Article II prerogatives” by requiring Plaintiffs to “explore
other avenues, short of forcing the Executive to invoke                 III. Conclusion
privilege.” (ECF No. 57 at 3.) The Government also argues            For the above-stated reasons, and for the reasons provided
                                                                     in the Magistrate Judge's Report and Recommendation, the


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Court OVERRULES CMR's objections, OVERRULES the
                                                              SO ORDERED.
Government's objections, ACCEPTS and ADOPTS the
Magistrate Judge's Report and Recommendation, GRANTS
IN PART AND DENIES IN PART Plaintiffs' motion                 All Citations
to compel (ECF No. 1), and GRANTS IN PART AND
DENIES IN PART CMR's motion for protective order (ECF         Not Reported in Fed. Supp., 2019 WL 4733602
No. 10).

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Kotyk v. Ford Motor Co., Not Reported in F.Supp.2d (2011)
2011 WL 6780643

                                                                   This case concerns Defendant's denial of benefits to Plaintiff
                                                                   under Defendant's Salaried Disability Plan. On July 25, 2011,
                  2011 WL 6780643
                                                                   this Court issued an Order [40] granting Plaintiff's Motion
    Only the Westlaw citation is currently available.
                                                                   for Summary Judgment and directing Defendant's plan
             United States District Court,
                                                                   administrator to award Plaintiff disability benefits retroactive
                   E.D. Michigan,
                                                                   to the date on which Plaintiff's benefits ceased. Specifically,
                 Southern Division.
                                                                   this Court found that Defendant had acted arbitrarily and
            Stephen J. KOTYK, Plaintiff,                           capriciously in improperly rejecting Plaintiff's application
                        v.                                         for the Salaried Disability Plan by “cherry-picking” medical
         FORD MOTOR COMPANY, Defendant.                            evidence to come to the desired conclusion that Plaintiff was
                                                                   not disabled. In addition, this Court found that remand to the
                        No. 09–14604.                              plan administrator was inappropriate because Plaintiff was
                              |                                    “clearly entitled” to benefits based on the medical evidence in
                        Dec. 27, 2011.                             the record, such that there were no material facts in dispute as
                                                                   to whether Plaintiff qualified as “disabled” under the auspices
Attorneys and Law Firms                                            of Defendant's plan. Summary judgment for Plaintiff was
                                                                   granted.
Michael M. Wachsberg, Pedersen, Keenan, Commerce
Township, MI, for Plaintiff.
                                                                   Plaintiff subsequently filed a Motion for Attorney Fees and
Sherry D. O'Neal Taylor, Dickinson Wright, Detroit, MI, for        Costs [43] on August 8, 2011. This motion was referred to the
Defendant.                                                         Magistrate Judge, who issued an R & R recommending that
                                                                   Plaintiff's motion be denied.


     ORDER REJECTING MAGISTRATE JUDGE'S                            III. Analysis
      REPORT AND RECOMMENDATION [501
      AND GRANTING PLAINTIFF'S MOTION                                 A. Factors in Considering an Award of Attorney's
       FOR ATTORNEY FEES AND COSTS [43]                               Fees
                                                                   Under 29 U.S.C. § 1132(g)(1) a district court is given wide
ARTHUR J. TARNOW, Senior District Judge.                           discretion to allow reasonable attorney's fees and costs of
                                                                   action to either party. In an ERISA case such as this one, a
 *1 Now before the Court is the Magistrate Judge's Report
                                                                   district court must consider the following factors in deciding
and Recommendation (“R & R”) [50], entered July 25, 2011,
                                                                   whether to award attorney's fees to a Plaintiff:
recommending that Plaintiff's Motion for Attorney's Fees and
Costs [43] be denied. On October 10, 2011, Plaintiff filed an
objection [51] to the R & R. Defendant filed a response [52] to
the objection on October 24, 2011, and on October 31, 2011,                     (1) the degree of the opposing party's
Plaintiff filed a reply [53].                                                   culpability or bad faith; (2) the
                                                                                opposing party's ability to satisfy
                                                                                an award of attorney's fees; (3) the
I. Standard of Review                                                           deterrent effect of an award on other
According to Fed.R.Civ.P. 54(D) and 72(b), this Court may                       persons under similar circumstances;
refer a motion for attorney's fees to a magistrate judge as                     (4) whether the party requesting fees
though the motion for attorney's fees was a dispositive pretrial                sough to confer a common benefit on
matter. This Court reviews objections to a Magistrate Judge's                   all participants and beneficiaries of
R & R on dispositive motions de novo. See 28 U.S.C. § 636(b)                    an ERISA plan or resolve significant
(1)(C).                                                                         legal questions regarding ERISA; and
                                                                                (5) the relative merits of the parties'
                                                                                positions.
II. Background




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                                                                   medical information seems to be in reference to information
Shelby Cnty. Health Care Corp. v. S. Council of Indus.             that Plaintiff later submitted to Defendant, and which
Workers Health & Welfare Trust Fund, 203 F.3d 926, 936 (6th        Defendant's physician reviewed prior to making a final
Cir.2000) (quoting Schwartz v. Gregori, 160 F.3d 1116, 1119
                                                                   recommendation regarding Plaintiff's disability. 1 The reason
(6th Cir.1998)).
                                                                   that Defendant's denial of benefits was arbitrary and
                                                                   capricious was because the physician who evaluated the file
 *2 Because no single factor is determinative in the district
                                                                   of Plaintiff failed to “rebut the contrary medical conclusions
court's analysis, the court must consider each factor before
                                                                   reached by” a doctor who regularly examined the Plaintiff,
exercising its discretion. Schwartz, 160 F.3d at 1119. With
                                                                   and failed to “even mention” evidence that undermined the
respect to factor (2), Defendant conceded that it was able
                                                                   evaluator's diagnosis. Kalish v. Liberty Mutual/Liberty Life
to satisfy an award of attorney's fees. In addition, Plaintiff
                                                                   Assurance Co. of Bos., 419 F.3d 501, 510 (6th Cir.2005).
conceded that with respect to factor (4) the instant case
would only confer benefits upon Plaintiff, and not upon plan
                                                                   1
participants as a whole. Thus, the Court need only consider               Plaintiff, in his objection, states that the only
factors (1), (3), and (5).                                                material that Plaintiff did not provide as part
                                                                          of the original administrative record was Ford's
                                                                          own records from its separate disability retirement
Factor (1)—Degree of Opposing Party's Culpability or                      program, in which Ford's doctor had found Plaintiff
Bad Faith                                                                 to be disabled.
The Magistrate Judge reported that this factor did not weigh
                                                                   Based upon this Court's findings that Plaintiff was wrongfully
strongly in Plaintiff's favor.
                                                                   denied benefits and was denied said benefits because of
                                                                   improper medical review, the weight in terms of culpability
In the R & R the Magistrate Judge acknowledges that
                                                                   is heavily in Plaintiff's favor.
this Court had made a factual finding that Defendant's
physicians had “cherry-picked” Plaintiff's medical records
and had simply ignored the substantial medical evidence            Factor (3)—Deterrent Effect of an Award
that Plaintiff was, in fact, disabled. However, the Magistrate      *3 The Magistrate Judge reported that an award of fees
Judge discounted this finding because the record indicated         was “unnecessary to have a ‘deterrent effect’ on Ford or
that the Plaintiff did not “submit all of his relevant medical     to achieve a correct decision in the future,” and found that
information” to the Independent Medical Examiner. The              this factor did not weigh in Plaintiff's favor. Defendant
Magistrate Judge did not indicate which relevant information       argues that Plaintiff was properly physically examined by two
Plaintiff failed to submit to Defendant, nor Plaintiff's reasons   Independent Medical Examiners, and dismisses Plaintiff's
for failing to submit said information. Similarly, Defendant's     argument as relying on cases where no physical examination
response does not indicate which specific information              occurred. Essentially, Defendant argues that their actions
Plaintiff failed to submit to Defendant, though Defendant          were proper, and that therefore there is no future improper
seeks to place the blame for any inconsistencies in the analysis   behavior to deter.
of the Independent Medical Examiner on the alleged failure to
provide information. Based on this argument, the Magistrate        As is obvious from this Court's order granting Plaintiff
Judge reported that the question of culpability did not weigh      summary judgment, Defendant's actions in this case were
in Plaintiff's favor.                                              arbitrary and improper. The Court did not simply find that
                                                                   Defendant came to the wrong decision, but that Defendant
As this Court stated in its order granting Plaintiff               wrongly ignored relevant medical evidence and arrived at a
summary judgment, Defendant arbitrarily and capriciously           decision to deny Plaintiff benefits only by selectively picking
denied Plaintiff benefits. This Court found that Defendant         out portions of Plaintiff's medical records that supported
“selectively relied on portions of the record and failed to        Defendant's view. That Defendant continues to argue that
provide an adequate explanation for its denial of disability       their actions were, in fact, completely proper only serves
benefits....” This Court found that Defendant cherry-picked        to highlight the need to deter Defendant from engaging in
medical evidence to arrive at a desired outcome, namely,           precisely the same behavior when considering future claims
denial of benefits that were properly due to Plaintiff.            for disability benefits.
Defendant's argument that Plaintiff failed to submit required


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The Court therefore finds that this factor weighs in Plaintiff's    experienced practitioners who opine that such a rate is
favor.                                                              reasonable.

                                                                     *4 Defendant contends that 7.2 hours of work should
                                                                    be subtracted from Plaintiff's hours because these hours
  Factor (5)—Relative Merits of the Parties' Positions
                                                                    concerned service of discovery upon Ford and a former co-
The Magistrate Judge reported that this factor did not weigh        Defendant. Defendant cites Wilkins v. Baptist Healthcare
heavily in Plaintiff's favor. Defendant argues that simply          Sys., Inc., 150 F.3d 609 (6th Cir.1998) for the proposition
prevailing on the merits cannot justify the award of attorney's     that discovery is “both unwarranted and inappropriate”
fees, as prevailing on the merits is a factor met in every case     in an ERISA-governed matter, and that the district court
where attorney's fees are requested by a plaintiff.                 may not consider any discovered material in such cases.
                                                                    Defendant oversimplifies the holding in Wilkins. While a
While Defendant's argument is correct, the Court notes that         district court is generally required to limit its review of
this is not a case where Defendant was found liable after           a decision to the administrative record, a district court
a jury trial, or indeed, where the outcome was in doubt.            may consider, and discovery is permitted, of any evidence
This Court granted summary judgment to Plaintiff because            that addresses a lack of due process on the part of a
there were no genuine issues of material fact with regard           plan administrator. Defendant's contention that discovery is
to whether Defendant had acted arbitrarily and capriciously         simply not permitted in ERISA cases is incorrect; moreover,
in denying Plaintiff salaried disability benefits. Thus, the        Plaintiff indicates that the material sought through discovery
merits of Plaintiff's claim heavily outweighed the merits of        was Ford's file on the Plaintiff, which would be relevant
Defendant's position.                                               towards determining whether there were any procedural
                                                                    irregularities in Defendant's decision-making process. 2 The
The Court finds that this factor weighs in Plaintiff's favor.       Court finds that the 7.2 billed hours in pursuit of discovery
                                                                    are appropriate.

                                                                    2
                Attorney's Fees Warranted                                  This file was apparently later voluntarily provided
                                                                           to Plaintiff at a settlement conference.
In summary, four of the five factors to be considered
                                                                    In terms of the proper rate, Defendant contends that this
by a district court (the relative culpability of the parties,
                                                                    Court should be governed by the values set out in the
defendant's ability to pay an award, the deterrent effects of
                                                                    State Bar of Michigan's Economics of Law Practice Survey.
an award, and the relative merits of the parties' positions)
                                                                    The Court agrees that this source has frequently been used
favor the Plaintiff. The only factor which does not favor the
                                                                    as a benchmark to determined the reasonableness of an
Plaintiff is that this case does not concern an award of benefits
                                                                    hourly rate. Focusing on the length of Plaintiff's counsel's
to all plan beneficiaries. The Court thus finds that an award of
                                                                    experience, size of the firm, and location of counsel's office,
attorney's fees and costs to Plaintiff in this case is warranted.
                                                                    Defendant argues that the maximum rate counsel should be
                                                                    awarded is $260/hour. Plaintiff responds by noting a similar
B. Calculation of Proper Amount of Attorney's Fees                  case where a lead attorney was awarded $375/hour, and
Plaintiff, in his motion, requests costs of $470.70, and            another case where a petition was filed for hour fees as high as
attorney fees of $350.00/hour for 77.1 hours of work, for a         $600/hour. Plaintiff also notes that attorneys in the 75th and
total attorney fee award of $26,985.00, and a total award of        95th percentile of various metrics can be awarded fees as high
(inclusive of costs) of $27,455.70. Plaintiff also requests an      as $455/hour. Plaintiff's counsel does not allege specialized
additional five (5) hours of work time to argue and file the        experience in the field of labor law or ERISA-related cases.
motion for attorney's fees. Plaintiff's counsel has 33 years
of experience in civil litigation in state and federal court,       The Court finds that, when taken as a whole, Plaintiff's
and is a partner at a small (7–10 attorney) firm located            counsel's many years of experience in state and federal court
in Oakland County. Plaintiff contends that a rate of $350/          and status as an equity partner/shareholder of a small (7–
hour is appropriate, and submits affidavits of two similarly        10 person) firm qualify counsel as in the 75th percentile
                                                                    of the various categories set out in the Survey. This leads



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to a benchmark range of between $233/hour 3 and $350/                   IV. Conclusion
     4                                                                  The Court having reviewed the record in this case, the Report
hour. The Court finds that $350/hour is a reasonable rate
for attorney's fees in this case. The Court also finds that the         and Recommendation of the Magistrate Judge is hereby
82.1 hours billed by Plaintiff's counsel is reasonable. Thus, the       REJECTED. IT IS ORDERED that Plaintiff's Motion for
Court finds that an award of $28,735.00 of attorney fees, and           Attorney Fees and Costs is GRANTED. Defendant will
$470.70 of costs, for a total award of $29,205.70 for attorney's        provide Plaintiff with a payment for $29, 205.70 by January
fees and costs, is reasonable in this case.                             27, 2012.

3                                                                       *5 SO ORDERED.
         Based upon the size of Plaintiff's counsel's firm.
4        Based upon Plaintiff's counsel's position as an
                                                                        All Citations
         equity partner.
                                                                        Not Reported in F.Supp.2d, 2011 WL 6780643

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                                                              On February 29, 2012, the Court entered an Order granting
                                                              Plaintiffs' Motion for Summary Judgment and denying
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                                                              Defendant's Motion for Summary Judgment (Doc. 37).
   Only the Westlaw citation is currently available.
                                                              Judgment for Plaintiffs was entered that same day. It states:
            United States District Court,
                  E.D. Michigan,
                Southern Division.
                                                                          Consistent with the Court's Order
   MICHIGAN BUILDING AND CONSTRUCTION                                     of February 29, 2012, JUDGMENT
    TRADES COUNCIL, AFL–CIO, and Genesee,                                 enters for Plaintiffs together with
   Lapeer, Shiawassee Building and Construction                           costs and attorneys fees. The Court
        Trades Council, AFL–CIO, Plaintiffs,                              DECLARES that the Michigan
                           v.                                             Fair and Open Competition in
                                                                          Governmental Construction Act (the
     Richard SNYDER, Governor of the State of
                                                                          “Act”), 2011 Mich. Pub. Acts 98,
    Michigan, in his official capacity, Defendant.
                                                                          M.C.L. § 408.871, et seq.(1) is
                       No. 11–13520.                                      invalid and unenforceable because it
                             |                                            is preempted by operation of the
                       May 23, 2012.                                      Supremacy Clause of the United States
                                                                          Constitution and the National Labor
Attorneys and Law Firms                                                   Relations Act, 29 U.S.C. § 151 et
                                                                          seq.; and (2) violates Plaintiffs' rights
John R. Canzano, Klimist, McKnight, Southfield, MI, for                   under the National Labor Relations
Plaintiffs.                                                               Act. Further, the Court permanently
                                                                          ENJOINS enforcement of the Act.
Danila V. Artaev, State of Michigan, Dennis J. Raterink,
Susan Przekop-Shaw, MI Dept of Attorney General, Lansing,
MI, for Defendant.
                                                              The facts underlying this case were laid out in great detail in
                                                              that Order and will not be repeated here.
          ORDER DENYING PLAINTIFFS'
        MOTION FOR ATTORNEY FEES AND                          On March 5, 2012, Defendant filed a Notice of Appeal of
       GRANTING IN PART AND DENYING IN                        the Court's February 29 Order and Judgment. The appeal is
       PART DEFENDANT'S MOTION TO STAY                        pending before the Sixth Circuit Court of Appeals.

VICTORIA A. ROBERTS, District Judge.                          On March 14, 2012, Plaintiffs filed a motion for attorney's
                                                              fees. An amended motion was filed on March 15, 2012
I. INTRODUCTION
                                                              and supplemented on March 28, 2012, with itemized billing
 *1 This matter is before the Court on two motions:
                                                              entries and other exhibits. On March 30, 2012, Defendant
Plaintiffs' Amended Motion for Attorney's Fees Pursuant to
                                                              filed a motion to stay the Court's February 29 Order and
Fed.R.Civ.P. 54(d) (2) (Doc. 42), and Defendant's Motion to
                                                              Judgment pending resolution of his appeal before the Sixth
Stay Order and Judgment Pending Appeal (Doc. 47)
                                                              Circuit.

For the reasons below, the Court DENIES WITHOUT
PREJUDICE Plaintiffs' motion for attorney's fees. The Court   III. ANALYSIS
GRANTS IN PART AND DENIES IN PART Defendant's
motion to stay.                                                 A. Plaintiff's Motion for Attorney's Fees

                                                              1. Stay of Costs and Attorney's Fees
II. BACKGROUND                                                The Court first addresses Defendant's request to stay an
                                                              award of costs and attorney's fees until after the resolution



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of his appeal. As part of its motion to stay the Court's              party, and likely would not be entitled any fees. A third option
February 29 Order and Judgment, Defendant says “it would              is also possible: the Sixth Circuit could affirm certain parts of
be impracticable to award such fees until all appeals have            the Court's order, and overrule others. If that were to occur,
been exhausted, given the complexity of this matter of first          this Court would need to consider Plaintiff's partial success in
impression; the Councils will not suffer harm from the stay;          calculating a fee award. See Hensley v. Eckerhart, 461 U.S.
and the public interest strongly favors staying the expenditure       424, 435, 103 S.Ct. 1933, 76 L.Ed.2d 40 (1983). In short, the
of significant State funds given the unsettled nature of the          decision whether to award fees, and in what amount, is certain
issue before the Circuit Court of Appeals.” Doc. 47, p. 2.            to be affected by the pending appellate litigation.

Fed.R.Civ.P. 54(d)(2) provides that a prevailing party may            Staying the Fees Motion until after appeals have been
move for attorney's fees after entry of judgment. The notes to        exhausted is necessary to avoid piecemeal litigation. Indeed,
the 1993 Amendments discuss the district court's two options          this was the approach taken in this District in the case Gratz
when faced with a motion for attorney's fees filed after an           v. Bollinger, 353 F.Supp.2d 929 (E.D.Mich.2005), discussed
appeal is taken on the merits. The court may promptly rule            by the parties in their briefs. There, the District Judge waited
on a fee request so that “any appellate review of a dispute           until after appeals to the Sixth Circuit and the Supreme Court
over fees [may] proceed at the same time as a review on the           were complete before awarding fees. It would not be in the
merits of the case.” Id. Or, the court may “defer its ruling          interest of judicial economy to award fees now, only to revisit
on the motion, or may deny the motion without prejudice,              the issue after the appellate litigation is complete.
directing ... a new period for filing after the appeal has been
resolved.” Id. The 1993 Amendments to Rule 58, Entering               Further, the fee petition itself does not present difficult legal
Judgment, explain further:                                            issues that would warrant an expeditious trip to the Sixth
                                                                      Circuit. Rather, Plaintiffs' fee petition involves the application
                                                                      of straightforward legal principles. In fact, Defendant admits
              *2 Particularly if the claim for                        that Plaintiffs are prevailing parties and that the Court is
             fees involves substantial issues or is                   entitled to award attorney's fees. Doc. 51, p. 1 (“The Governor
             likely to be affected by the appellate                   acknowledges that Golden State Transit Corp. v. City of Los
             decision, the district court may prefer                  Angeles, 493 U.S. 103, 110 S.Ct. 444, 107 L.Ed.2d 420 (1989)
             to defer consideration of the claim for                  (Golden State II ) is controlling authority and requires this
             fees until after the appeal is resolved.                 Court to find that when the NLRA preempts a state action, the
             However, in many cases it may be                         Councils' rights are violated under § 1983 and § 1988 applies
             more efficient to decide fee questions                   to allow the Court to shift attorney fees to the prevailing
             before an appeal is taken so that                        party.”). The decision whether to grant fees here turns solely
             appeals relating to the fee award can                    on whether Plaintiffs are prevailing parties. This is a decision
             be heard at the same time as appeals                     that this Court can easily make, subject to the results of
             relating to the merits of the case.                      the appellate litigation. And though Defendant disputes the
                                                                      amount of fees Plaintiffs claim, this Court is well-suited in its
                                                                      role as fact finder to resolve this type of dispute, and need not
                                                                      do so now.
The Sixth Circuit does not appear to have expressed a
preference for prompt adjudication of motions for attorney's
                                                                       *3 Lastly, a stay of the fee motion is in the interests of
fee. The Court believes an award of attorney's fees at this stage
                                                                      justice. The Court believes the reasoning of its February 29
is premature. The merits of the case are now on review before
                                                                      Order is correct but acknowledges that this case presents new
the Sixth Circuit Court of Appeals. If Plaintiffs prevail, they
                                                                      and difficult issues, and that reasonable jurists could disagree
will be entitled to additional fees for time spent on the appeal.
                                                                      about the proper outcome. Staying an award of attorney's
Dowling v. Litton Loan Servicing LP, 320 Fed. Appx. 442,
                                                                      fees prevents Defendant from having to pay an uncertain
450 (6th Cir.2009) (“Where a statute provides for an award
                                                                      judgment or posting a bond. Plaintiffs will not be prejudiced
of attorney's fees to a prevailing party, ‘reasonable appellate
                                                                      by a stay because they may account for the delay, if ultimately
fees may [also] be awarded to [the] prevailing part [y].’ ”)
                                                                      successful, by requesting interest, requesting higher hourly
(citation omitted). If the Court's decision is reversed in full, as
                                                                      rates to account for the passage of time, or by adjusting the fee
Defendant urges, then Plaintiffs will no longer be a prevailing


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based on historical rates to reflect its present value. Missouri    However, to justify the granting of a stay, a movant need not
v. Jenkins, 491 U.S. 274, 282–83, 109 S.Ct. 2463, 105 L.Ed.2d       always establish a high probability of success on the merits.
229 (1989).                                                         Ohio ex. rel. Celebrezze, 812 F.2d 288, 290 (6th Cir.1987).
                                                                    Rather, “[t]he probability of success on the merits that must
Accordingly, Plaintiffs motion for fees is DENIED                   be shown is inversely proportional to the degree of irreparable
WITHOUT PREJUDICE. Plaintiff may refile the motion                  injury the plaintiffs will suffer absent the stay.” Id. This means
after the conclusion of the appellate litigation. Defendant's       that a stay may be granted with either a high probability of
motion to stay is GRANTED WITH RESPECT TO                           success on the merits and some irreparable injury, or serious
ATTORNEY'S FEES. Defendant's motion to stay the merits              questions going to the merits and “irreparable harm which
is discussed below.                                                 decidedly outweighs any potential harm to the defendant if
                                                                    a stay is issued.” Id. (citation omitted). Mere possibility of
                                                                    success on the merits is never sufficient though. Id.
   B. Defendant's Motion to Stay
Defendant asks the Court to stay its February 29 Order and           *4 In evaluating the harm to the moving party and others
Judgment pending appeal pursuant to Fed.R.Civ.P. 62(c). In          depending on whether or not the stay is granted, the court
determining whether to grant a stay, the Court must consider        looks to three factors: “(1) the substantiality of the injury
the same four factors considered in deciding a motion for           alleged; (2) the likelihood of its occurrence; and (3) the
preliminary injunction:                                             adequacy of the proof provided.” Griepentrog, 945 F.2d at
                                                                    154 (citing Ohio ex rel. Celebrezze, 812 F.2d at 290). The
  (1) the likelihood that the party seeking the stay will prevail
                                                                    harm alleged must be irreparable. Id. (quoting Sampson v.
  on the merits of the appeal;
                                                                    Murray, 415 U.S. 61, 90, 94 S.Ct. 937, 39 L.Ed.2d 166
  (2) the likelihood that the moving party will be irreparably      (1974)). In addition the harm must be “both certain and
  harmed absent a stay;                                             immediate, rather than speculative or theoretical.” Id. (citing
                                                                    Wisconsin Gas Co. v. Fed. Energy Regul. Comm'n, 758 F.2d
  (3) the prospect that others will be harmed if the court          669, 674 (D.C.Cir.1985)).
  grants the stay; and,
                                                                    With these guiding principles in mind, the Court turns its
  (4) the public interest in granting the stay.
                                                                    analysis to the four factors for granting a stay.
Michigan Coalition of Radioactive Material Users, Inc. v.
Griepentrog, 945 F.2d 150, 153 (6th Cir.1991). “These factors
                                                                       1. Likelihood of Success on the Merits
are not prerequisites that must be met, but are interrelated
                                                                    Based upon the record before the Court, and the arguments
considerations that must be balanced together.” Id. (citation
                                                                    set forth in Defendant's Motion to Stay, the Court believes
omitted).
                                                                    that Defendant established no more than a mere possibility of
                                                                    success on the merits. A mere possibility of success on the
Though the factors are the same for both a preliminary
                                                                    merits is not sufficient to justify a stay. Griepentrog, 945 F.2d
injunction and a stay pending appeal, the balancing process
                                                                    at 153 (citing Mason County Medical Ass'n v. Knebel, 563
is not identical due to the different procedural postures. Id.
                                                                    F.2d 256, 261 n. 4 (6th Cir.1977)).
Most notably, a motion for stay pending appeal is made after
significant factual development and after the court has fully
                                                                    Defendant raises several arguments as to why he is likely to
considered the merits. Id. As a result, a movant seeking a stay
                                                                    prevail on the merits. First, he says that the law is far from
pending appeal will have a greater difficulty in demonstrating
                                                                    settled in this area, and points to the inconsistent decisions
a likelihood of success on the merits. A party seeking a stay
                                                                    that recently issued in Iowa and Idaho. Cf. Cent. Iowa Bldg. &
must demonstrate that “there is a likelihood of reversal.” Id.
                                                                    Constr. Trades Council v. Branstad, No. 11–00202 (S.D.Iowa
This high standard is justified because “there is a reduced
                                                                    Sept. 7, 2011); Idaho Bldg. & Constr. Trades Council v.
probability of error, at least with respect to a court's findings
                                                                    Wasden, No. 11–00253 (D.Idaho Jan. 3, 2012). Defendant
of fact, because the district court had the benefit of a complete
                                                                    also says that the Court engaged in a novel interpretation of
record ....” Id.
                                                                    precedent by declining to follow the D.C. Circuit's decision
                                                                    in Bldg. & Constr. Trades Dep't, AFL–CIO v. Allbaugh,
                                                                    295 F.3d 28, 34 (D.C.Cir.2002), and instead “adopt[ing]” a


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decision of the Ohio State Supreme Court, Ohio State Bldg.            Defendant says the State and People of Michigan will suffer
& Constr. Trades Council v. Cuyahoga County Board of                  irreparable harm absent a stay because the Court's February
Commissioners, 98 Ohio St.3d 214, 781 N.E.2d 951 (Ohio                29 Order compromises the State's ability to ensure prudent
2002). Defendant also argues that the fact that this case raises      spending of government funds. Defendant says the Act was
issues of first impression in this circuit is sufficient to satisfy   passed to ensure open competition for bidding on government
the likelihood of success on the merits prong.                        construction projects, thereby decreasing costs to Michigan
                                                                      taxpayers. But, since the Court entered an injunction banning
The Court is reluctant to discuss in any depth the merits of          enforcement of the Act, certain governmental units have
its February 29 Order, especially since the Sixth Circuit now         again begun to restrict bids to contractors who are willing to
has jurisdiction. The February 29 Order speaks for itself. The        become a party to a PLA. Defendant says the Court's Order
Court devoted substantial resources to this case and is now           has produced two types of irreparable harm: (1) imprudent
very familiar with the facts and applicable law. The Court            expenditure of taxpayer dollars which cannot be recouped;
is confident that it reached the correct conclusions and that         and (2) preclusion of Michigan general contractors from
its Order will be upheld on appeal. That said, the Court will         participating in Michigan's free labor market.
briefly address Defendant's arguments.
                                                                      The problem with Defendant's arguments is that the Court's
First, the fact that district courts in Iowa and Idaho reached        Order does not require the State or its subdivisions to
discordant conclusions on similar facts does not alone                incorporate PLAs into construction projects. Rather, the
establish a likelihood of success on the merits. At most, these       Order restores the status quo that existed prior to the passage
cases establish a mere possibility of success on the merits,          of the Act, when the State and its subdivisions were free to
which is insufficient to warrant a stay. Second, Defendant            exercise discretion on a case-by-case basis whether or not to
makes much of a quotation in the February 29 Order to                 use a PLA. Thus, governmental units are now free to enter into
an Ohio Supreme Court decision, and repeatedly states that            PLAs when they determine on an individualized basis that it
this Court “relied upon” or “adopted” non-precedential state          is in their best interests.
authority. This is simply not an accurate characterization of
the February 29 Order. Because the Court was not aware                Nor does the court order prohibit so-called “merit shop”
of Sixth Circuit precedent directly on point, it cited the            contractors from bidding on projects that have a PLA in place.
Ohio case as persuasive authority to explain its position,            Non-union contractors are free to bid on projects with PLAs,
not as controlling precedent. Lastly, the fact that this Court        so long as they agree to adhere to the terms of the PLA.
did not follow Allbaugh does not establish a likelihood of            With that in mind, it is difficult to see how the Court's Order
success on the merits. Allbaugh is not controlling authority          causes any irreparable harm at all. The affidavit attached to
in this circuit. Further, the Court believed that the two-prong       Defendant's brief actually illustrates this point quite well.
market-participation test formulated by the Fifth Circuit in          In that affidavit, a non-union contractor states that he “does
Cardinal Towing & Auto Repair Inc. v. City of Bedford,                not bid on projects ... where the governmental unit requires
180 F.3d 686, 693 (5th Cir.1999) was a more accurate                  [the contractor] to become signatory to a[PLA]” because he
distillation of Supreme Court precedent than the single-prong         believes working under a PLA “is not in the best interest of the
test in Allbaugh. The Court is confident its application of the       [company] or its employees.” Doc. 47, ex. 2. This contractor
Cardinal Towing test rather than the Allbaugh test will be            is certainly free to choose not to bid on projects that have
upheld on appeal.                                                     PLAs in place, but it is a stretch to say that he is irreparably
                                                                      harmed where he has made a personal policy decision not to
 *5 Defendant has failed to establish more than a mere                bid on projects that are technically still available to him.
possibility of success on the merits. This factor weighs against
a stay.                                                               In short, the Court's February 29 Order does not mandate
                                                                      PLAs on State construction projects, nor does it prohibit non-
                                                                      union contractors from bidding on projects that have PLAs in
  2. Irreparable Injury to Moving Party                               place. It is difficult to see how any irreparable harm results
As stated above, the harm alleged is evaluated in terms of its        when parties are free to exercise discretion whether to use a
substantiality, the likelihood of its occurrence, and the proof       PLA, and whether to agree to be bound by a PLA.
provided by the movant. Griepentrog, 945 F.2d at 154.



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                                                                       PLAs from state construction projects, resulting in direct
 *6 Lastly, the Court rejects Defendant's argument that its
                                                                       harm to Plaintiffs. The Court, therefore, enjoined the Act. The
decision will result in harm to Michigan taxpayers. The Court
                                                                       Court is not going to revisit its conclusion that the Michigan
explicitly found in its Order that the research regarding cost
                                                                       Act harmed the Plaintiffs.
savings and the use of PLAs is, at best, inconclusive. It is
not going to revisit that conclusion now. Further, harm must
be “both certain and immediate, rather than speculative or                4. The Public Interest
theoretical.” Griepentrog, 945 F.2d at 154.                            The public interest “lies in a correct application of the
                                                                       federal constitutional and statutory provisions upon which
Defendant does not demonstrate irreparable harm. This factor           the claimants have brought this claim.” Coalition to Defend
weighs against a stay.
                                                                       Affirmative Action v. Granholm, 473 F.3d 237, 252 (6th
                                                                       Cir.2006). Thus, the public interest does not permit states to
Because Defendant has not established more than a possibility
                                                                       pass laws that conflict with the NLRA, or regulate within an
of success on the merits, and has not established irreparable
                                                                       area that the NLRA intended to leave unregulated.
harm, the Court need not consider the last two factors.
However, for the sake of completeness, it will address them
very briefly.                                                          IV. CONCLUSION
                                                                       For these reasons, Plaintiff's motion for attorney's fees is
                                                                       DENIED WITHOUT PREJUDICE. Defendant's motion
   3. Harm to Others
                                                                       to stay is GRANTED with respect to attorney's fees, and
Defendant says Plaintiffs will not suffer any irreparable harm
                                                                       DENIED with respect to the merits.
if the Court enters a stay because “throughout this litigation,
the Council's allegations of harm and injury have been
                                                                       IT IS ORDERED.
abstract, incomplete, and otherwise illusory and insufficient
to sustain a cause of action.” Doc. 47 p. 8. Defendant appears
to be questioning the Court's conclusion that Plaintiffs have          All Citations
standing. While Defendant is free to make that argument on
appeal, the Court will not revisit it here. The Court's February       Not Reported in F.Supp.2d, 2012 WL 1893516
29 Order found that the Michigan Act effectively banned

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